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                         INDEX TO COMPOSITE EXHIBIT 1


            1.       State Court Docket Sheet
            2.       Civil Cover Sheet
            3.       Complaint
            4.       Plaintiff’s Notice of Email Designation
            5.       Plaintiff’s Notice of Filing
            6.       Plaintiff’s Notice of Filing Interrogatories
            7.       Plaintiff’s Request to Produce
            8.       Summons (Issued)
            9.       Differentiated Case Management Plan Standing Order
            10. Notice of Filing
            11. Return of Service
            12. Defendant’s Notice of Appearance
            13. Defendant’s Motion for Extension of Time
            14. Order Granting Defendant’s Motion for Extension of
                Time (not yet entered on docket)




   C:\Users\kdaugharty\Desktop\Brittany Condo Removal\INDEX TO COMPOSITE EXHIBIT 1.docx
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                                          1.
4/22/22, 11:26 AM                 Case 9:22-cv-80627-WPD Document 1-2 Entered on FLSD Docket 04/22/2022 Page 3 of 163
                                                                               eCaseView




     CASE NUMBER: 50-2022-CA-002311-XXXX-MB
     CASE STYLE: BRITTANY CONDOMINIUM ASSOCIATION INC V WESTCHESTER SURPLUS LINES INSURANCE COMPANY




        Search Criteria         Search Results              Case Info     Party Names    Dockets & Documents          Case Fees      Court Events


  View documents and order certified copies. See our eCaseView FAQ for step-by-step guidance and information about what documents are
  available online.


  Document Icons
         Document available. Click icon to view.
                Add a certified copy of the document to your shopping cart.
                Document is Viewable on Request (VOR). Click to request.
                VOR document is being reviewed. Click to be notified when available.



    0
   Public =                                          VOR =                                In Process =                                          Page Size: All

                     Docket           Effective             Description                     Notes
                     Number           Date


                     2                03/11/2022            CIVIL COVER SHEET


                     3                03/11/2022            COMPLAINT                       F/B PLTF


                     4                03/11/2022            NOTICE OF EMAIL                 F/B PLTF
                                                            DESIGNATION


                     5                03/11/2022            NOTICE OF FILING                F/B PLTF


                     6                03/11/2022            NOTICE OF FILING INTERROGS      (FIRST) TO DEFT; F/B PLTF


                     7                03/11/2022            REQUEST TO PRODUCE              (FIRST) TO DEFT; F/B PLTF


                     8                03/11/2022            SUMMONS ISSUED                  grant@krapflegal.com;assist@krapflegal.com WESTCHESTER
                                                                                            SURPLUS LINES INSURANCE COMPANY SERVED


                     9                03/11/2022            DIFFERENTIATED CASE             STANDING ORDER FOR CASE MANAGEMENT AND SUBMISSION
                                                            MANAGEMENT PLAN                 OF AGREED CASE MANAGEMENT PLAN IN CIVIL CASES; F/B PLTF
                                                            STANDING ORDER


                     10               03/11/2022            NOTICE OF FILING                ADMINISTRATIVE ORDER; F/B PLTF


                     1                03/15/2022            DIVISION ASSIGNMENT             AE: Circuit Civil Central - AE (Civil)


                     11               03/15/2022            PAID $411.00 ON RECEIPT         $411.00 4385039 Fully Paid
                                                            4385039


                     12               04/05/2022            SERVICE RETURNED                NOTICE OF SERVICE OF PROCESS SERVED WESTCHESTER
                                                            (NUMBERED)                      SURPLUS LINES INSURANCE COMPANY - 03/25/2022


                     13               04/14/2022            NOTICE OF APPEARANCE CIVIL      AND NOTICE OF DESIGNATION OF EMAIL ADDRESSES F/B ATTY
                                                                                            JOHN DAVID DICKENSON OBO DFT


                     14               04/14/2022            MOTION FOR EXTENSION OF         TO RESPOND TO COMPLAINT F/B DFT
                                                            TIME

https://appsgp.mypalmbeachclerk.com/eCaseView/search.aspx                                                                                                        1/2
4/22/22, 11:26 AM                     Case 9:22-cv-80627-WPD Document 1-2 Entered on FLSD Docket 04/22/2022 Page 4 of 163
                                                                                   eCaseView
   517-03aaae05-045d-4906-a449-97007fa90aaa




https://appsgp.mypalmbeachclerk.com/eCaseView/search.aspx                                                                   2/2
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                                         2.
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                                         3.
FilingCase 9:22-cv-80627-WPD Document 1-2 Entered on FLSD Docket 04/22/2022 Page 10 of 163
       # 145543033   E-Filed 03/11/2022 12:21:00 PM


                 IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                         IN AND FOR PALM BEACH COUNTY, FLORIDA
                                      CIVIL DIVISION

        BRITTANY CONDOMINIUM
        ASSOCIATION, INC,
             Plaintiff,
                                                                       CASE NO:
        V.

        WESTCHESTER SURPLUS LINES
        INSURANCE COMPANY,
             Defendant.
                                                   /


                                                   COMPLAINT

               COMES NOW, the Plaintiff, BRITTANY CONDOMINIUM ASSOCIATION, INC.,

        ("Plaintiff'), by and through undersigned counsel, files this Complaint against the Defendant,

        WESTCHESTER SURPLUS LINES INSURANCE COMPANY ("Defendant"), and as grounds

        therefore, states as follows:

                                                General Allegations

        1.   At all times relevant hereto Plaintiff, BRITTANY CONDOMINIUM ASSOCIATION, INC.,

             was and is a resident of the State of Florida, residing in Palm Beach County.

        2.    At all times relevant hereto, Defendant, WESTCHESTER SURPLUS LINES INSURANCE

             COMPANY, was and is an insurance company organized and existing under the laws of the

             State of Florida and doing business in the State of Florida, and specifically in Palm Beach

             County with Plaintiff.

        3.   The amount in controversy in this action is greater than Thirty Thousand Dollars ($30,000.00)

             exclusive of pre-judgment interest, court costs, and attorney's fees.




                                                          1
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                                        Count I-Breach of Contract

    4.   Plaintiff re-alleges each and every allegation set forth in Paragraphs 1 through 3 above, as if

         fully set forth herein.

    5.   This is an action for damages for breach of insurance contract against Defendant.

    6.   In consideration for the premium paid to it, Defendant issued a contract of insurance to Plaintiff,

         Policy No. D42295164 002, which was in full force and effect at the time of the loss and damage

         to the insured property located at Brittany B, Unit 67, Delray Beach, Florida 33446 ("insured

         property"). Attached hereto as Exhibit "A" is what Plaintiff believes to be a true and accurate

         copy of the policy which underlies this action.

    7.   On or about October 25, 2021, during the effective period of the insurance policy, the insured

         property was damaged as a result of a fire, a peril for which the policy of insurance issued by

         Defendant provides coverage.

    8.   The sudden and unexpected loss caused Plaintiff to sustain covered damages and Plaintiff

         continues to incur damage and expenses.

    9.   Plaintiff made a timely claim for the damage and loss. Defendant assigned claim number

         KY21K2908818.

    10. Plaintiff requested that Defendant pay Plaintiff for the damages, but Defendant has failed and

         refused and continues to refuse to fully pay the aforementioned damages.

    11. The Plaintiff has done and performed all those matters and things properly required of Plaintiff

         under the insurance policy or, alternatively, has been excused from performance by the acts

         and/or omissions of Defendant.




                                                      2
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    12. Notwithstanding the foregoing, Defendant has failed or refused to provide full coverage under

         the insurance policy and has failed to pay promptly the full amounts due and has thereby

         breached the contract of insurance.

    13. As a direct result of Defendant's breach of insurance contract, Plaintiff has been financially

         damaged and continues to suffer damage and loss.

    14. As a result of Defendant's breach of the insurance contract, it has also become necessary for

         Plaintiff to incur and become obligated for attorney's fees and costs in connection with the

         prosecution of this action. Plaintiff is entitled to have Defendant pay said fees and costs pursuant

         to section 626.9373, Florida Statutes.

         WHEREFORE, Plaintiff prays this Court enter judgment in Plaintiff's favor and against

    WESTCHESTER SURPLUS LINES INSURANCE COMPANY for damages including actual and

    compensatory damages, pre-judgment interest, costs of this action, attorney's fees, and such other and

    further relief as this Court may deem appropriate.




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                                             JURY TRIAL DEMANDED

    Plaintiff requests a trial by jury on all issues so triable.

    Dated: March 11, 2022
                                                       Respectfully submitted,

                                                       KRAPF LEGAL, P.A.

                                                        /s/ Grant W. Krapf, Esq.
                                                       GRANT W. KRAPF, ESQ.
                                                       FBN: 072058
                                                       2790 Sunset Point Road
                                                       Clearwater, FL 33759
                                                       Telephone: (727) 777-7450
                                                       E-mail: grant@krapflegal.com
                                                       assist@krapflegal.com
                                                       Counsel for Plaintiff
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         HUBB®


                                                                                                                                                        EXHIBIT "A"

6/23/2021

AMWINS BROKERAGE OF FLORIDA INC
1227 SOUTH PATRICK DRIVE SUITE 101
SATELLITE BEACH, FL 32937

Attn: Brian Henderson

RE:            Insured Name: Brittany Condominium Association, Inc
               Policy No.:    D42295164 002
               Company:       Westchester Surplus Lines Insurance Company

Enclosed please find the original and copies of the captioned policy. Please check to see that everything is in order, and let us know if
there are any discrepancies or if you have any questions. Attached to this policy is the U.S Treasury Department's Office Of Foreign
Assets Control ("OFAC") Advisory Notice to Policyholder.

During our review and quality control, the following corrections were made in the policy, and therefore these items will differ from
the binder.

Removed - CP 12 18 (10/12) - Loss Payable Provisions

Thank you for working with us on the placement of this risk. We appreciate your support and look forward to working with you in the
future.

Regards,


Grant Carlson




Please be advised that we do not review Certificates of Insurance issued by you, or by any pariy, relating to this policy of insurance either for content or accuracy. Accordingly, we
request that you do not provide copies of certificates to us for review or for our records. Authority is granted to you for the limited purpose of issuing unmodified ACORD
Certificates (ACORD 25-S for Casualty and ACORD 24, Accord 27 or Accord 28 for Property and Inland Marine) only. It is your responsibility to see that any Certificate provides
an accurate representation of the coverage form and endorsements applicable to this policy at the time the Certificate is issued. Any modification of the approved ACORD forms
specifically set forth above, or the issuance of a non-approved Certificate of Insurance ACORD or other is prohibited. Certificates of Insurance are never recognized as
endorsements or policy change requests. You must submit a separate written request if an endorsement or policy change (including but not limited to adding additional insureds,
loss payees and mortgagees and/or alteration of notice requirements for cancellation) is requested. In the event a policy change is requested, the underwriter will advise if the
request is acceptable to the Company.


One of the CHUBB Group of Insurance Companies
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    Westchester Surplus Lines Insurance
    Company
    11575 Great Oaks Way
    Suite 200
    Alpharetta, GA 30022




                                        NOTICE
    POLICY NO. D42295164 002

    NAME OF INSURED: Brittany Condominium Association, Inc

             ADDRESS: do Association Specialty Group (Brittany)
                      9050 Pines Blvd., Ste. 480
                      Pembroke Pines, FL 33024

    We are pleased to enclose your policy for this account.


    Please be advised that by binding this risk with the above referenced Surplus Lines Insurance Company,
    you agree that as the Surplus Lines Broker responsible for the placement of this insurance policy, it is
    your obligation to comply with all States Surplus Lines Laws including completion of any
    declarations/affidavits that must be filed as well as payment of any and all Surplus Lines taxes that must
    be remitted to the State(s). We will look to you for indemnification if controlling Surplus Lines Laws are
    violated by you as the Surplus Lines broker responsible for the placement.

    You further confirm that any applicable state requirement concerning a diligent search for coverage by
    admitted carriers has been fulfilled in accordance with state law.

    Thank you for this placement and your regulatory compliance.

    Date: 6/23/2021




    WSG-084 (05/11)
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                                   Policy Declarations                                        Westchester
                                                                                              A Chubb Company
                                                                                                                TM


Policy No. D42295164 002                                   Renewal of: D42295164 001

NAMED INSURED & MAILING ADDRESS
Brittany Condominium Association, Inc
c/o Association Specialty Group (Brittany)
9050 Pines Blvd., Ste. 480
Pembroke Pines, FL 33024



POLICY PERIOD
                                                           12:01 A. M. Local Time At The Location Of Covered
When Coverage Begins: 05/31/2021
                                                           Property
                                                           12:01 A. M. Local Time At The Location Of Covered
When Coverage Ends: 05/31/2022                             Property

INSURING COMPANY                                           Producer's Name & Address:
                                                           AMWINS BROKERAGE OF FLORIDA INC
                                                           1227 SOUTH PATRICK DRIVE SUITE 101
Westchester Surplus Lines                                  SATELLITE BEACH, FL 32937
Insurance Company
                                                           Producer No: Z01282




   THIS INSURANCE IS ISSUED PURSUANT TO THE FLORIDA SURPLUS LINES LAW. PERSONS INSURED BY
   SURPLUS LINES CARRIERS DO NOT HAVE THE PROTECTION OF THE FLORIDA INSURANCE GUARANTY
   ACT TO THE EXTENT OF ANY RIGHT OF RECOVERY FOR THE OBLIGATION OF AN INSOLVENT
   UNLICENSED INSURER.


   SURPLUS LINES INSURERS POLICY RATES AND FORMS ARE NOT APPROVED BY ANY FLORIDA
   REGULATORY AGENCY.




ATTACHED FORMS
This policy is completed by the following: BB-5W58a-PA (05/18) and forms and endorsements attached thereto.



Authorization Information
Dated: 06/23/2021




                                                                                JOHN' j. LUPICA, Pre5idqnt
                                                                      Authorized Representative


SLPD-PA (04/18)
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Common Policy Declarations
                                                                                                              Westchester
                                                                                                              A Chubb Company


Policy Number: D42295164 002                                   Company Name: Westchester Surplus Lines Insurance Company
Named Insured & Mailing Address:                               Producer's Name & Address:
Brittany Condominium Association, Inc                          AMWINS BROKERAGE OF FLORIDA INC
c/o Association Specialty Group (Brittany)                     1227 SOUTH PATRICK DRIVE SUITE 101
9050 Pines Blvd., Ste. 480                                     SATELLITE BEACH, FL 32937
Pembroke Pines, FL 33024                                       Zoi282

General Policy        Business Description: Community
Information           Association
                      When Coverage Begins: 05/31/2021              12:01 A.M. Local Time At The Location Of Covered Property
                      When Coverage Ends:      05/31/2022           12:01 A.M. Local Time At The Location Of Covered Property
                      In return for the payment of premium, and subject to all the terms and conditions of this
                      policy, we agree to provide the insurance as stated in this policy.

                      The premium for this policy is indicated below next to the applicable Coverage Form(s).
                      Coverage Form
                      COMMERCIAL PROPERTY COVERAGE PART                                                                      340,000
                      COMMERCIAL EQUIPMENT BREAKDOWN COVERAGE PART                                                       Included




                                                                                   Total Premium:                            340,000
                                            Total Assessments, Fees, Surcharges, Taxes:                                            0
                                                                              Total Amount Due:                              340,000
                                                                      Minimum Earned Premium:                            *119,000


Attached Forms              *Subject to Hurricane Minimum Earned Premium Endorsement, whichever is greater
Information                 See Forms Schedule CPfsz-PA



Authorization
Information



                           Date: 06/23/2021                                                      JOHN J. LUP!CA, President
                                                                                           Authorized Representative
Internal Reference Number:

                        These Declarations together with the Coverage Declarations, Common Policy Conditions and
                        Coverage Conditions (if applicable), Coverage Form(s) and Forms and Endorsements, if any,
                        issued to form a part thereof, complete the above numbered policy.


BB-5W58a-PA (05/18)                                   ©Chubb. 2018. All rights reserved.                                 Page 1 of 1
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                                      Forms Schedule
 Company: Westchester Surplus Lines Insurance Company
SYM: FS                          Policy ID: D42295164 002

Policy Period       When Coverage Begins:     05/31/2021    12:01 A.M. Local Time At The Location Of Covered
                                                            Property

                    When Coverage Ends:       05/31/2022    12:01 A.M. Local Time At The Location Of Covered
                                                            Property

Applicable to       SLPD-PA (04/18)-Surplus Lines Declarations
all Coverage        BB-5W58a -PA (05/18)-Common Policy Declarations
Parts               IL 0017(11/98)-Common Policy Conditions
                    SL-44730a (01/16)-Service Of Suit Endorsement - Florida
                    TRIA24a (08/20) -Policyholder Disclosure Notice of Terrorism Insurance Coverage
                    ALL-20887 (10/06)-CHUBB Producer Compensation Practices & Policies
                    ALL-21101 (11/06)-Trade or Economic Sanctions Endorsement
                    ALL-5X45 (11/96)-Questions About Your Insurance
                    IL Pool oi 04-U.S. Treasury Departments' Office of Foreign Assets Control
                    ("OFAC") Advisory Notice to Policyholders
                    LD-5523j (03/14)-Signature Endorsement

Commercial          CPd2 (08/16)-Commercial Property Declarations
Property            CPfed2 (05/16)-Flood Endorsement Declarations
                    ACE0755 (02/13)-Commercial Property Conditions
                    CP 0017(10/12)-Condominium Association Coverage Form
                    CP 10 30 (09/17)-Causes Of Loss - Special Form
                    ACE007 06/10-Cancellation Clause
                    ACE0210 (01/08)-Nuclear, Biological, Chemical, Radiological Exclusion
                    Endorsement
                    ACE0239 (06/06)-Hurricane Minimum Earned Premium Endorsement
                    ACE0359 (12/10-Earthquake Sprinlder Leakage Exclusion
                    ACE0377 (06/18)-Sub-Limit Provision Endorsement
                    ACE0421 (08/09)-Pre-Existing Property Damage Exclusion
                    ACE0484 (10/15)-Newly Acquired Or Constructed Property And/Or Newly Acquired
                    Locations Coverage Extensions - Deleted
                    ACE061 (08/18)-Asbestos Material Exclusion (Named Peril Exception)
                    ACE063 (07/16)-Occurrence Limit Of Liability Endorsement
                    ACE067 (03/14)-Permission For Excess Insurance Endorsement
                    ACE0681 0.0/10-Definition Of Loss Occurrence Endorsement
                    ACE0774 (10/18)-Ordinance Or Law Coverage
                    ACEo 881 (04/18)-Wind-Driven Rain Additional Coverage and Deductible
                    Endorsement
                    ACE0908 (01/18)-Loss Control Inspection Compliance Condition
                    ACE126 (10/14)-Electronic Data Amendment Endorsement
                    ALL-10750 (01/15)-Terrorism Exclusion Endorsement
                    CP 01 40 (07/06)-Exclusions of Loss Due to Virus or Bacteria
                    CP 04 08 (10/12)-Higher Limits
                    CP 10 65 (06/07)-Flood Coverage Endorsement
                    ACE0941 (03/19)-Personal Property Exclusion Endorsement
                    WP-323090 (03/20-Hurricane Percentage Deductible (Total Insurable Values Per
                    Building or Structure)
                    MA-608255P (04/15)-Claims Directory Property and Inland Marine

Commercial          Not Covered
Inland Marine


          CPfs2-PA (03/19)                                                               Page 1 of 2
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                                   Forms Schedule
Commercial          Not Covered
General Liability
Commercial          ACE0805 (04/15)-Equipment Breakdown Coverage
Equipment           ACE0806 (09/17)-Equipment Breakdown Schedule
Breakdown




          CPfs2-PA (03/19)                                            Page 2 of 2
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             Commercial Property Declarations                                                     CHUBB


     Company: Westchester Surplus Lines Insurance Company
      SYM: FS              Policy ID:   D42295164 002

      Location            X Most recent schedule on file with Company totaling $70,032,146
                          See attached Schedule CPs2
                      Loc. No.   Bid. No. Address




     Coverages      Insurance At Described Location Applies Only For Coverages For Which A Limit Of Liability Is Shown
                     Loc. Bld.                                        Covered Causes of       Co-Insurance            Limit of
     and
                     No.    No               Coverage                     Loss Form                                 Insurance
     Limits
     Provided
                    All      All    Buildings                        Special                              NIL       5,000,000
                                                                                                                          Per
                                                                                                                   Occurrence

    Deductible      $5,000 Per Occurrence All Other Perils except $25,000 All Other Per Occurrence All Other
                    Wind/Hail


    Special                 See Multiple Deductible Form         See Windstorm or Hail % Deductible Form
    Deductible        X See Hurricane % Deductible
    Provisions

   Coverage         The following coverage options are provided where indicated by an x or entry:
   Options:         Building            Agreed Value Exp. Date                  X Replacement Cost



                    Personal Property            Agreed Value Exp. Date
                                                 Replacement Cost ( Inc. Stock) (            Inc. Personal Property of Others)


                    Business Income:             Monthly Limit of Indemnity                    Maximum Period of Indemnity
                                                 Extended Period of Indemnity Days



    Attached          X      Refer to Forms Schedule CPfs2
    Forms
    Information




Form CPd2 (08/16)                                                                                                 Page 1 of 1
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                          Flood Endorsement Declarations
Company: Westchester Surplus Lines Insurance Company
SYM: FS                   Policy ID: D42295164 002

 THE FOLLOWING SCHEDULE PROVIDES SUPPLEMENTARY INFORMATION TO BE USED WITH THE
                         FLOOD COVERAGE ENDORSEMENT

Location    Covered Locations for Flood are the same as the Covered Locations shown in the
Information Commercial Property Declarations, subject to the following exceptions:
            Exceptions: (applicable if indicated by an X)


                 X No Flood coverage is provided under this endorsement for Locations wholly or
                   partially located within the following Federal Emergency Management Agency
                   (FEMA) Flood Zones: A, AO, AE, AH, A1-A30, A99, AR, V, VE, V1-30, B, X500, D, Shaded X



Coverage    Covered Property and Coverages for Flood are the same as the Covered Property and
Information Coverages shown in the Commercial Property Declarations and in the Sub-Limit Provision
            Endorsement, subject to the terms of the Flood Coverage Endorsement and the following
            exceptions:
            Exceptions:



Limit of                          Occurrence & Annual Aggregate Limit:
Insurance
            Flood Limits of Insurance are Annual/Term Aggregate Limits. (Refer to the Limit Of
Information
            Insurance Provisions in the Flood Coverage Endorsement for an explanation.)

                 The Flood limit, indicated in option A or B below, is part of and included in the Limit of
                 Insurance which applies to other Covered Causes of Loss under the Causes of Loss-
                 Special Form. The Flood limit is not a separate or additional Limit of Insurance.


                    Option A. —Full Limit (Coinsurance Condition, if any, in the applicable Coverage Form
                 Flood is covered for the same Limit of Insurance shown in the Commercial Property
                 Declarations which applies to other Covered Causes of Loss under the Causes of Loss-
Option A or B
applies (as      Special Form, subject to the following exceptions:
indicated by an
X)              Exceptions:




CPfed2 (05/16)                                                                                   Page 1 of 3
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                               Flood Endorsement Declarations
                     X Option B. —Reduced Limit (No Co-insurance option applies) $1,000,000

                         Reduced Limit for Locations in FEMA Flood Zones : $ (This Limit does not apply
                        separately to the Reduced Limit shown above)

                     The Reduced Limit does not apply separately to the Premises, Locations, Covered Property
                     or Coverages listed. It is the most we will pay for all loss of damage to the indicated Covered
                     Property/Coverages at the Premises and Locations listed, subject to all other applicable
                     policy provisions.

Flood                The following deductible(s) applies at Locations wholly or partially located in FEMA
Deductible           Flood Zones :

(If no entry          % of the separate insurable value of each unit of insurance involved in the loss as of the date
appears, the         of loss, subject to a minimum of $ per occurrence
Deductible shown
in the Commercial
Property              % of the total values (including 12 months loss of income/extra expense if covered) at the
Declarations
applies to Flood.)
                     time and place of loss in any loss arising out of one occurrence or event, subject to a minimum
                     of $ per occurrence

                      % of the total insurable value at each covered location (including 12 months loss of
                     income/extra expense if covered) involved in the loss as of the date of loss; subject to a
                     minimum of $ per occurrence

                     $ Per Building (Real Property)

                     $ Per Building (Personal Property)

                     $ Per Occurrence (Business Income)

                     Waiting Period (Business Income)

                         The maximum amount recoverable under the National Flood Insurance Program for the
                     Real or Personal Property at each Building, whether or not such coverage is purchased or
                     maintained. In addition, the following deductible will apply to property not eligible and
                     coverages not available under the National Flood Insurance Program that are covered under
                     this policy and any difference in the valuation between the policies: $ Per Occurrence

                     The following deductible applies at all other Locations:

                     $100,000 Per Occurrence

Special                  72 hour waiting period in Section D.5.a. apply
Provisions
(applicable if       X Underlying NFIP Insurance Waiver Applies to locations: ALL
indicated by an
X




CPfed2 (05/16)                                                                                             Page 2 of 3
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                           Flood Endorsement Declarations
                 "Unit of Insurance" if used in this endorsement means: (a) each separate building or
                 structure; (b) your business personal property or property of others in each building or
                 structure; (c) property in the open at each Covered Location or (d) loss of income or extra
                 expense and (e) all other covered items.




CPfed2 (05/16)                                                                                    Page 3 of 3
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                                                                                                                    COMMERCIAL PROPERTY




                        COMMERCIAL PROPERTY CONDITIONS
This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss Conditions
and Additional Conditions in Commercial Property Coverage Forms.

A. CONCEALMENT, MISREPRESENTATION OR                                   F. NO BENEFIT TO BAILEE
   FRAUD                                                                  No person or organization, other than you, having
   This Coverage Part is void in any case of fraud by                     custody of Covered Property will benefit from this
   you as it relates to this Coverage Part at any time. It                insurance.
   is also void if you or any other insured, at any time,              G. OTHER INSURANCE
   intentionally conceal or misrepresent a material fact
   concerning:                                                            1. You may have other insurance subject to the same
                                                                             plan, terms, conditions and provisions as the
   1. This Coverage Part;                                                    insurance under this Coverage Part. If you do, we will
   2. The Covered Property;                                                  pay our share of the covered loss or damage. Our
   3. Your interest in the Covered Property; or                              share is the proportion that the applicable Limit of
                                                                             Insurance under this Coverage Part bears to the
   4. A claim under this Coverage Part.                                      Limits of Insurance of all insurance covering on the
B. CONTROL OF PROPERTY                                                       same basis.
   Any act or neglect of any person other than you                        2. If there is other insurance covering the same loss or
   beyond your direction or control will not affect this                     damage, other than that described in 1. above, we will
   insurance.                                                                pay only for the amount of covered loss or damage in
                                                                             excess of the amount due from that other insurance,
    The breach of any condition of this Coverage Part at
                                                                             whether you can collect on it or not. But we will not
    any one or more locations will not affect coverage at
                                                                             pay more than the applicable Limit of Insurance.
    any location where, at the time of loss or damage,
    the breach of condition does not exist.                            H. POLICY PERIOD, COVERAGE TERRITORY
C. INSURANCE UNDER TWO OR MORE                                              Under this Coverage Part:
    COVERAGES                                                               1. We cover loss or damage commencing:
   If two or more of this policy's coverages apply to the                      a. During the policy period shown in the Declarations;
   same loss or damage, we will not pay more than the                             and
   actual amount of the loss or damage.
                                                                               b. Within the coverage territory.
D. LEGAL ACTION AGAINST US
                                                                            2. The coverage territory is:
   No one may bring a legal action against us under
   this Coverage Part unless:                                                   a. The United States of America (including its territo-
                                                                                   ries and possessions); and
   1. There has been full compliance with all of the
       terms of this Coverage Part; and                                         b. Puerto Rico.
   2. The action is brought within 2 years after the
       date on which the direct physical loss or dam-
       age occurred.
E. LIBERALIZATION
   If we adopt any revision that would broaden the
   coverage under this Coverage Part without
   additional premium within 45 days prior to or during
   the policy period, the broadened coverage will
   immediately apply to this Coverage Part.




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I. TRANSFER OF RIGHTS OF RECOVERY                                          1. Prior to a loss to your Covered Property or Covered
    AGAINST OTHERS TO US                                                      Income.
    If any person or organization to or for whom we                        2. After a loss to your Covered Property or Covered
    make payment under this Coverage Part has rights                          Income only if, at time of loss, that party is one of the
    to recover damages from another, those rights are                         following:
    transferred to us to the extent of our payment. That
                                                                               a. Someone insured by this insurance;
    person or organization must do everything
    necessary to secure our rights and must do nothing                         b. A business firm:
    after loss to impair them. But you may waive your                            (1) Owned or controlled by you; or
    rights against another party in writing:
                                                                                 (2) That owns or controls you; or
                                                                              c. Your tenant.
                                                                           This will not restrict your insurance.




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                                                                                                      IL 00 17 11 98


                            COMMON POLICY CONDITIONS
 All Coverage Parts included in this policy are subject to the following conditions.

 A. Cancellation                                                      b. Give you reports on the conditions we find;
    1. The first Named Insured shown in the Declara-                     and
       tions may cancel this policy by mailing or de-                 c. Recommend changes.
       livering to us advance written notice of cancel-           2. We are not obligated to make any inspections,
       lation.                                                       surveys, reports or recommendations and any
    2. We may cancel this policy by mailing or deliv-                such actions we do undertake relate only to in-
       ering to the first Named Insured written notice               surability and the premiums to be charged. We
       of cancellation at least:                                     do not make safety inspections. We do not un-
        a. 10 days before the effective date of cancel-              dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-                organization to provide for the health or safety
           mium; or                                                  of workers or the public. And we do not warrant
                                                                     that conditions:
       b. 30 days before the effective date of cancel-
          lation if we cancel for any other reason.                   a. Are safe or healthful; or
    3. We will mail or deliver our notice to the first               b. Comply with laws, regulations, codes or
       Named Insured's last mailing address known to                     standards.
        US.                                                       3. Paragraphs 1. and 2. of this condition apply not
    4. Notice of cancellation will state the effective               only to us, but also to any rating, advisory, rate
       date of cancellation. The policy period will end              service or similar organization which makes
       on that date.                                                 insurance inspections, surveys, reports or
                                                                     recommendations.
    5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we                4. Paragraph 2. of this condition does not apply to
       cancel, the refund will be pro rata. If the first             any inspections, surveys, reports or recom-
       Named Insured cancels, the refund may be                      mendations we may make relative to certifica-
       less than pro rata. The cancellation will be ef-              tion, under state or municipal statutes, ordi-
       fective even if we have not made or offered a                 nances or regulations, of boilers, pressure ves-
       refund.                                                       sels or elevators.

    6. If notice is mailed, proof of mailing will be suf-      E. Premiums
       ficient proof of notice.                                   The first Named Insured shown in the Declara-
 B. Changes                                                       tions:
    This policy contains all the agreements between               1. Is responsible for the payment of all premiums;
    you and us concerning the insurance afforded.                    and
    The first Named Insured shown in the Declarations              2. Will be the payee for any return premiums we
    is authorized to make changes in the terms of this                pay.
    policy with our consent. This policy's terms can be        F. Transfer Of Your Rights And Duties Under This
    amended or waived only by endorsement issued                   Policy
    by us and made a part of this policy.
                                                                   Your rights and duties under this policy may not be
 C. Examination Of Your Books And Records                          transferred without our written consent except in
    We may examine and audit your books and rec-                   the case of death of an individual named insured.
    ords as they relate to this policy at any time during         If you die, your rights and duties will be trans-
    the policy period and up to three years afterward.            ferred to your legal representative but only while
 D. Inspections And Surveys                                       acting within the scope of duties as your legal rep-
     1. We have the right to:                                     resentative. Until your legal representative is ap-
                                                                  pointed, anyone having proper temporary custody
        a. Make inspections and surveys at any time;              of your property will have your rights and duties
                                                                  but only with respect to that property.




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                                                                                               COMMERCIAL PROPERTY
                                                                                                       CP 00 17 10 12

            CONDOMINIUM ASSOCIATION COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The words "we",
"us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section H. Definitions.

A. Coverage                                                                     (b) Materials, equipment, supplies, and
   We will pay for direct physical loss of or damage to                             temporary structures, on or within 100
   Covered Property at the premises described in the                                feet of the described premises, used
   Declarations caused by or resulting from any Covered                             for making additions, alterations or
   Cause of Loss.                                                                   repairs to the building or structure; and
   1. Covered Property                                                      (6) Any of the following types of property
                                                                                contained within a unit, regardless of
      Covered Property, as used in this Coverage Part,                          ownership, if your Condominium
      means the type of property described in this                              Association Agreement requires you to
      section, Al., and limited in A.2. Property Not                            insure it:
      Covered, if a Limit Of Insurance is shown in the
      Declarations for that type of property.                                   (a) Fixtures,       improvements   and
                                                                                    alterations that are a part of the
      a. Building, meaning the building or structure                                building or structure; and
          described in the Declarations, including:
                                                                                (b) Appliances, such as those used for
         (1) Completed additions;                                                   refrigerating, ventilating, cooking,
         (2) Fixtures, outside of individual units,                                 dishwashing, laundering, security or
             including outdoor fixtures;                                            housekeeping.
         (3) Permanently installed:                                          But Building does not include personal
                                                                             property owned by, used by or in the care,
             (a) Machinery; and
                                                                             custody or control of a unit-owner except for
             (b) Equipment;                                                  personal property listed in Paragraph
         (4) Personal property owned by you that is                          A.1.a.(6) above.
             used to maintain or service the building or                  b. Your Business Personal Property located
             structure or its premises, including:                           in or on the building or structure described in
            (a) Fire-extinguishing equipment;                                the Declarations or in the open (or in a
                                                                             vehicle) within 100 feet of the described
             (b) Outdoor furniture;                                          premises, consisting of the following:
            (c) Floor coverings; and
                                                                            (1) Personal property owned by you or
            (d) Appliances used for refrigerating,                              owned indivisibly by all unit-owners;
                 ventilating, cooking, dishwashing or                       (2) Your interest in the labor, materials or
                 laundering that are not contained within
                                                                                services furnished or arranged by you on
                 individual units;
                                                                                personal property of others; and
         (5) If not covered by other insurance:
                                                                            (3) Leased  personal property for which you
             (a) Additions under construction, alterations                      have a contractual responsibility to insure,
                 and repairs to the building or structure;                      unless otherwise provided for under
                                                                                Personal Property Of Others.




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         But Your Business Personal Property does not                    n. Electronic data, except as provided under the
         include personal property owned only by a unit-                    Additional Coverage, Electronic Data.
         owner.                                                             Electronic data means information, facts or
      c. Personal Property Of Others that is:                               computer programs stored as or on, created
                                                                            or used on, or transmitted to or from
        (1) In your care, custody or control; and                           computer software (including systems and
        (2) Located in or on the building or structure                      applications software), on hard or floppy
            described in the Declarations or in the open                    disks, CD-ROMs, tapes, drives, cells, data
            (or in a vehicle) within 100 feet of the                        processing devices or any other repositories
            described premises.                                             of computer software which are used with
         However, our payment for loss of or damage to                      electronically controlled equipment. The term
                                                                            computer programs, referred to in the
         personal property of others will only be for the
         account of the owner of the property.                              foregoing description of electronic data,
                                                                            means a set of related electronic instructions
   2. Property Not Covered                                                  which direct the operations and functions of a
      Covered Property does not include:                                    computer or device connected to it, which
                                                                            enable the computer or device to receive,
      a. Accounts, bills, currency, food stamps or other                    process, store, retrieve or send data. This
         evidences of debt, money, notes or securities.
                                                                            paragraph, n., does not apply to electronic
         Lottery tickets held for sale are not securities;
                                                                            data which is integrated in and operates or
      b. Animals, unless owned by others and boarded                        controls the building's elevator, lighting,
         by you;                                                            heating, ventilation, air conditioning or
      c. Automobiles held for sale;                                         security system;
      d. Bridges, roadways, walks, patios or other                       o. The cost to replace or restore the information
         paved surfaces;                                                    on valuable papers and records, including
                                                                            those which exist as electronic data.
      e. Contraband, or property in the course of illegal                   Valuable papers and records include but are
         transportation or trade;                                           not limited to proprietary information, books
      f. The cost of excavations, grading, backfilling or                   of account, deeds, manuscripts, abstracts,
         filling;                                                           drawings and card index systems. Refer to
                                                                            the Coverage Extension for Valuable Papers
      g. Foundations of buildings, structures, machinery                    And Records (Other Than Electronic Data)
         or boilers if their foundations are below:
                                                                            for limited coverage for valuable papers and
        (1) The lowest basement floor; or                                   records other than those which exist as
          (2) The surface of the ground if there is no                      electronic data;
              basement;
                                                                         P. Vehicles      or     self-propelled     machines
      h. Land (including land on which the property is                      (including aircraft or watercraft) that:
           located), water, growing crops or lawns (other                  (1) Are licensed for use on public roads; or
           than lawns which are part of a vegetated roof);
                                                                           (2) Are operated principally away from the
       I. Personal     property     while   airborne     or                     described premises.
           waterborne;
                                                                            This paragraph does not apply to:
      .1. Bulkheads, pilings, piers, wharves or docks;
                                                                              (a) Vehicles or self-propelled machines or
      k. Property that is covered under this or any other                         autos you manufacture or warehouse;
          policy in which it is more specifically described,
          except for the excess of the amount due                              (b) Vehicles or self-propelled machines,
          (whether you can collect on it or not) from that                         other than autos, you hold for sale;
          other insurance;                                                     (c) Rowboats or canoes out of water at
       I. Retaining walls that are not part of a building;                         the described premises; or
     m. Underground pipes, flues or drains;                                    (d) Trailers, but only to the extent
                                                                                   provided for in the Coverage
                                                                                   Extension for Non-owned Detached
                                                                                   Trailers; or




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      q. The following property while outside of                         (3) Subject to the exceptions in Paragraph
         buildings:                                                          (4), the following provisions apply:
        (1) Grain, hay, straw or other crops; or                             (a) The most we will pay for the total of
        (2) Fences, radio or television antennas                                 direct physical loss or damage plus
            (including satellite dishes) and their lead-in                       debris removal expense is the Limit of
            wiring, masts or towers, trees, shrubs or                            Insurance applicable to the Covered
            plants (other than trees, shrubs or plants                           Property that has sustained loss or
            which are "stock" or are part of a vegetated                         damage.
            roof), all except as provided in the                             (b) Subject to (a) above, the amount we
            Coverage Extensions.                                                 will pay for debris removal expense is
   3. Covered Causes Of Loss                                                     limited to 25% of the sum of the
                                                                                 deductible plus the amount that we
      See applicable Causes Of Loss form as shown in                             pay for direct physical loss or damage
      the Declarations.                                                          to the Covered Property that has
   4. Additional Coverages                                                       sustained loss or damage. However, if
                                                                                 no Covered Property has sustained
      a. Debris Removal
                                                                                 direct physical loss or damage, the
         (1) Subject to Paragraphs (2), (3) and (4), we                          most we will pay for removal of debris
             will pay your expense to remove debris of                           of other property (if such removal is
             Covered Property and other debris that is                           covered under this Additional
             on the described premises, when such                                Coverage) is $5,000 at each location.
             debris is caused by or results from a
                                                                          (4) We will pay up to an additional $25,000
             Covered Cause of Loss that occurs during
             the policy period. The expenses will be paid                      for debris removal expense, for each
                                                                               location, in any one occurrence of
             only if they are reported to us in writing
                                                                               physical loss or damage to Covered
             within 180 days of the date of direct
                                                                               Property, if one or both of the following
             physical loss or damage.
                                                                               circumstances apply:
         (2) Debris Removal does not apply to costs to:
                                                                              (a) The total of the actual debris removal
           (a) Remove debris of property of yours that                             expense plus the amount we pay for
               is not insured under this policy, or                                direct physical loss or damage
               property in your possession that is not                             exceeds the Limit of Insurance on the
               Covered Property;                                                   Covered Property that has sustained
           (b) Remove any property that is Property                                loss or damage.
               Not Covered, including property                               (b) The actual debris removal expense
               addressed under the Outdoor Property                                exceeds 25% of the sum of the
               Coverage Extension;                                                 deductible plus the amount that we
           (c) Remove property of others of a type that                            pay for direct physical loss or damage
               would not be Covered Property under                                 to the Covered Property that has
               this Coverage Form;                                                 sustained loss or damage.
           (d) Remove deposits of mud or earth from                            Therefore, if (4)(a) and/or (4)(b) applies,
               the grounds of the described premises;                          our total payment for direct physical loss
                                                                               or damage and debris removal expense
           (e) Extract "pollutants" from land or water;
                                                                               may reach but will never exceed the Limit
               or
                                                                               of Insurance on the Covered Property that
            (f) Remove, restore or replace polluted                            has sustained loss or damage, plus
                land or water.                                                 $25,000.
                                                                          (5) Examples
                                                                              The following examples assume that
                                                                              there is no Coinsurance penalty.




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Example 1                                                              b. Preservation Of Property
Limit of Insurance:                       $ 90,000                        If it is necessary for you to move Covered
Amount of Deductible:                     $      500                      Property from the described premises to
Amount of Loss:                           $ 50,000                        preserve it from loss or damage by a
Amount of Loss Payable:                   $ 49,500                        Covered Cause of Loss, we will pay for any
                                ($50,000 — $500)                          direct physical loss or damage to that
Debris Removal Expense:                   $ 10,000                        property:
Debris Removal Expense Payable:           $ 10,000                       (1) While it is being moved or while
($10,000 is 20% of $50,000.)                                                   temporarily stored at another location;
                                                                               and
The debris removal expense is less than 25% of the sum                   (2) Only if the loss or damage occurs within
of the loss payable plus the deductible. The sum of the                        30 days after the property is first moved.
loss payable and the debris removal expense ($49,500 +                 c. Fire Department Service Charge
$10,000 = $59,500) is less than the Limit of Insurance.
                                                                           When the fire department is called to save or
Therefore, the full amount of debris removal expense is
                                                                           protect Covered Property from a Covered
payable in accordance with the terms of Paragraph (3).
                                                                           Cause of Loss, we will pay up to $1,000 for
Example 2                                                                  service at each premises described in the
Limit of Insurance:                                                        Declarations unless a higher limit is shown in
                                           $     90,000
                                                                           the Declarations. Such limit is the most we
Amount of Deductible:                      $        500
                                                                           will pay regardless of the number of
Amount of Loss:                            $     80,000
                                                                           responding fire departments or fire units, and
Amount of Loss Payable:                    $     79,500                    regardless of the number or type of services
                                     ($80,000 — $500)                      performed.
Debris Removal Expense:                    $     40,000
Debris Removal Expense Payable                                             This Additional Coverage applies to your
                Basic Amount:              $      10,500                   liability for fire department service charges:
                Additional Amount:         $      25,000                 (1) Assumed by contract or agreement prior
The basic amount payable for debris removal expense                          to loss; or
under the terms of Paragraph (3) is calculated as follows:               (2) Required by local ordinance.
$80,000 ($79,500 + $500) x .25 = $20,000, capped at                       No Deductible applies to this Additional
$10,500. The cap applies because the sum of the loss                      Coverage.
payable ($79,500) and the basic amount payable for
debris removal expense ($10,500) cannot exceed the                     d. Pollutant Clean-up And Removal
Limit of Insurance ($90,000).                                             We will pay your expense to extract
The additional amount payable for debris removal                          "pollutants" from land or water at the
expense is provided in accordance with the terms of                        described premises if the discharge,
Paragraph (4), because the debris removal expense                          dispersal, seepage, migration, release or
($40,000) exceeds 25% of the loss payable plus the                        escape of the "pollutants" is caused by or
deductible ($40,000 = 50% of $80,000), and because the                    results from a Covered Cause of Loss that
sum of the loss payable and debris removal expense                        occurs during the policy period. The
($79,500 + $40,000 = $119,500) would exceed the Limit                     expenses will be paid only if they are
of Insurance ($90,000). The additional amount of covered                  reported to us in writing within 180 days of
debris removal expense is $25,000, the maximum                            the date on which the Covered Cause of
payable under Paragraph (4). Thus, the total payable for                   Loss occurs.
debris removal expense in this example is $35,500;                         This Additional Coverage does not apply to
$4,500 of the debris removal expense is not covered.                       costs to test for, monitor or assess the
                                                                          existence, concentration or effects of
                                                                          "pollutants". But we will pay for testing which
                                                                          is performed in the course of extracting the
                                                                          "pollutants" from the land or water.




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         The most we will pay under this Additional                       (6) The most we will pay under this Additional
         Coverage for each described premises is                              Coverage, for each described building
         $10,000 for the sum of all covered expenses                          insured under this Coverage Form, is
         arising out of Covered Causes of Loss                                $10,000 or 5% of the Limit of Insurance
         occurring during each separate 12-month                              applicable to that building, whichever is
         period of this policy.                                               less. If a damaged building is covered
      e. Increased Cost Of Construction                                       under a blanket Limit of Insurance which
                                                                              applies to more than one building or item
         (1) This Additional Coverage applies only to                         of property, then the most we will pay
             buildings to which the Replacement Cost                          under this Additional Coverage, for that
             Optional Coverage applies.                                       damaged building, is the lesser of
         (2) In the event of damage by a Covered                              $10,000 or 5% times the value of the
             Cause of Loss to a building that is Covered                      damaged building as of the time of loss
             Property, we will pay the increased costs                        times the applicable Coinsurance
             incurred to comply with the minimum                              percentage.
             standards of an ordinance or law in the                          The amount payable under this Additional
             course of repair, rebuilding or replacement                      Coverage is additional insurance.
             of damaged parts of that property, subject
             to the limitations stated in e.(3) through                   (7) With respect to this Additional Coverage:
             e.(9) of this Additional Coverage.                               (a) We will not pay for the Increased Cost
                                                                                  of Construction:
         (3) The ordinance or law referred to in e.(2) of
             this Additional Coverage is an ordinance or                         (i) Until the property is actually
             law that regulates the construction or repair                            repaired or replaced, at the same
             of buildings or establishes zoning or land                               or another premises; and
             use requirements at the described premises                         (ii) Unless the repair or replacement is
             and is in force at the time of loss.                                     made as soon as reasonably
         (4) Under this Additional Coverage, we will not                              possible after the loss or damage,
             pay any costs due to an ordinance or law                                 not to exceed two years. We may
             that:                                                                    extend this period in writing during
           (a) You were required to comply with before                                the two years.
               the loss, even when the building was                          (b) If the building is repaired or replaced
               undamaged; and                                                    at the same premises, or if you elect
           (b) You failed to comply with.                                        to rebuild at another premises, the
                                                                                 most we will pay for the Increased
        (5) Under this Additional Coverage, we will not                          Cost of Construction, subject to the
            pay for:                                                             provisions of e.(6) of this Additional
           (a) The enforcement of or compliance with                             Coverage, is the increased cost of
               any ordinance or law which requires                               construction at the same premises.
               demolition,      repair,     replacement,                     (c) If the ordinance or law requires
               reconstruction,         remodeling      or                        relocation to another premises, the
               remediation of property due to                                    most we will pay for the Increased
               contamination by "pollutants" or due to                           Cost of Construction, subject to the
               the presence, growth, proliferation,                              provisions of e.(6) of this Additional
               spread or any activity of "fungus", wet or                        Coverage, is the increased cost of
               dry rot or bacteria; or                                           construction at the new premises.
           (b) Any costs associated with the                              (8) This Additional Coverage is not subject to
               enforcement of or compliance with an                           the terms of the Ordinance Or Law
               ordinance or law which requires any                            Exclusion to the extent that such
               insured or others to test for, monitor,                        Exclusion would conflict with the
               clean up, remove, contain, treat, detoxify                     provisions of this Additional Coverage.
               or neutralize, or in any way respond to,
               or assess the effects of "pollutants",
               "fungus", wet or dry rot or bacteria.




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         (9) The costs addressed in the Loss Payment                          (d) The Covered Causes of Loss include
             and Valuation Conditions and the                                      a virus, harmful code or similar
             Replacement Cost Optional Coverage, in                                instruction introduced into or enacted
             this Coverage Form, do not include the                                on a computer system (including
             increased cost attributable to enforcement                            electronic data) or a network to which
             of or compliance with an ordinance or law.                            it is connected, designed to damage
             The amount payable under this Additional                              or destroy any part of the system or
             Coverage, as stated in e.(6) of this                                  disrupt its normal operation. But there
             Additional Coverage, is not subject to such                           is no coverage for loss or damage
             limitation.                                                           caused by or resulting from
      f. Electronic Data                                                           manipulation of a computer system
                                                                                   (including electronic data) by any
        (1) Under this Additional Coverage, electronic                             employee, including a temporary or
             data has the meaning described under                                  leased employee, or by an entity
             Property Not Covered, Electronic Data. This                           retained by you or for you to inspect,
             Additional Coverage does not apply to                                 design, install, modify, maintain, repair
             electronic data which is integrated in and                            or replace that system.
             operates or controls the building's elevator,
             lighting, heating, ventilation, air conditioning              (4) The most we will pay under this Additional
             or security system.                                               Coverage, Electronic Data, is $2,500
                                                                               (unless a higher limit is shown in the
        (2) Subject to the provisions of this Additional                       Declarations) for all loss or damage
             Coverage, we will pay for the cost to                             sustained in any one policy year,
             replace or restore electronic data which has                      regardless of the number of occurrences
             been destroyed or corrupted by a Covered                          of loss or damage or the number of
             Cause of Loss. To the extent that electronic                      premises, locations or computer systems
             data is not replaced or restored, the loss will                   involved. If loss payment on the first
             be valued at the cost of replacement of the                       occurrence does not exhaust this amount,
             media on which the electronic data was                            then the balance is available for
             stored, with blank media of substantially                         subsequent loss or damage sustained in
             identical type.                                                   but not after that policy year. With respect
        (3) The Covered Causes of Loss applicable to                           to an occurrence which begins in one
             Your Business Personal Property apply to                          policy year and continues or results in
             this Additional Coverage, Electronic Data,                        additional loss or damage in a
             subject to the following:                                         subsequent policy year(s), all loss or
                                                                               damage is deemed to be sustained in the
            (a) If the Causes Of Loss — Special Form
                                                                               policy year in which the occurrence
                 applies, coverage under this Additional
                                                                               began.
                 Coverage, Electronic Data, is limited to
                 the "specified causes of loss" as defined            5. Coverage Extensions
                 in that form and Collapse as set forth in               Except as otherwise provided, the following
                 that form.                                              Extensions apply to property located in or on the
           (b) If the Causes Of Loss — Broad Form                        building described in the Declarations or in the
               applies, coverage under this Additional                   open (or in a vehicle) within 100 feet of the
               Coverage, Electronic Data, includes                       described premises.
               Collapse as set forth in that form.                       If a Coinsurance percentage of 80% or more is
           (c) If the Causes Of Loss form is endorsed                    shown in the Declarations, you may extend the
               to add a Covered Cause of Loss, the                       insurance provided by this Coverage Part as
               additional Covered Cause of Loss does                     follows:
               not apply to the coverage provided                         a. Newly Acquired Or Constructed Property
               under this Additional Coverage,
               Electronic Data.                                              (1) Buildings
                                                                                 You may extend the insurance that
                                                                                 applies to Building to apply to:
                                                                                (a) Your new buildings while being built
                                                                                    on the described premises; and




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           (b) Buildings you acquire at locations, other                      (b) 30 days expire after you acquire the
               than the described premises, intended                              property or begin construction of that
               for:                                                               part of the building that would qualify
               (i) Similar use as the building described                          as covered property; or
                    in the Declarations; or                                   (c) You report values to us.
              (ii) Use as a warehouse.                                         We will charge you additional premium for
            The most we will pay for loss or damage                            values reported from the date you acquire
            under this Extension is $250,000 at each                           the property or begin construction of that
            building.                                                          part of the building that would qualify as
                                                                               covered property.
        (2) Your Business Personal Property
                                                                        b. Personal Effects And Property Of Others
            (a) If this policy covers Your Business
                Personal Property, you may extend that                      You may extend the insurance that applies to
                insurance to apply to:                                      Your Business Personal Property to apply to:
                (i) Business      personal    property,                    (1) Personal effects owned by you, your
                    including such property that you                           officers, your partners or members, your
                    newly acquire, at any location you                         managers or your employees. This
                    acquire other than at fairs, trade                         Extension does not apply to loss or
                    shows or exhibitions; or                                   damage by theft.
                 (ii) Business      personal      property,                (2) Personal property of others in your care,
                      including such property that you                         custody or control.
                      newly acquire, located at your newly                  The most we will pay for loss or damage
                      constructed or acquired buildings at                 under this Extension is $2,500 at each
                      the location described in the                        described premises. Our payment for loss of
                      Declarations.                                        or damage to personal property of others will
            The most we will pay for loss or damage                        only be for the account of the owner of the
            under this Extension is $100,000 at each                       property.
            building.                                                   c. Valuable Papers And Records (Other
            (b) This Extension does not apply to:                          Than Electronic Data)
                (i) Personal property of others that is                   (1) You may extend the insurance that
                    temporarily in your possession in the                     applies to Your Business Personal
                    course of installing or performing                        Property to apply to the cost to replace or
                    work on such property; or                                 restore the lost information on valuable
                                                                              papers and records for which duplicates
               (ii) Personal property of others that is                       do not exist. But this Extension does not
                    temporarily in your possession in the                     apply to valuable papers and records
                    course of your manufacturing or                           which exist as electronic data. Electronic
                    wholesaling activities.                                   data has the meaning described under
        (3) Period Of Coverage                                                Property Not Covered, Electronic Data.
            With respect to insurance provided under                      (2) If the Causes Of Loss — Special Form
            this Coverage Extension for Newly Acquired                        applies, coverage under this Extension is
            Or Constructed Property, coverage will end                        limited to the "specified causes of loss" as
            when any of the following first occurs:                           defined in that form and Collapse as set
                                                                              forth in that form.
           (a) This policy expires;
                                                                          (3) If the Causes Of Loss — Broad Form
                                                                              applies, coverage under this Extension
                                                                              includes Collapse as set forth in that form.




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         (4) Under this Extension, the most we will pay                   (3) Explosion;
             to replace or restore the lost information is                (4) Riot or Civil Commotion; or
             $2,500 at each described premises, unless
             a higher limit is shown in the Declarations.                 (5) Aircraft.
             Such amount is additional insurance. We                       The most we will pay for loss or damage
             will also pay for the cost of blank material                  under this Extension is $1,000, but not more
             for reproducing the records (whether or not                   than $250 for any one tree, shrub or plant.
             duplicates exist) and (when there is a                        These limits apply to any one occurrence,
             duplicate) for the cost of labor to transcribe                regardless of the types or number of items
             or copy the records. The costs of blank                       lost or damaged in that occurrence.
             material and labor are subject to the                         Subject to all aforementioned terms and
             applicable Limit of Insurance on Your
                                                                           limitations of coverage, this Coverage
             Business Personal Property and, therefore,                    Extension includes the expense of removing
             coverage of such costs is not additional
                                                                           from the described premises the debris of
             insurance.
                                                                           trees, shrubs and plants which are the
      d. Property Off-premises                                             property of others.
        (1) You may extend the insurance provided by                    f. Non-owned Detached Trailers
            this Coverage Form to apply to your
                                                                          (1) You may extend the insurance that
            Covered Property while it is away from the                        applies to Your Business Personal
            described premises, if it is:
                                                                              Property to apply to loss or damage to
           (a) Temporarily at a location you do not                           trailers that you do not own, provided that:
               own, lease or operate;                                        (a) The trailer is used in your business;
           (b) In storage at a location you lease,                           (b) The trailer is in your care, custody or
               provided the lease was executed after
                                                                                  control at the premises described in
               the beginning of the current policy term;
                                                                                  the Declarations; and
               or
                                                                             (c) You have a contractual responsibility
            (c) At any fair, trade show or exhibition.                            to pay for loss or damage to the trailer.
        (2) This Extension does not apply to property:
                                                                          (2) We will not pay for any loss or damage
           (a) In or on a vehicle; or                                         that occurs:
            (b) In the care, custody or control of your                      (a) While the trailer is attached to any
                salespersons, unless the property is in                           motor vehicle or motorized
                such care, custody or control at a fair,                          conveyance, whether or not the motor
                trade show or exhibition.                                         vehicle or motorized conveyance is in
         (3) The most we will pay for loss or damage                              motion;
             under this Extension is $10,000.                                 (b) During     hitching   or     unhitching
      e. Outdoor Property                                                         operations, or when a trailer becomes
                                                                                  accidentally unhitched from a motor
         You may extend the insurance provided by this                            vehicle or motorized conveyance.
         Coverage Form to apply to your outdoor
         fences, radio and television antennas                            (3) The most we will pay for loss or damage
         (including satellite dishes), trees, shrubs and                      under this Extension is $5,000, unless a
         plants (other than trees, shrubs or plants which                     higher limit is shown in the Declarations.
         are "stock" or are part of a vegetated roof),                    (4) This insurance is excess over the amount
         including debris removal expense, caused by                          due (whether you can collect on it or not)
         or resulting from any of the following causes of                     from any other insurance covering such
         loss if they are Covered Causes of Loss:                             property.
        (1) Fire;
        (2) Lightning;




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      g. Business Personal Property Temporarily In               C. Limits Of Insurance
         Portable Storage Units                                     The most we will pay for loss or damage in any one
         (1) You may extend the insurance that applies              occurrence is the applicable Limit Of Insurance
             to Your Business Personal Property to                  shown in the Declarations.
             apply to such property while temporarily               The most we will pay for loss or damage to outdoor
             stored in a portable storage unit (including a         signs, whether or not the sign is attached to a
             detached trailer) located within 100 feet of           building, is $2,500 per sign in any one occurrence.
             the described premises.
                                                                    The amounts of insurance stated in the following
         (2) If the applicable Covered Causes of Loss               Additional Coverages apply in accordance with the
             form or endorsement contains a limitation or           terms of such coverages and are separate from the
             exclusion concerning loss or damage from               Limit(s) Of Insurance shown in the Declarations for
             sand, dust, sleet, snow, ice or rain to                any other coverage:
             property in a structure, such limitation or
             exclusion also applies to property in a                1. Fire Department Service Charge;
             portable storage unit.                                 2. Pollutant Clean-up And Removal;
         (3) Coverage under this Extension:                         3. Increased Cost Of Construction; and
             (a) Will end 90 days after the business                4. Electronic Data.
                  personal property has been placed in
                                                                    Payments under the Preservation Of Property
                  the storage unit;
                                                                    Additional Coverage will not increase the applicable
             (b) Does not apply if the storage unit itself          Limit of Insurance.
                  has been in use at the described               D. Deductible
                  premises for more than 90 consecutive
                  days, even if the business personal               In any one occurrence of loss or damage
                  property has been stored there for 90 or          (hereinafter referred to as loss), we will first reduce
                  fewer days as of the time of loss or              the amount of loss if required by the Coinsurance
                  damage.                                           Condition or the Agreed Value Optional Coverage. If
                                                                    the adjusted amount of loss is less than or equal to
         (4) Under this Extension, the most we will pay
                                                                    the Deductible, we will not pay for that loss. If the
              for the total of all loss or damage to
                                                                    adjusted amount of loss exceeds the Deductible, we
              business personal property is $10,000                 will then subtract the Deductible from the adjusted
              (unless a higher limit is indicated in the
                                                                    amount of loss and will pay the resulting amount or
              Declarations for such Extension) regardless           the Limit of Insurance, whichever is less.
              of the number of storage units. Such limit is
              part of, not in addition to, the applicable          When the occurrence involves loss to more than
              Limit of Insurance on Your Business                  one item of Covered Property and separate Limits of
              Personal Property. Therefore, payment                Insurance apply, the losses will not be combined in
              under this Extension will not increase the            determining application of the Deductible. But the
              applicable Limit of Insurance on Your                Deductible will be applied only once per occurrence.
              Business Personal Property.                        Example 1
         (5) This Extension does not apply to loss or            (This example assumes there is no Coinsurance
             damage otherwise covered under this                 penalty.)
             Coverage Form or any endorsement to this
             Coverage Form or policy, and does not               Deductible:                                 $         250
             apply to loss or damage to the storage unit         Limit of Insurance — Building 1:            $      60,000
             itself.                                             Limit of Insurance — Building 2:            $      80,000
                                                                 Loss to Building 1:                         $      60,100
   Each of these Extensions is additional insurance
                                                                 Loss to Building 2:                         $      90,000
   unless otherwise indicated. The Additional Condition,
   Coinsurance, does not apply to these Extensions.              The amount of loss to Building 1 ($60,100) is less than
B. Exclusions And Limitations                                    the sum ($60,250) of the Limit of Insurance applicable
                                                                 to Building 1 plus the Deductible.
   See applicable Causes Of Loss form as shown in the
   Declarations.




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The Deductible will be subtracted from the amount of loss                b. Bear the other expenses of the appraisal and
in calculating the loss payable for Building 1:                              umpire equally.
   $      60,100                                                         If there is an appraisal, we will still retain our
   —          250                                                        right to deny the claim.
   $      59,850 Loss Payable — Building 1                            3. Duties In The Event Of Loss Or Damage
                                                                         a. You must see that the following are done in
The Deductible applies once per occurrence and                              the event of loss or damage to Covered
therefore is not subtracted in determining the amount of                    Property:
loss payable for Building 2. Loss payable for Building 2 is
the Limit of Insurance of $80,000.                                          (1) Notify the police if a law may have been
                                                                                broken.
Total amount of loss payable:
                                                                            (2) Give us prompt notice of the loss or
$59,850 + $80,000 = $139,850                                                    damage. Include a description of the
Example 2                                                                       property involved.
(This example, too, assumes there is no Coinsurance                         (3) As soon as possible, give us a
penalty.)                                                                       description of how, when and where the
                                                                                loss or damage occurred.
The Deductible and Limits of Insurance are the same as
those in Example 1.                                                         (4) Take all reasonable steps to protect the
                                                                                Covered Property from further damage,
Loss to Building 1:                       $     70,000                          and keep a record of your expenses
   (Exceeds Limit of Insurance plus Deductible)                                 necessary to protect the Covered
Loss to Building 2:                       $     90,000                          Property, for consideration in the
                                                                                settlement of the claim. This will not
   (Exceeds Limit of Insurance plus Deductible)                                 increase the Limit of Insurance. However,
Loss Payable — Building 1:                $     60,000                          we will not pay for any subsequent loss
                                                                                or damage resulting from a cause of loss
    (Limit of Insurance)                                                        that is not a Covered Cause of Loss.
Loss Payable — Building 2:                   $     80,000                       Also, if feasible, set the damaged
    (Limit of Insurance)                                                        property aside and in the best possible
Total amount of loss payable:                $    140,000                       order for examination.

E. Loss Conditions                                                          (5) At our request, give us complete
                                                                                inventories of the damaged and
   The following conditions apply in addition to the                            undamaged property. Include quantities,
   Common Policy Conditions and the Commercial                                  costs, values and amount of loss
   Property Conditions:                                                         claimed.
   1. Abandonment                                                           (6) As often as may be reasonably required,
      There can be no abandonment of any property to                            permit us to inspect the property proving
      us.                                                                       the loss or damage and examine your
                                                                                books and records.
   2. Appraisal
                                                                                Also, permit us to take samples of
      If we and you disagree on the value of the property                       damaged and undamaged property for
      or the amount of loss, either may make written
                                                                                inspection, testing and analysis, and
      demand for an appraisal of the loss. In this event,                       permit us to make copies from your
      each party will select a competent and impartial
                                                                                books and records.
      appraiser. The two appraisers will select an
      umpire. If they cannot agree, either may request                      (7) Send us a signed, sworn proof of loss
      that selection be made by a judge of a court                              containing the information we request to
      having jurisdiction. The appraisers will state                            investigate the claim. You must do this
      separately the value of the property and amount of                        within 60 days after our request. We will
      loss. If they fail to agree, they will submit their                       supply you with the necessary forms.
      differences to the umpire. A decision agreed to by                    (8) Cooperate with us in the investigation or
      any two will be binding. Each party will:                                 settlement of the claim.
       a. Pay its chosen appraiser; and




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      b. We may examine any insured under oath,                       g. We will pay for covered loss or damage to
         while not in the presence of any other insured                  Covered Property within 30 days after we
         and at such times as may be reasonably                          receive the sworn proof of loss, if you have
         required, about any matter relating to this                     complied with all of the terms of this
         insurance or the claim, including an insured's                  Coverage Part, and:
         books and records. In the event of an                          (1) We have reached agreement with you on
         examination, an insured's answers must be                          the amount of loss; or
         signed.
                                                                        (2) An appraisal award has been made.
   4. Loss Payment
                                                                         If you name an insurance trustee, we will
       a. In the event of loss or damage covered by this                 adjust losses with you, but we will pay the
          Coverage Form, at our option, we will either:                  insurance trustee. If we pay the trustee, the
         (1) Pay the value of lost or damaged property;                  payments will satisfy your claims against us.
        (2) Pay the cost of repairing or replacing the                h. A party wall is a wall that separates and is
            lost or damaged property, subject to b.                      common to adjoining buildings that are
            below;                                                       owned by different parties. In settling covered
        (3) Take all or any part of the property at an                   losses involving a party wall, we will pay a
            agreed or appraised value; or                                proportion of the loss to the party wall based
                                                                         on your interest in the wall in proportion to
        (4) Repair, rebuild or replace the property with                 the interest of the owner of the adjoining
            other property of like kind and quality,                     building. However, if you elect to repair or
            subject to b. below.                                         replace your building and the owner of the
         We will determine the value of lost or damaged                  adjoining building elects not to repair or
         property, or the cost of its repair or                          replace that building, we will pay you the full
         replacement, in accordance with the applicable                  value of the loss to the party wall, subject to
         terms of the Valuation Condition in this                        all applicable policy provisions including
         Coverage Form or any applicable provision                       Limits of Insurance, the Valuation and
         which amends or supersedes the Valuation                        Coinsurance Conditions and all other
         Condition.                                                      provisions of this Loss Payment Condition.
                                                                         Our payment under the provisions of this
      b. The cost to repair, rebuild or replace does not
                                                                         paragraph does not alter any right of
         include the increased cost attributable to
         enforcement of or compliance with any                           subrogation we may have against any entity,
                                                                         including the owner or insurer of the
         ordinance or law regulating the construction,
         use or repair of any property.                                  adjoining building, and does not alter the
                                                                         terms of the Transfer Of Rights Of Recovery
      c. We will give notice of our intentions within 30                 Against Others To Us Condition in this policy.
         days after we receive the sworn proof of loss.
                                                                   5. Recovered Property
      d. We will not pay you more than your financial
                                                                      If either you or we recover any property after
         interest in the Covered Property.
                                                                      loss settlement, that party must give the other
      e. We may adjust losses with the owners of lost                 prompt notice. At your option, the property will
         or damaged property if other than you. If we                 be returned to you. You must then return to us
         pay the owners, such payments will satisfy                   the amount we paid to you for the property. We
         your claims against us for the owners' property.             will pay recovery expenses and the expenses to
         We will not pay the owners more than their                   repair the recovered property, subject to the
         financial interest in the Covered Property.                  Limit of Insurance.
      f. We may elect to defend you against suits                  6. Unit-owner's Insurance
         arising from claims of owners of property. We
                                                                      A unit-owner may have other insurance covering
         will do this at our expense.
                                                                      the same property as this insurance. This
                                                                      insurance is intended to be primary and not to
                                                                      contribute with such other insurance.




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   7. Vacancy                                                        8. Valuation
      a. Description Of Terms                                           We will determine the value of Covered Property
         (1) As used in this Vacancy Condition, the term                in the event of loss or damage as follows:
             building and the term vacant have the                      a. At actual cash value as of the time of loss or
             meanings set forth in (1)(a) and (1)(b)                        damage, except as provided in b. and c.
             below:                                                         below.
            (a) When this policy is issued to a tenant,                 b. If the Limit of Insurance for Building satisfies
                 and with respect to that tenant's interest                 the Additional Condition, Coinsurance, and
                 in Covered Property, building means the                    the cost to repair or replace the damaged
                 unit or suite rented or leased to the                      building property is $2,500 or less, we will
                 tenant. Such building is vacant when it                    pay the cost of building repairs or
                 does not contain enough business                           replacement.
                 personal property to conduct customary                    The cost of building repairs or replacement
                 operations.                                               does not include the increased cost
            (b) When this policy is issued to the owner                    attributable to enforcement of or compliance
                 or general lessee of a building, building                 with any ordinance or law regulating the
                 means the entire building. Such building                  construction, use or repair of any property.
                 is vacant unless at least 31% of its total                However, the following property will be
                 square footage is:                                        valued at the actual cash value, even when
                 (I) Rented to a lessee or sublessee and                   attached to the building:
                     used by the lessee or sublessee to                   (1) Awnings or floor coverings;
                     conduct its customary operations;                    (2) Appliances for refrigerating, ventilating,
                     and/or                                                   cooking, dishwashing or laundering; or
                (ii) Used by the building owner to                        (3) Outdoor equipment or furniture.
                     conduct customary operations.
                                                                        c. Glass at the cost of replacement with safety-
         (2) Buildings under construction or renovation                    glazing material if required by law.
             are not considered vacant.
                                                                     9. Waiver Of Rights Of Recovery
      b. Vacancy Provisions
                                                                        We waive our rights to recover payment from
         If the building where loss or damage occurs                    any unit-owner of the condominium that is
         has been vacant for more than 60 consecutive                   shown in the Declarations.
         days before that loss or damage occurs:
                                                                 F. Additional Conditions
        (1) We will not pay for any loss or damage
              caused by any of the following even if they           The following conditions apply in addition to the
              are Covered Causes of Loss:                           Common Policy Conditions and the Commercial
                                                                    Property Conditions:
             (a) Vandalism;
                                                                    1. Coinsurance
             (b) Sprinkler leakage, unless you have
                 protected the system against freezing;                 If a Coinsurance percentage is shown in the
                                                                        Declarations, the following condition applies:
             (c) Building glass breakage;
                                                                        a. We will not pay the full amount of any loss if
            (d) Water damage;                                               the value of Covered Property at the time of
            (e) Theft; or                                                   loss times the Coinsurance percentage
             (f) Attempted theft.                                           shown for it in the Declarations is greater
                                                                            than the Limit of Insurance for the property.
        (2) With respect to Covered Causes of Loss
            other than those listed in b.(1)(a) through                     Instead, we will determine the most we will
            b.(1)(f) above, we will reduce the amount                       pay using the following steps:
            we would otherwise pay for the loss or                         (1) Multiply the value of Covered Property at
            damage by 15%.                                                     the time of loss by the Coinsurance
                                                                               percentage;
                                                                           (2) Divide the Limit of Insurance of the
                                                                               property by the figure determined in Step
                                                                               (1);




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         (3) Multiply the total amount of loss, before the            Example 3
             application of any deductible, by the figure             When:      The value of the property is:
             determined in Step (2); and                                         Building at Location 1:           $ 75,000
         (4) Subtract the deductible from the figure                             Building at Location 2:           $ 100,000
             determined in Step (3).                                             Personal Property
  We will pay the amount determined in Step (4) or the                           at Location 2:                    $ 75,000
   Limit of Insurance, whichever is less. For the                                                                  $ 250,000
  remainder, you will either have to rely on other                               The Coinsurance percentage
   insurance or absorb the loss yourself.                                        for it is:                             90%
Example 1 (Underinsurance)                                                       The Limit of Insurance for
                                                                                 Buildings and Personal Property
When:      The value of the property is:     $ 250,000                           at Locations 1 and 2 is:          $ 180,000
           The Coinsurance percentage for it                                     The Deductible is:                $   1,000
          is:                                      80%                           The amount of loss is:
           The Limit of Insurance for it is: $ 100,000                           Building at Location 2:           $ 30,000
           The Deductible is:                $      250                          Personal Property
           The amount of loss is:            $ 40,000                            at Location 2:                    $ 20,000
Step (1): $250,000 x 80% = $200,000                                                                                $ 50,000
          (the minimum amount of insurance to meet                    Step (1): $250,000 x 90% = $225,000
          your Coinsurance requirements)                                        (the minimum amount of insurance to
Step (2): $100,000 ÷ $200,000 = .50                                             meet your Coinsurance requirements
Step (3): $40,000 x .50 = $20,000                                               and to avoid the penalty shown below)
Step (4): $20,000 - $250 = $19,750                                    Step (2): $180,000 ÷ $225,000 = .80
                                                                      Step (3): $50,000 x .80 = $40,000
We will pay no more than $19,750. The remaining                       Step (4): $40,000 - $1,000 = $39,000
$20,250 is not covered.                                               We will pay no more than $39,000. The remaining
Example 2 (Adequate Insurance)                                        $11,000 is not covered.
When:     The value of the property is:             $ 250,000             2. Mortgageholders
          The Coinsurance percentage                                         a. The term mortgageholder includes trustee.
          for it is:                                     80%                 b. We will pay for covered loss of or damage to
          The Limit of Insurance for it is:         $ 200,000                   buildings or structures to each
          The Deductible is:                        $     250                   mortgageholder shown in the Declarations in
          The amount of loss is:                    $ 40,000                    their order of precedence, as interests may
The minimum amount of insurance to meet your                                    appear.
Coinsurance requirement is $200,000 ($250,000 x 80%).                         c. The mortgageholder has the right to receive
Therefore, the Limit of Insurance in this example is                             loss payment even if the mortgageholder
adequate and no penalty applies. We will pay no more                             has started foreclosure or similar action on
than $39,750 ($40,000 amount of loss minus the                                   the building or structure.
deductible of $250).                                                          d. If we deny your claim because of your acts
      b. If one Limit of Insurance applies to two or more                        or because you have failed to comply with
          separate items, this condition will apply to the                       the terms of this Coverage Part, the
          total of all property to which the limit applies.                      mortgageholder will still have the right to
                                                                                 receive loss payment if the mortgageholder:
                                                                                (1) Pays any premium due under this
                                                                                     Coverage Part at our request if you have
                                                                                     failed to do so;




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         (2) Submits a signed, sworn proof of loss within                  b. If the expiration date for this Optional
              60 days after receiving notice from us of                        Coverage shown in the Declarations is not
              your failure to do so; and                                       extended, the Additional Condition,
         (3) Has notified us of any change in ownership,                       Coinsurance, is reinstated and this Optional
              occupancy or substantial change in risk                          Coverage expires.
              known to the mortgageholder.                                 c. The terms of this Optional Coverage apply
          All of the terms of this Coverage Part will then                     only to loss or damage that occurs:
          apply directly to the mortgageholder.                               (1) On or after the effective date of this
      e. If we pay the mortgageholder for any loss or                             Optional Coverage; and
         damage and deny payment to you because of                            (2) Before the Agreed Value expiration date
         your acts or because you have failed to comply                           shown in the Declarations or the policy
         with the terms of this Coverage Part:                                    expiration date, whichever occurs first.
        (1) The mortgageholder's rights under the                      2. Inflation Guard
             mortgage will be transferred to us to the                     a. The Limit of Insurance for property to which
             extent of the amount we pay; and                                  this Optional Coverage applies will
        (2) The mortgageholder's right to recover the                          automatically increase by the annual
             full amount of the mortgageholder's claim                         percentage shown in the Declarations.
             will not be impaired.                                         b. The amount of increase will be:
          At our option, we may pay to the
                                                                            (1) The Limit of Insurance that applied on the
          mortgageholder the whole principal on the                             most recent of the policy inception date,
          mortgage plus any accrued interest. In this                           the policy anniversary date, or any other
          event, your mortgage and note will be                                 policy change amending the Limit of
          transferred to us and you will pay your                               Insurance, times
          remaining mortgage debt to us.
                                                                            (2) The percentage of annual increase
       f. If we cancel this policy, we will give written                        shown in the Declarations, expressed as
          notice to the mortgageholder at least:                                a decimal (example: 8% is .08), times
         (1) 10 days before the effective date of
                                                                            (3) The number of days since the beginning
              cancellation if we cancel for your                                of the current policy year or the effective
              nonpayment of premium; or                                         date of the most recent policy change
        (2) 30 days before the effective date of                                amending the Limit of Insurance, divided
             cancellation if we cancel for any other                            by 365.
             reason.                                             Example
      g. If we elect not to renew this policy, we will give      If:     The applicable Limit of Insurance is: $ 100,000
         written notice to the mortgageholder at least 10                The annual percentage increase is:          8%
         days before the expiration date of this policy.
                                                                         The number of days since the
G. Optional Coverages                                                    beginning of the policy year
   If shown as applicable in the Declarations, the                       (or last policy change) is:                 146
   following Optional Coverages apply separately to                       The amount of increase is:
   each item:                                                             $100,000 x .08 x 146 ÷ 365 =        $    3,200
   1. Agreed Value
                                                                       3. Replacement Cost
       a. The Additional Condition, Coinsurance, does
                                                                          a. Replacement Cost (without deduction for
          not apply to Covered Property to which this
                                                                             depreciation) replaces Actual Cash Value in
          Optional Coverage applies. We will pay no
                                                                             the Loss Condition, Valuation, of this
          more for loss of or damage to that property
                                                                             Coverage Form.
          than the proportion that the Limit of Insurance
          under this Coverage Part for the property bears                 b. This Optional Coverage does not apply to:
          to the Agreed Value shown for it in the                           (1) Personal property of others;
          Declarations.
                                                                            (2) Contents of a residence; or
                                                                            (3) Works of art, antiques or rare articles,
                                                                                including etchings, pictures, statuary,
                                                                                marbles, bronzes, porcelains and bric-a-
                                                                                brac.




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         Under the terms of this Replacement Cost                      f. The cost of repair or replacement does not
         Optional Coverage, personal property owned                       include the increased cost attributable to
         indivisibly by all unit-owners, and the property                 enforcement of or compliance with any
         covered under Paragraph A.1.a.(6) of this                        ordinance or law regulating the construction,
         Coverage Form, are not considered to be the                      use or repair of any property.
         personal property of others.                               4. Extension Of Replacement Cost To Personal
      c. You may make a claim for loss or damage                       Property Of Others
         covered by this insurance on an actual cash                   a. If the Replacement Cost Optional Coverage
         value basis instead of on a replacement cost                     is shown as applicable in the Declarations,
         basis. In the event you elect to have loss or                    then this Extension may also be shown as
         damage settled on an actual cash value basis,                    applicable. If the Declarations show this
         you may still make a claim for the additional                    Extension as applicable, then Paragraph
         coverage this Optional Coverage provides if                      3.b.(1) of the Replacement Cost Optional
         you notify us of your intent to do so within 180                 Coverage is deleted and all other provisions
         days after the loss or damage.                                   of the Replacement Cost Optional Coverage
      d. We will not pay on a replacement cost basis for                  apply to replacement cost on personal
         any loss or damage:                                              property of others.
        (1) Until the lost or damaged property is                      b. With respect to replacement cost on the
             actually repaired or replaced; and                           personal property of others, the following
        (2) Unless the repair or replacement is made                      limitation applies:
             as soon as reasonably possible after the                     If an item(s) of personal property of others is
             loss or damage.                                              subject to a written contract which governs
      e. We will not pay more for loss or damage on a                     your liability for loss or damage to that
         replacement cost basis than the least of (1), (2)                item(s), then valuation of that item(s) will be
         or (3), subject to f. below:                                     based on the amount for which you are liable
                                                                          under such contract, but not to exceed the
        (1) The Limit of Insurance applicable to the lost                 lesser of the replacement cost of the property
             or damaged property;                                         or the applicable Limit of Insurance.
        (2) The cost to replace the lost or damaged             H. Definitions
             property with other property:
                                                                   1. "Fungus" means any type or form of fungus,
           (a) Of comparable material and quality; and                including mold or mildew, and any mycotoxins,
           (b) Used for the same purpose; or                          spores, scents or by-products produced or
                                                                      released by fungi.
        (3) The amount actually spent that is necessary
            to repair or replace the lost or damaged               2. "Pollutants" means any solid, liquid, gaseous or
            property.                                                 thermal irritant or contaminant, including smoke,
                                                                      vapor, soot, fumes, acids, alkalis, chemicals and
         If a building is rebuilt at a new premises, the
                                                                      waste. Waste includes materials to be recycled,
         cost described in e.(2) above is limited to the
                                                                      reconditioned or reclaimed.
         cost which would have been incurred if the
         building had been rebuilt at the original                 3. "Stock" means merchandise held in storage or
         premises.                                                    for sale, raw materials and in-process or finished
                                                                      goods, including supplies used in their packing
                                                                      or shipping.




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                                                                                              COMMERCIAL PROPERTY
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                         CAUSES OF LOSS SPECIAL FORM
Words and phrases that appear in quotation marks have special meaning. Refer to Section G. Definitions.


A. Covered Causes Of Loss                                                 (4) Earth sinking (other than sinkhole collapse),
   When Special is shown in the Declarations, Covered                         rising or shifting including soil conditions
   Causes of Loss means direct physical loss unless the                       which cause settling, cracking or other
   loss is excluded or limited in this policy.                                disarrangement of foundations or other parts
                                                                              of realty. Soil conditions include contraction,
B. Exclusions                                                                 expansion, freezing, thawing, erosion,
   1. We will not pay for loss or damage caused directly or                   improperly compacted soil and the action of
      indirectly by any of the following. Such loss or                        water under the ground surface.
      damage is excluded regardless of any other cause or                 But if Earth Movement, as described in b.(1)
      event that contributes concurrently or in any                       through (4) above, results in fire or explosion,
      sequence to the loss.                                               we will pay for the loss or damage caused by
      a. Ordinance Or Law                                                 that fire or explosion.
         The enforcement of or compliance with any                        (5) Volcanic eruption, explosion or effusion. But
         ordinance or law:                                                    if volcanic eruption, explosion or effusion
         (1) Regulating the construction, use or repair of                    results in fire, building glass breakage or
                                                                              Volcanic Action, we will pay for the loss or
             any property; or
                                                                              damage caused by that fire, building glass
         (2) Requiring the tearing down of any property,                      breakage or Volcanic Action.
             including the cost of removing its debris.
                                                                              Volcanic Action means direct loss or damage
          This exclusion, Ordinance Or Law, applies                           resulting from the eruption of a volcano when
          whether the loss results from:                                      the loss or damage is caused by:
            (a) An ordinance or law that is enforced even                    (a) Airborne volcanic blast or airborne shock
                 if the property has not been damaged; or                        waves;
           (b) The increased costs incurred to comply                        (b) Ash, dust or particulate matter; or
               with an ordinance or law in the course of
               construction,       repair,     renovation,                   (c) Lava flow.
               remodeling or demolition of property, or                       With respect to coverage for Volcanic Action
               removal of its debris, following a physical                    as set forth in (5)(a), (5)(b) and (5)(c), all
               loss to that property.                                         volcanic eruptions that occur within any 168-
      b. Earth Movement                                                       hour period will constitute a single
                                                                              occurrence.
         (1) Earthquake, including tremors and aftershocks                    Volcanic Action does not include the cost to
             and any earth sinking, rising or shifting related
                                                                              remove ash, dust or particulate matter that
             to such event;
                                                                              does not cause direct physical loss or
         (2) Landslide, including any earth sinking, rising                   damage to the described property.
             or shifting related to such event;
                                                                          This exclusion applies regardless of whether
         (3) Mine subsidence, meaning subsidence of a                     any of the above, in Paragraphs (1) through (5),
             man-made mine, whether or not mining                         is caused by an act of nature or is otherwise
             activity has ceased;                                         caused.




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      c. Governmental Action                                            (2) Warlike action by a military force, including
         Seizure or destruction of property by order of                     action in hindering or defending against an
         governmental authority.                                            actual or expected attack, by any
                                                                            government, sovereign or other authority
         But we will pay for loss or damage caused by or                    using military personnel or other agents; or
         resulting from acts of destruction ordered by
         governmental authority and taken at the time of a              (3) Insurrection, rebellion, revolution, usurped
         fire to prevent its spread, if the fire would be                   power, or action taken by governmental
         covered under this Coverage Part.                                  authority in hindering or defending against
                                                                            any of these.
      d. Nuclear Hazard
                                                                      g. Water
         Nuclear reaction or radiation, or radioactive
         contamination, however caused.                                  (1) Flood, surface water, waves (including tidal
                                                                             wave and tsunami), tides, tidal water,
         But if nuclear reaction or radiation, or radioactive                overflow of any body of water, or spray from
         contamination, results in fire, we will pay for the                 any of these, all whether or not driven by
         loss or damage caused by that fire.                                 wind (including storm surge);
      e. Utility Services                                                (2) Mudslide or mudflow;
          The failure of power, communication, water or
                                                                         (3) Water that backs up or overflows or is
          other utility service supplied to the described                    otherwise discharged from a sewer, drain,
          premises, however caused, if the failure:                          sump, sump pump or related equipment;
         (1) Originates away from the described premises;                (4) Water under the ground surface pressing on,
             or                                                              or flowing or seeping through:
        (2) Originates at the described premises, but only                  (a) Foundations, walls, floors or paved
            if such failure involves equipment used to                          surfaces;
            supply the utility service to the described
            premises from a source away from the                            (b) Basements, whether paved or not; or
            described premises.                                             (c) Doors, windows or other openings; or
         Failure of any utility service includes lack of                 (5) Waterborne material carried or otherwise
         sufficient capacity and reduction in supply.                        moved by any of the water referred to in
         Loss or damage caused by a surge of power is                        Paragraph (1), (3) or (4), or material carried
         also excluded, if the surge would not have                          or otherwise moved by mudslide or mudflow.
         occurred but for an event causing a failure of                  This exclusion applies regardless of whether
         power.                                                          any of the above, in Paragraphs (1) through (5),
         But if the failure or surge of power, or the failure            is caused by an act of nature or is otherwise
         of communication, water or other utility service,               caused. An example of a situation to which this
         results in a Covered Cause of Loss, we will pay                 exclusion applies is the situation where a dam,
         for the loss or damage caused by that Covered                   levee, seawall or other boundary or containment
         Cause of Loss.                                                  system fails in whole or in part, for any reason,
                                                                         to contain the water.
         Communication services include but are not
         limited to service relating to Internet access or
         access to any electronic, cellular or satellite
         network.
      f. War And Military Action
         (1) War, including undeclared or civil war;




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          But if any of the above, in Paragraphs (1) through            d.(1) Wear and tear;
          (5), results in fire, explosion or sprinkler leakage,            (2) Rust or other corrosion, decay, deterioration,
          we will pay for the loss or damage caused by that                    hidden or latent defect or any quality in
         fire, explosion or sprinkler leakage (if sprinkler                    property that causes it to damage or destroy
         leakage is a Covered Cause of Loss).                                  itself;
      h. "Fungus", Wet Rot, Dry Rot And Bacteria                           (3) Smog;
         Presence, growth, proliferation, spread or any                    (4) Settling, cracking, shrinking or expansion;
         activity of "fungus", wet or dry rot or bacteria.
                                                                           (5) Nesting or infestation, or discharge or
         But if "fungus", wet or dry rot or bacteria result in                 release of waste products or secretions, by
         a "specified cause of loss", we will pay for the                      insects, birds, rodents or other animals.
         loss or damage caused by that "specified cause
         of loss".                                                         (6) Mechanical breakdown, including rupture or
                                                                               bursting caused by centrifugal force. But if
          This exclusion does not apply:                                       mechanical breakdown results in elevator
         (1) When "fungus", wet or dry rot or bacteria                         collision, we will pay for the loss or damage
             result from fire or lightning; or                                 caused by that elevator collision.
         (2) To the extent that coverage is provided in the                (7) The following causes of loss to personal
             Additional Coverage, Limited Coverage For                         property:
             "Fungus", Wet Rot, Dry Rot And Bacteria, with                    (a) Dampness or dryness of atmosphere;
             respect to loss or damage by a cause of loss
             other than fire or lightning.                                    (b) Changes in or extremes of temperature;
                                                                                  or
      Exclusions B.1.a. through B.1.h. apply whether or
      not the loss event results in widespread damage or                      (c) Marring or scratching.
      affects a substantial area.                                          But if an excluded cause of loss that is listed in
   2. We will not pay for loss or damage caused by or                      2.d.(1) through (7) results in a "specified cause
      resulting from any of the following:                                 of loss" or building glass breakage, we will pay
                                                                           for the loss or damage caused by that "specified
      a. Artificially generated electrical, magnetic or                    cause of loss" or building glass breakage.
          electromagnetic energy that damages, disturbs,
          disrupts or otherwise interferes with any:                    e. Explosion of steam boilers, steam pipes, steam
                                                                           engines or steam turbines owned or leased by
         (1) Electrical or electronic wire, device, appliance,             you, or operated under your control. But if
              system or network; or                                        explosion of steam boilers, steam pipes, steam
         (2) Device, appliance, system or network utilizing                engines or steam turbines results in fire or
              cellular or satellite technology.                            combustion explosion, we will pay for the loss or
         For the purpose of this exclusion, electrical,                    damage caused by that fire or combustion
         magnetic or electromagnetic energy includes but                   explosion. We will also pay for loss or damage
         is not limited to:                                                caused by or resulting from the explosion of
                                                                           gases or fuel within the furnace of any fired
            (a) Electrical current, including arcing;                      vessel or within the flues or passages through
            (b) Electrical charge produced or conducted                    which the gases of combustion pass.
                by a magnetic or electromagnetic field;                  f. Continuous or repeated seepage or leakage of
           (c) Pulse of electromagnetic energy; or                          water, or the presence or condensation of
           (d) Electromagnetic waves or microwaves.                         humidity, moisture or vapor, that occurs over a
                                                                            period of 14 days or more.
         But if fire results, we will pay for the loss or
         damage caused by that fire.
      b. Delay, loss of use or loss of market.
      c. Smoke, vapor or gas from agricultural smudging
         or industrial operations.




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      g. Water, other liquids, powder or molten material                 This exclusion, k., does not apply:
         that leaks or flows from plumbing, heating, air                    (a) To the extent that coverage is provided
         conditioning or other equipment (except fire                           under the Additional Coverage, Collapse;
         protective systems) caused by or resulting from                        or
         freezing, unless:
                                                                            (b) To collapse caused by one or more of the
        (1) You do your best to maintain heat in the                            following:
            building or structure; or
                                                                                (i) The "specified causes of loss";
        (2) You drain the equipment and shut off the
            supply if the heat is not maintained.                               (11) Breakage of building glass;
      h. Dishonest or criminal act (including theft) by you,                   (ift) Weight of rain that collects on a roof;
         any of your partners, members, officers,                                    or
         managers, employees (including temporary                              (iv) Weight of people or personal
         employees and leased workers), directors,                                  property.
         trustees or authorized representatives, whether
                                                                       I. Discharge, dispersal, seepage, migration,
         acting alone or in collusion with each other or with
                                                                          release or escape of "pollutants" unless the
         any other party; or theft by any person to whom
                                                                          discharge, dispersal, seepage, migration,
         you entrust the property for any purpose, whether                release or escape is itself caused by any of the
         acting alone or in collusion with any other party.
                                                                          "specified causes of loss". But if the discharge,
         This exclusion:                                                  dispersal, seepage, migration, release or
        (1) Applies whether or not an act occurs during                   escape of "pollutants" results in a "specified
            your normal hours of operation;                               cause of loss", we will pay for the loss or
                                                                          damage caused by that "specified cause of
         (2) Does not apply to acts of destruction by your                loss".
              employees (including temporary employees
              and leased workers) or authorized                           This exclusion, I., does not apply to damage to
              representatives; but theft by your employees                glass caused by chemicals applied to the glass.
              (including temporary employees and leased               m. Neglect of an insured to use all reasonable
              workers) or authorized representatives is not               means to save and preserve property from
              covered.                                                    further damage at and after the time of loss.
      i. Voluntary parting with any property by you or             3. We will not pay for loss or damage caused by or
          anyone else to whom you have entrusted the                  resulting from any of the following, 3.a. through 3.c.
          property if induced to do so by any fraudulent              But if an excluded cause of loss that is listed in 3.a.
          scheme, trick, device or false pretense.                    through 3.c. results in a Covered Cause of Loss, we
      j. Rain, snow, ice or sleet to personal property in             will pay for the loss or damage caused by that
          the open.                                                   Covered Cause of Loss.
      k. Collapse, including any of the following conditions          a. Weather conditions. But this exclusion only
          of property or any part of the property:                        applies if weather conditions contribute in any
                                                                          way with a cause or event excluded in
         (1) An abrupt falling down or caving in;                         Paragraph 1. above to produce the loss or
         (2) Loss of structural integrity, including                      damage.
              separation of parts of the property or property         b. Acts or decisions, including the failure to act or
              in danger of falling down or caving in; or                 decide, of any person, group, organization or
        (3) Any cracking, bulging, sagging, bending,                     governmental body.
            leaning, settling, shrinkage or expansion as              c. Faulty, inadequate or defective:
            such condition relates to (1) or (2) above.
                                                                        (1) Planning, zoning, development, surveying,
         But if collapse results in a Covered Cause of Loss                 siting;
         at the described premises, we will pay for the loss
         or damage caused by that Covered Cause of                       (2) Design, specifications, workmanship, repair,
         Loss.                                                               construction,    renovation,   remodeling,
                                                                             grading, compaction;
                                                                         (3) Materials used in repair, construction,
                                                                             renovation or remodeling; or
                                                                         (4) Maintenance;




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         of part or all of any property on or off the                b. Leasehold Interest Coverage Form
         described premises.                                            (1) Paragraph B.1.a., Ordinance Or Law, does
   4. Special Exclusions                                                    not apply to insurance under this Coverage
      The following provisions apply only to the specified                  Form.
      Coverage Forms:                                                   (2) We will not pay for any loss caused by:
       a. Business Income (And Extra Expense)                              (a) Your cancelling the lease;
          Coverage Form, Business Income (Without                          (b) The suspension, lapse or cancellation of
          Extra Expense) Coverage Form, Or Extra                               any license; or
          Expense Coverage Form
                                                                           (c) Any other consequential loss.
          We will not pay for:
                                                                     c. Legal Liability Coverage Form
        (1) Any loss caused by or resulting from:
                                                                        (1) The following exclusions do not apply to
           (a) Damage or destruction of "finished stock";                   insurance under this Coverage Form:
               or
                                                                           (a) Paragraph B.1.a. Ordinance Or Law;
            (b) The time required to reproduce "finished
                stock".                                                    (b) Paragraph B.1.c. Governmental Action;
             This exclusion does not apply to Extra                        (c) Paragraph Bid. Nuclear Hazard;
             Expense.                                                      (d) Paragraph B.1.e. Utility Services; and
        (2) Any loss caused by or resulting from direct                    (e) Paragraph B.1.f. War And Military Action.
             physical loss or damage to radio or television             (2) The following additional exclusions apply to
             antennas (including satellite dishes) and their
                                                                            insurance under this Coverage Form:
             lead-in wiring, masts or towers.
                                                                           (a) Contractual Liability
        (3) Any increase of loss caused by or resulting
             from:                                                             We will not defend any claim or "suit", or
                                                                               pay damages that you are legally liable to
           (a) Delay in rebuilding, repairing or replacing
                                                                               pay, solely by reason of your assumption
               the property or resuming "operations", due                      of liability in a contract or agreement. But
               to interference at the location of the
                                                                               this exclusion does not apply to a written
               rebuilding, repair or replacement by
                                                                               lease agreement in which you have
               strikers or other persons; or
                                                                               assumed liability for building damage
           (b) Suspension, lapse or cancellation of any                        resulting from an actual or attempted
                license, lease or contract. But if the                         burglary or robbery, provided that:
                suspension, lapse or cancellation is
                                                                               (i) Your assumption of liability was
                directly caused by the "suspension" of
                                                                                    executed prior to the accident; and
                "operations", we will cover such loss that
                affects your Business Income during the                       (ii) The building is Covered Property
                "period of restoration" and any extension of                        under this Coverage Form.
                the "period of restoration" in accordance                  (b) Nuclear Hazard
                with the terms of the Extended Business
                Income Additional Coverage and the                             We will not defend any claim or "suit", or
                                                                               pay any damages, loss, expense or
                Extended Period Of Indemnity Optional
                                                                               obligation, resulting from nuclear reaction
                Coverage or any variation of these.
                                                                               or radiation, or radioactive contamination,
        (4) Any Extra Expense caused by or resulting                           however caused.
            from suspension, lapse or cancellation of any
            license, lease or contract beyond the "period
            of restoration".
        (5) Any other consequential loss.




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   5. Additional Exclusion                                              d. Building materials and supplies not attached as
      The following provisions apply only to the specified                 part of the building or structure, caused by or
      property:                                                            resulting from theft.
      Loss Or Damage To Products                                           However, this limitation does not apply to:
      We will not pay for loss or damage to any                            (1) Building materials and supplies held for sale
      merchandise, goods or other product caused by or                         by you, unless they are insured under the
      resulting from error or omission by any person or                        Builders Risk Coverage Form; or
      entity (including those having possession under an                  (2) Business Income Coverage or Extra
      arrangement where work or a portion of the work is                       Expense Coverage.
      outsourced) in any stage of the development,                      e. Property that is missing, where the only
      production or use of the product, including planning,                evidence of the loss or damage is a shortage
      testing,    processing,      packaging,     installation,            disclosed on taking inventory, or other instances
      maintenance or repair. This exclusion applies to any                 where there is no physical evidence to show
      effect that compromises the form, substance or                       what happened to the property.
      quality of the product. But if such error or omission
      results in a Covered Cause of Loss, we will pay for               f. Property that has been transferred to a person
      the loss or damage caused by that Covered Cause                      or to a place outside the described premises on
      of Loss.                                                             the basis of unauthorized instructions.
C. Limitations                                                          g. Lawns, trees, shrubs or plants which are part of
                                                                           a vegetated roof, caused by or resulting from:
   The following limitations apply to all policy forms and
   endorsements, unless otherwise stated:                                  (1) Dampness or dryness of atmosphere or of
                                                                               soil supporting the vegetation;
   1. We will not pay for loss of or damage to property, as
      described and limited in this section. In addition, we               (2) Changes in or extremes of temperature;
      will not pay for any loss that is a consequence of loss              (3) Disease;
      or damage as described and limited in this section.                  (4) Frost or hail; or
       a. Steam boilers, steam pipes, steam engines or                     (5) Rain, snow, ice or sleet.
          steam turbines caused by or resulting from any
          condition or event inside such equipment. But we           2. We will not pay for loss of or damage to the
          will pay for loss of or damage to such equipment              following types of property unless caused by the
          caused by or resulting from an explosion of gases             "specified causes of loss" or building glass
          or fuel within the furnace of any fired vessel or             breakage:
          within the flues or passages through which the                a. Animals, and then only if they are killed or their
          gases of combustion pass.                                         destruction is made necessary.
       b. Hot water boilers or other water heating                      b. Fragile articles such as statuary, marbles,
          equipment caused by or resulting from any                         chinaware and porcelains, if broken. This
          condition or event inside such boilers or                         restriction does not apply to:
          equipment, other than an explosion.
                                                                           (1) Glass; or
       c. The interior of any building or structure, or to
                                                                          (2) Containers of property held for sale.
          personal property in the building or structure,
          caused by or resulting from rain, snow, sleet, ice,           c. Builders machinery, tools and equipment owned
          sand or dust, whether driven by wind or not,                     by you or entrusted to you, provided such
          unless:                                                          property is Covered Property.
         (1) The building or structure first sustains damage                However, this limitation does not apply:
             by a Covered Cause of Loss to its roof or                     (1) If the property is located on or within 100 feet
             walls through which the rain, snow, sleet, ice,                   of the described premises, unless the
             sand or dust enters; or                                           premises is insured under the Builders Risk
         (2) The loss or damage is caused by or results                        Coverage Form; or
             from thawing of snow, sleet or ice on the
             building or structure.




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         (2) To Business Income Coverage or to Extra                 2. We will pay for direct physical loss or damage to
               Expense Coverage.                                        Covered Property, caused by abrupt collapse of a
   3. The special limit shown for each category, a. through             building or any part of a building that is insured
      d., is the total limit for loss of or damage to all               under this Coverage Form or that contains Covered
      property in that category. The special limit applies to           Property insured under this Coverage Form, if such
      any one occurrence of theft, regardless of the types              collapse is caused by one or more of the following:
      or number of articles that are lost or damaged in that            a. Building decay that is hidden from view, unless
      occurrence. The special limits are (unless a higher                  the presence of such decay is known to an
      limit is shown in the Declarations):                                 insured prior to collapse;
      a. $2,500 for furs, fur garments and garments                     b. Insect or vermin damage that is hidden from
         trimmed with fur.                                                 view, unless the presence of such damage is
      b. $2,500 for jewelry, watches, watch movements,                     known to an insured prior to collapse;
         jewels, pearls, precious and semiprecious stones,              c. Use of defective material or methods in
         bullion, gold, silver, platinum and other precious                construction, remodeling or renovation if the
         alloys or metals. This limit does not apply to                    abrupt collapse occurs during the course of the
         jewelry and watches worth $100 or less per item.                  construction, remodeling or renovation.
      c. $2,500 for patterns, dies, molds and forms.                    d. Use of defective material or methods in
      d. $250 for stamps, tickets, including lottery tickets               construction, remodeling or renovation if the
         held for sale, and letters of credit.                             abrupt collapse occurs after the construction,
                                                                           remodeling or renovation is complete, but only if
      These special limits are part of, not in addition to, the            the collapse is caused in part by:
      Limit of Insurance applicable to the Covered
      Property.                                                            (1) A cause of loss listed in 2.a. or 2.b.;
      This limitation, C.3., does not apply to Business                    (2) One or more of the "specified causes of
      Income Coverage or to Extra Expense Coverage.                            loss";
   4. We will not pay the cost to repair any defect to a                  (3) Breakage of building glass;
      system or appliance from which water, other liquid,                 (4) Weight of people or personal property; or
      powder or molten material escapes. But we will pay                  (5) Weight of rain that collects on a roof.
      the cost to repair or replace damaged parts of fire-
      extinguishing equipment if the damage:                         3. This Additional Coverage — Collapse does not
                                                                        apply to:
      a. Results in discharge of any substance from an
         automatic fire protection system; or                           a. A building or any part of a building that is in
                                                                           danger of falling down or caving in;
      b. Is directly caused by freezing.
                                                                        b. A part of a building that is standing, even if it has
      However, this limitation does not apply to Business                  separated from another part of the building; or
      Income Coverage or to Extra Expense Coverage.
                                                                        c. A building that is standing or any part of a
D. Additional Coverage — Collapse                                          building that is standing, even if it shows
   The coverage provided under this Additional Coverage,                   evidence of cracking, bulging, sagging, bending,
   Collapse, applies only to an abrupt collapse as                         leaning, settling, shrinkage or expansion.
   described and limited in D.1. through D.7.                        4. With respect to the following property:
   1. For the purpose of this Additional Coverage,                      a. Outdoor radio or television antennas (including
      Collapse, abrupt collapse means an abrupt falling                    satellite dishes) and their lead-in wiring, masts
      down or caving in of a building or any part of a                     or towers;
      building with the result that the building or part of the
      building cannot be occupied for its intended purpose.




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      b. Awnings, gutters and downspouts;                      E. Additional Coverage — Limited Coverage For
      c. Yard fixtures;                                           "Fungus", Wet Rot, Dry Rot And Bacteria
      d. Outdoor swimming pools;                                  I. The coverage described in E.2. and E.6. only
                                                                     applies when the "fungus", wet or dry rot or bacteria
      e. Fences;                                                     are the result of one or more of the following causes
      f. Piers, wharves and docks;                                   that occur during the policy period and only if all
      g. Beach or diving platforms or appurtenances;                 reasonable means were used to save and preserve
                                                                     the property from further damage at the time of and
      h. Retaining walls; and                                        after that occurrence:
       I. Walks, roadways and other paved surfaces;                   a. A "specified cause of loss" other than fire or
      if an abrupt collapse is caused by a cause of loss                 lightning; or
      listed in 2.a. through 2.d., we will pay for loss or            b. Flood, if the Flood Coverage Endorsement
      damage to that property only if:                                   applies to the affected premises.
          (1) Such loss or damage is a direct result of the           This Additional Coverage does not apply to lawns,
              abrupt collapse of a building insured under             trees, shrubs or plants which are part of a
              this Coverage Form; and                                 vegetated roof.
          (2) The property is Covered Property under this          2. We will pay for loss or damage by "fungus", wet or
              Coverage Form.                                          dry rot or bacteria. As used in this Limited
   5. If personal property abruptly falls down or caves in            Coverage, the term loss or damage means:
      and such collapse is not the result of abrupt collapse          a. Direct physical loss or damage to Covered
      of a building, we will pay for loss or damage to                   Property caused by "fungus", wet or dry rot or
      Covered Property caused by such collapse of                        bacteria, including the cost of removal of the
      personal property only if:                                         "fungus", wet or dry rot or bacteria;
      a. The collapse of personal property was caused by              b. The cost to tear out and replace any part of the
         a cause of loss listed in 2.a. through 2.d.;                    building or other property as needed to gain
      b. The personal property which collapses is inside a               access to the "fungus", wet or dry rot or
          building; and                                                  bacteria; and
      c. The property which collapses is not of a kind                c. The cost of testing performed after removal,
          listed in 4., regardless of whether that kind of               repair, replacement or restoration of the
          property is considered to be personal property or              damaged property is completed, provided there
          real property.                                                 is a reason to believe that "fungus", wet or dry
                                                                         rot or bacteria are present.
      The coverage stated in this Paragraph 5. does not
      apply to personal property if marring and/or                 3. The coverage described under E.2. of this Limited
      scratching is the only damage to that personal                  Coverage is limited to $15,000. Regardless of the
      property caused by the collapse.                                number of claims, this limit is the most we will pay
                                                                      for the total of all loss or damage arising out of all
   6. This Additional Coverage, Collapse, does not apply
                                                                      occurrences of "specified causes of loss" (other
      to personal property that has not abruptly fallen down          than fire or lightning) and Flood which take place in
      or caved in, even if the personal property shows                a 12-month period (starting with the beginning of
      evidence of cracking, bulging, sagging, bending,
                                                                      the present annual policy period). With respect to a
      leaning, settling, shrinkage or expansion.
                                                                      particular occurrence of loss which results in
   7. This Additional Coverage, Collapse, will not increase           "fungus", wet or dry rot or bacteria, we will not pay
      the Limits of Insurance provided in this Coverage               more than a total of $15,000 even if the "fungus",
      Part.                                                           wet or dry rot or bacteria continue to be present or
   8. The term Covered Cause of Loss includes the                     active, or recur, in a later policy period.
      Additional Coverage, Collapse, as described and
      limited in D.1. through D.7.




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   4. The coverage provided under this Limited Coverage         F. Additional Coverage Extensions
      does not increase the applicable Limit of Insurance           1. Property In Transit
      on any Covered Property. If a particular occurrence
      results in loss or damage by "fungus", wet or dry rot           This Extension applies only to your personal
      or bacteria, and other loss or damage, we will not              property to which this form applies.
      pay more, for the total of all loss or damage, than the         a. You may extend the insurance provided by this
      applicable Limit of Insurance on the affected                      Coverage Part to apply to your personal
      Covered Property.                                                  property (other than property in the care,
      If there is covered loss or damage to Covered                      custody or control of your salespersons) in
      Property, not caused by "fungus", wet or dry rot or                transit more than 100 feet from the described
      bacteria, loss payment will not be limited by the                  premises. Property must be in or on a motor
      terms of this Limited Coverage, except to the extent               vehicle you own, lease or operate while between
      that "fungus", wet or dry rot or bacteria cause an                 points in the coverage territory.
      increase in the loss. Any such increase in the loss             b. Loss or damage must be caused by or result
      will be subject to the terms of this Limited Coverage.             from one of the following causes of loss:
   5. The terms of this Limited Coverage do not increase                (1) Fire, lightning, explosion, windstorm or hail,
      or reduce the coverage provided under Paragraph                       riot or civil commotion, or vandalism.
      F.2. (Water Damage, Other Liquids, Powder Or
                                                                         (2) Vehicle collision, upset or overturn. Collision
      Molten Material Damage) of this Causes Of Loss                         means accidental contact of your vehicle with
      form or under the Additional Coverage, Collapse.
                                                                             another vehicle or object. It does not mean
   6. The following, 6.a. or 6.b., applies only if Business                  your vehicle's contact with the roadbed.
      Income and/or Extra Expense Coverage applies to
      the described premises and only if the "suspension"                (3) Theft of an entire bale, case or package by
                                                                             forced entry into a securely locked body or
      of "operations" satisfies all terms and conditions of
                                                                             compartment of the vehicle. There must be
      the applicable Business Income and/or Extra                            visible marks of the forced entry.
      Expense Coverage Form:
                                                                      c. The most we will pay for loss or damage under
      a. If the loss which resulted in "fungus", wet or dry
                                                                         this Extension is $5,000.
         rot or bacteria does not in itself necessitate a
         "suspension" of "operations", but such                       This Coverage Extension is additional insurance.
         "suspension" is necessary due to loss or damage              The Additional Condition, Coinsurance, does not
         to property caused by "fungus", wet or dry rot or            apply to this Extension.
         bacteria, then our payment under Business                 2. Water Damage, Other Liquids, Powder Or
         Income and/or Extra Expense is limited to the                Molten Material Damage
         amount of loss and/or expense sustained in a
                                                                      If loss or damage caused by or resulting from
         period of not more than 30 days. The days need
                                                                      covered water or other liquid, powder or molten
         not be consecutive.
                                                                      material damage loss occurs, we will also pay the
      b. If a covered "suspension" of "operations" was                cost to tear out and replace any part of the building
         caused by loss or damage other than "fungus",                or structure to repair damage to the system or
         wet or dry rot or bacteria but remediation of                appliance from which the water or other substance
         "fungus", wet or dry rot or bacteria prolongs the            escapes. This Coverage Extension does not
         "period of restoration", we will pay for loss and/or         increase the Limit of Insurance.
         expense sustained during the delay (regardless
         of when such a delay occurs during the "period of
         restoration"), but such coverage is limited to 30
         days. The days need not be consecutive.




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   3. Glass                                                              (2) Accidental discharge or leakage of water or
      a. We will pay for expenses incurred to put up                         waterborne material as the direct result of the
         temporary plates or board up openings if repair or                  breaking apart or cracking of a water or
         replacement of damaged glass is delayed.                            sewer pipe caused by wear and tear, when
                                                                             the pipe is located off the described premises
      b. We will pay for expenses incurred to remove or                      and is connected to or is part of a potable
         replace obstructions when repairing or replacing                    water supply system or sanitary sewer
         glass that is part of a building. This does not                     system operated by a public or private utility
         include removing or replacing window displays.                      service provider pursuant to authority
      This Coverage Extension F.3. does not increase the                     granted by the state or governmental
      Limit of Insurance.                                                    subdivision where the described premises
G. Definitions                                                               are located.
   1. "Fungus" means any type or form of fungus,                         But water damage does not include loss or
      including mold or mildew, and any mycotoxins,                      damage otherwise excluded under the terms of
                                                                         the Water Exclusion. Therefore, for example,
      spores, scents or by-products produced or released
      by fungi.                                                          there is no coverage under this policy in the
                                                                         situation in which discharge or leakage of water
   2. "Specified causes of loss" means the following: fire;              results from the breaking apart or cracking of a
      lightning; explosion; windstorm or hail; smoke;                    pipe which was caused by or related to weather-
      aircraft or vehicles; riot or civil commotion;                     induced flooding, even if wear and tear
      vandalism; leakage from fire-extinguishing                         contributed to the breakage or cracking. As
      equipment; sinkhole collapse; volcanic action; falling             another example, and also in accordance with
      objects; weight of snow, ice or sleet; water damage.               the terms of the Water Exclusion, there is no
      a. Sinkhole collapse means the sudden sinking or                   coverage for loss or damage caused by or
          collapse of land into underground empty spaces                 related to weather-induced flooding which
          created by the action of water on limestone or                 follows or is exacerbated by pipe breakage or
          dolomite. This cause of loss does not include:                 cracking attributable to wear and tear.
         (1) The cost of filling sinkholes; or                           To the extent that accidental discharge or
                                                                         leakage of water falls within the criteria set forth
        (2) Sinking or collapse of land into man-made
                                                                         in c.(1) or c.(2) of this definition of "specified
             underground cavities.
                                                                         causes of loss," such water is not subject to the
      b. Falling objects does not include loss or damage                 provisions of the Water Exclusion which
         to:                                                             preclude coverage for surface water or water
        (1) Personal property in the open; or                            under the surface of the ground.
        (2) The interior of a building or structure, or
             property inside a building or structure, unless
             the roof or an outside wall of the building or
             structure is first damaged by a falling object.
      c. Water damage means:
        (1) Accidental discharge or leakage of water or
            steam as the direct result of the breaking apart
            or cracking of a plumbing, heating, air
            conditioning or other system or appliance
            (other than a sump system including its
            related equipment and parts), that is located
            on the described premises and contains water
            or steam; and




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                                               CANCELLATION CLAUSE

Named Insured                                                                                     Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number      Policy Period                                       Effective Date of Endorsement
FS                         D42295164 002      05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company



                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                        COMMERCIAL PROPERTY COVERAGE PART
                                   COMMERCIAL EQUIPMENT BREAKDOWN COVERAGE PART

This clause supersedes other cancellation clauses made a part of this policy.


CANCELLATION: This policy may be canceled by the Insured by surrender thereof to the Company or by mailing to the
Company written notice stating when thereafter such cancellation shall be effective. This policy may be canceled by the
Company by mailing to the Insured at the mailing address shown in this policy at last known address, written notice, with
or without tender of the excess of paid premium above the pro rata earned premium for the expired time, stating when, not
less than 90 days thereafter (10 days for non-payment of premium) such cancellation shall be effective.

Proof of mailing of notice as aforesaid shall be sufficient proof of notice. The effective date and hour of cancellation stated
in the notice shall become the end of the policy period. Delivery of such written notice either by the Insured or this
Company shall be equivalent to mailing.

If the Insured cancels, earned premiums due to the Company shall be in accordance with the policy provisions, and shall
be computed in accordance with the customary short rate table and procedure. The provisions of the Hurricane Minimum
Earned Premium endorsement, if attached to this policy, replace the customary short rate table and procedure.

If the Company cancels, earned premiums shall be computed pro rata. Premium adjustment shall be made as soon as
practicable after cancellation becomes effective.



All other terms and conditions remain unchanged




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                         NUCLEAR, BIOLOGICAL, CHEMICAL, RADIOLOGICAL
                                   EXCLUSION ENDORSEMENT
Named Insured                                                                                            Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number           Policy Period                                         Effective Date of Endorsement
FS                         D42295164 002           05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company



                      THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.

                               This endorsement modifies insurance provided under the following:

                                             BOILER AND MACHINERY COVERAGE PART
                                           COMMERCIAL INLAND MARINE COVERAGE PART
                                             COMMERCIAL PROPERTY COVERAGE PART
                                               CRIME AND FIDELITY COVERAGE PART

                                  The following exclusions are added to your Policy or Coverage Part.

                                                   This insurance does not apply to:

A. Loss or damage arising directly or indirectly from                        B. Loss or damage arising directly or indirectly from the
   nuclear detonation, reaction, nuclear radiation or                           dispersal, application or release of, or exposure to,
   radioactive contamination, all whether controlled or                         chemical, radiological, or biological materials or
   uncontrolled, or due to any act or condition incident                        agents, all whether controlled or uncontrolled, or due
   to any of the foregoing, whether such loss be direct                         to any act or condition incident to any of the
   or indirect, proximate or remote, or be in whole or in                       foregoing, whether such loss be direct or indirect,
   part caused by, contributed to, or aggravated by,                            proximate or remote, or be in whole or in part caused
   any physical loss or damage insured against by this                          by, contributed to, or aggravated by, any physical
   Policy or Coverage Part, however such nuclear                                loss or damage insured against by this Policy or
   detonation, reaction, nuclear radiation or                                   Coverage Part, however such dispersal, application,
   radioactive contamination may have been caused.                              release or exposure may have been caused.
   This exclusion replaces any other nuclear
   detonation, nuclear reaction, nuclear radiation or                        C. If this endorsement is attached to a Commercial
   radioactive contamination exclusions found                                   Inland Marine Policy or Coverage Part, the term loss
   elsewhere in this Policy.                                                    or damage is changed to Loss.




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Named Insured                                                                                         Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number          Policy Period                                       Effective Date of Endorsement
FS                         D42295164 002          05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            This endorsement modifies insurance provided under the following:

                                              Commercial Property Coverage Part

                                            Commercial Inland Marine Coverage Part

                                  HURRICANE MINIMUM EARNED PREMIUM ENDORSEMENT

The following terms and conditions will apply to this policy:

1. If you cancel this policy, remove a location or reduce the amount of insurance on a location that is within
     100 miles of the Atlantic Ocean and/or the Gulf of Mexico and/or the Hawaii Islands, and coverage existed
     any time during the period of June 1st to November 30th, the amount of premium we will return will be the
     Unearned Premium for the location. The Unearned Premium is the annual premium for the policy (or for
     the location removed or coverage reduced, as applicable) multiplied by the Unearned Factor noted below.
     The location premium is the 100% annual rate multiplied by the location value as scheduled in the most
     current Statement of Values on file with the Company.

                                                       1 year Policy

                               Days Policy
                               In Force                                             Unearned Factor

                               1 to 180                                                    20%
                               181 to 210                                                  15%
                               211 to 240                                                  10%
                               241 to 270                                                   7.5%
                               271 to 300                                                   5.0%
                               301 to 330                                                   2.5%
                               331 to 365                                                   0.0%

2. If a Location that is within 100 miles of the Atlantic Ocean and/or the Gulf of Mexico and/or the Hawaii
   Islands is added during the term of the policy and coverage exists at any time during the period of June 1st
   to November 30th, the rate will be calculated as 100% of the annual rate, less the Unearned Factor as
   calculated in No. 1 above based upon the number of days remaining in the policy term.

3. The provisions of this endorsement replace any short rate provisions stipulated in this policy for all
   locations that are within 100 miles of the Atlantic Ocean and/or the Gulf of Mexico and/or the Hawaii
   Islands and coverage existed any time during the period of June 1st to November 30th.




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4. Nothing herein will act to provide coverage outside the automatic acquisition clause, if any, that is located
    elsewhere in the policy.


   All other terms and conditions remain unchanged.




                                                                                 Authorized Representative




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                                        EARTHQUAKE SPRINKLER LEAKAGE EXCLUSION

Named Insured                                                                                     Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number          Policy Period                                   Effective Date of Endorsement
FS                         D42295164 002          05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company



                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                            COMMERCIAL PROPERTY COVERAGE PART

                                           COMMERCIAL INLAND MARINE COVERAGE PART



This policy does not insure against loss caused directly or indirectly by any of the following. Such loss is excluded
regardless of any other cause or event contributing concurrently or in any sequence to the loss.

Loss or damage by sprinkler leakage caused directly by earthquake, earth movement or volcanic eruption.

Definitions

Sprinkler leakage means:

A. Leakage or discharge of water or other substances from within any automatic sprinkler system, or

B. Direct loss caused by collapse or fall of a tank forming a part of such system.

Automatic sprinkler system means:

     Any automatic fire protective system including sprinklers, discharge nozzles and ducts, pipes, valves, fittings,
     tanks (including their component parts and supports), pumps and private fire protection mains, all connected
     with and constituting a part of an automatic protective system; and non-automatic fire protective systems,
     hydrants, standpipes or outlets supplied from an automatic fire protective system.

All other terms and conditions remain unchanged.




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    Westchester
    A Chubb Company


                                  SUB-LIMIT PROVISION ENDORSEMENT
                                         (Additional Sub-limits)
     Named Insured                                                                             Endorsement Number
     Brittany Condominium Association, Inc
     Policy Symbol             Policy Number            Policy Period                          Effective Date of
     FS                        D42295164 002                  05/31/2021 to      05/31/2022    Endorsement

     Issued By (Name of Insurance Company)
     Westchester Surplus Lines Insurance Company

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                        COMMERCIAL PROPERTY COVERAGE PART

    The most that the Company will pay for all covered loss and damage in any one Occurrence is the Per
    Occurrence LIMIT OF LIABILITY shown in the Declarations (hereinafter, the "Occurrence Limit"),
    regardless of the number of Insureds, Insured Locations, Breakdowns or Coverages.

    The SUB-LIMITS OF LIABILITY shown in the Schedule below are included within, and are not in
    addition to, the Occurrence Limit. Sub-limits of Liability do not increase the Occurrence Limit, or any
    other Sub-Limit of Liability.

    Unless otherwise stated in the Schedule below, all Sub-limits of Liability apply on a "Per Occurrence"
    basis, which is the most that the Company will pay for all covered loss and damage for the type of
    Coverage or peril to which the sub-limit applies in any one Occurrence, regardless of the number of
    Coverages, Insureds or Insured Locations.

    If it is stated in the Schedule below that a Sub-Limit of Liability applies on an "Annual Aggregate" basis,
    then that sub-limit is the most the Company will pay in any one 12 month period for the type of Coverage
    or peril to which the sub-limit applies, regardless of the number of Occurrences, Coverages, Insureds, or
    Insured Locations. Sub-limits of Liability that apply on an "Annual Aggregate" basis apply to all covered
    loss and damage under Property Damage and Time Element, combined.

    If it is stated in the Schedule below that a Sub-limit of Liability applies on a "Term Aggregate" basis, then
    that sub-limit is the most that the Company will pay for all covered loss and damage during the Policy
    Period for the type of Coverage or peril to which the sub-limit applies, regardless of the number of
    Occurrences, Coverages, Insureds, or Insured Locations. Sub-limits of Liability that apply on a "Term
    Aggregate" basis apply to all covered loss and damage under Property Damage and Time Element,
    combined.

    If it is stated that a Sub-limit of Liability applies for a specific Insured Location or for a specified Covered
    Property, then that sub-limit will be the most that the Company will pay, for all covered loss and damage
    arising from direct physical loss or damage at such Insured Location or to such specified Covered
    Property.

    With respect to any Sub-limit of Liability that is also shown below as subject to a specific Time Limit:

        (1) The amount shown is the most that the Company will pay for all covered loss and damage in any
            one Occurrence, regardless of the number of Insured Locations or Insureds; and

        (2) The Time Limit shown is the longest continuous time period for which the Company will provide
            the applicable coverage, regardless of the number of Insured Locations or Insureds.

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    Westchester
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    The maximum Sub-limit of Liability amount payable under this Policy will be the Sub-limit of Liability
    applicable to all covered loss and damage resulting from the peril insured against by this Policy that
    causes the loss and damage, regardless of any other applicable Sub-limit of Liability.

    Schedule
    The Company's liability for all loss or damage arising out of one Occurrence for the type of Coverage or
    peril to which the sub-limit applies shall not exceed 100% of the stated Sub-Limits of Liability shown
    below:

      Limit Of Liability                                                    Coverage(s) Or Peril(s)
     $5,000,000                                        Ordinance or Law Coverage A+B+C (Combined)
     $1,000,000                                        Wind Driven Rain




    All other terms and conditions remain unchanged.




    ACE0377 (06/18)                                                                                   Page 2 of 2
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                                         PRE-EXISTING PROPERTY DAMAGE EXCLUSION

 Named Insured                                                                             Endorsement Number
 Brittany Condominium Association, Inc
 Policy Symbol            Policy Number          Policy Period                             Effective Date of Endorsement
 FS                       D42295164 002          05/31/2021 to 05/31/2022
 Issued By (Name of Insurance Company)
 Westchester Surplus Lines Insurance Company



                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                                 PROPERTY COVERAGE PART

                                               INLAND MARINE COVERAGE PART

This policy excludes any loss or damage directly or indirectly caused by, resulting from or contributed to by any pre-
existing property damage at the time of loss.




ACE0421 (08/09)                                      ©Chubb. 2016. All rights reserved.                         Page 1 of 1
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       NEWLY ACQUIRED OR CONSTRUCTED PROPERTY AND/OR NEWLY ACQUIRED LOCATIONS
                            COVERAGE EXTENSIONS — DELETED

Named Insured                                                                                                                   Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number                  Policy Period                                                         Effective Date of Endorsement
FS                         D42295164 002                  05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company


                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                  BUILDING AND PERSONAL PROPERTY COVERAGE FORM
                                BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
                              BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM
                                      CONDOMINIUM ASSOCIATION COVERAGE FORM
                                           EXTRA EXPENSE COVERAGE FORM

     A. The Coverage Extension for Newly Acquired Or Constructed Property is deleted from the Building and
        Personal Property Coverage Form and the Condominium Association Coverage Form.

     B. The Coverage Extension for Newly Acquired Locations is deleted from the Business Income (And Extra
        Expense) Coverage Form; the Business Income (Without Extra Expense) Coverage Form; and the Extra
        Expense Coverage Form.

     C. New location(s) added to this Policy may be subject to separate rating and/or may require a higher deductible(s).




All other terms and conditions remain unchanged.




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                                              ASBESTOS MATERIAL EXCLUSION
                                                  (Named Peril Exception)
Named Insured                                                                                                             Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol                Policy Number                        Policy Period                                           Effective Date of Endorsement
FS                           D42295164 002                               05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company
   Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:
                                             COMMERCIAL PROPERTY COVERAGE PART
                                       COMMERCIAL INLAND MARINE COVERAGE PART


 The following exclusion is added to this policy; supersedes any term, provision or endorsement to the contrary in
 this policy; and applies notwithstanding such term, provision or endorsement:
 A. This policy excludes loss or damage to asbestos, asbestos-containing product, or asbestos-containing material.
 B. This policy does not provide insurance against any loss, damage, cost, expense, fine or penalty resulting from
    or arising out of:
    1. remediation of any kind, including but not limited to removal or modification, of any asbestos, asbestos-
        containing product, or asbestos-containing material from a building or structure of any kind, whether
        damaged or undamaged, and regardless of the reason such removal is undertaken, whether voluntary or
        compelled by government directive; or
    2. the demolition or increased cost of reconstruction of property, the repair of property, the removal of
        debris, or the loss of use of property when caused by, arising out of, or undertaken due to the enforcement
        of any law, regulation, rule or ordinance that in any manner regulates asbestos, asbestos-containing
        product, or asbestos-containing material, except to the extent that coverage is provided by the Demolition
        and Increased Cost of Construction Additional Coverage; or
    3. any fault in the design, manufacture, or installation of asbestos, asbestos-containing product, or asbestos-
        containing material.
 C. Notwithstanding the exclusions set forth above, this Policy covers direct physical loss or damage to asbestos,
     asbestos-containing product, and asbestos-containing material which is physically incorporated into an
     insured building or structure, including the necessary costs to remove or remediate such damaged asbestos,
     but only when such damage occurring during the policy period is directly and solely caused by the following
     perils, and then only that part of such asbestos which incurs direct physical loss or damage:
       fire, lightning, explosion, windstorm, hail, smoke, aircraft or vehicle impact, riot or civil commotion,
       vandalism, malicious mischief or accidental discharge of fire protective equipment.




 All other terms and conditions remain unchanged.




 ACE061 (o8/18)                                                                                                                                       Page 1 of 1
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                                        OCCURRENCE LIMIT OF LIABILITY ENDORSEMENT

Named Insured                                                                                         Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number          Policy Period                                       Effective Date of Endorsement
FS                         D42295164 002          05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company


                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     THIS ENDORSMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                            COMMERCIAL PROPERTY COVERAGE PART

                                           COMMERCIAL INLAND MARINE COVERAGE PART

The following terms and conditions will apply to this policy:

1.         The amount of insurance shown on the face of this policy is an amount per occurrence. In no event will the
           liability of this Company exceed this amount in any one covered loss, disaster or casualty, irrespective of the
           number of locations involved.

2.         The premium for this policy is based upon the Statement of Values on file with the Company. In the event of a
           covered loss, the covered loss sustained by individual items or elements of coverage will be individually adjusted
           for purpose of determining whether the individual value of the covered property (hereinafter the "Covered
           Property Value") is greater or lesser than the actual adjusted amount of the loss. As respects specifically
           scheduled items or elements of coverage that are identified in the most current Statement of Values on file with
           the Company, the Covered Property Value shall be the amount individually identified for each specifically
           scheduled item or element of coverage. As respects items or elements of coverage for which an individual
           amount is not shown on the most current Statement of Values or other documentation on file with the Company,
           the Covered Property Value of such items or elements of coverage shall be determined as follows:

           (a)      The value for each real property item will be developed by multiplying the total reported value for real
                    property by the proportion that the square footage of the individual real property item to the total square
                    footage of all real property contemplated in the total reported real property values; and

           (b)      The value of personal property at each location will be developed by multiplying the total reported
                    personal property value by the proportion that the square footage of all real property at the individual
                    location bears to the total square footage of all real property at all locations contemplated in the total
                    reported personal property values.

           (c)      The value of business income and/or rental income at each location will be developed by multiplying the
                    total reported business income and/or rental income value by the proportion that the square footage of all
                    real property at the individual location bears to the total square footage of all real property at all locations
                    contemplated in the total reported business income and/or rental income values.

3.         In the event of covered loss, liability of the Company shall be limited to the least of the following:

           (a)      the actual adjusted amount of covered loss, less applicable deductible(s);

           (b)      100% of the total Covered Property Value of all items or elements of coverage that sustained a covered
                    loss in a single Occurrence, less applicable deductibles;

           (c)      the Limit of Liability or amount of insurance shown on the face of this policy.


All other terms and conditions remain unchanged.


ACE063 (07/16)                                                                                                             Page 1 of 1
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                                             PERMISSION FOR EXCESS INSURANCE

Named Insured                                                                                    Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number          Policy Period                                  Effective Date of Endorsement
FS                         D42295164 002          05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company



                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                            COMMERCIAL PROPERTY COVERAGE PART

                                           COMMERCIAL INLAND MARINE COVERAGE PART


In consideration of the rate and premium for which this policy is written, the following additional provisions are hereby
made a part of this policy superseding any provisions to the contrary:

        1.      EXCESS INSURANCE: Permission is hereby granted to purchase insurance in excess of the Limit of Liability
                stated in this policy. Such excess insurance shall not be considered other insurance for the purposes of the
                Other Insurance clause.

        2.      SALVAGE AND RECOVERIES: This clause is amended to include the following:

                When, in connection with any loss hereunder, any salvage or recovery is received subsequent to the payment
                of such loss, the loss shall be figured on the basis on which it would have been settled had the amount of
                salvage or recovery been known at the time the loss was originally determined. Any amount thus found to be
                due either party from the other shall be paid promptly.

                The expense of all proceedings necessary to such recoveries shall be apportioned between the interests
                concerned in the ratio of their respective recoveries as finally settled. If there should be no recovery and
                proceedings are conducted solely by this Company, the expense thereof shall be borne by this Company.

All other terms and conditions of the policy remain unchanged.




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                                    DEFINITION OF LOSS OCCURRENCE ENDORSEMENT

 Named Insured                                                                                       Endorsement Number
 Brittany Condominium Association, Inc
 Policy Symbol            Policy Number          Policy Period                                       Effective Date of Endorsement
 FS                       D42295164 002          05/31/2021 to 05/31/2022
 Issued By (Name of Insurance Company)
 Westchester Surplus Lines Insurance Company

                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                           COMMERCIAL PROPERTY COVERAGE PART

                                          COMMERCIAL INLAND MARINE COVERAGE PART



The following definition is added to this policy; supersedes any other definition, express or implied, of the term "Loss
Occurrence" in any term, provision or endorsement to this policy; and applies not withstanding such term, provision or
endorsement:


1.       "Loss Occurrence" means the sum of all individual losses arising out of and directly caused by any one disaster,
         accident or loss or series of disasters, accidents or losses arising out of one event which occurs anywhere within
         the Coverage Territory. The duration and extent of any one Loss Occurrence will be limited to all individual losses
         sustained by the Insured occurring during any period of 72 consecutive hours arising out of and directly caused by
         the same event, except:
         A.         As regards Windstorm (including Tier 1 Counties), Flood, Hail or Tornado, including ensuing collapse,
                    Flood and Water Damage: all individual losses sustained by the Insured occurring during any period of 96
                    consecutive hours arising out of and directly caused by the same event.
          B.        As regards the perils of riot, strike or civil commotion, vandalism and malicious mischief, including losses
                    from all other perils covered hereunder following as a result of the aforesaid perils: all losses or series of
                    losses occurring during any period of 72 consecutive hours arising out of and directly caused by the same
                    event. The maximum duration of 72 consecutive hours may be extended in respect of individual losses
                    which occur beyond such 72 consecutive hours during the continued occupation of the Insured's
                    premises by strikers, provided such occupation commenced during the aforesaid period.
          C.        As regards the peril of Earthquake, including losses from all other perils covered hereunder following as a
                    result of Earthquake: only those individual losses covered hereunder, which commence during the period
                    of 168 consecutive hours, may be included in the Loss Occurrence.
          D.        As regards the peril of freeze: only those individual losses directly caused by collapse, breakage of glass,
                    water and/or liquid damage due to burst pipes tanks or pressure vessels; damage to machinery or
                    equipment, stock and/or work in progress due to freeze; and/or individual losses arising directly out of the
                    lack of supply of power, current, coolant and/or fuel due to frozen pipes and/or frozen feed lines may be
                    included in the Loss Occurrence.
          Except for those Loss Occurrences referred to in sub-paragraphs A. and B. above, the Insured may chose the
          date and time when such period of consecutive hours commences, provided that it is not earlier than the date and
          time of the occurrence of the first recorded individual loss sustained by the Insured arising out of that disaster,
          accident or loss and provided that only one such period of consecutive hours will apply with respect to one event.
          However, as respects those Loss Occurrences referred to in sub-paragraphs A. and B. above, if the disaster,
          accident or loss occasioned by the event is of greater duration than the specified period of consecutive hours,
          then the Insured may divide that disaster, accident or loss into two or more Loss Occurrences, provided no two
          periods overlap and no individual loss is included in more than one such period and provided that no period
          commences earlier than the date and time of the occurrence of the first recorded individual loss sustained by the
          Insured arising from that disaster, accident or loss.



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       However, we shall not be liable hereunder for any loss or damage:
        a) Occurring before this policy becomes effective; or
        b) Arising from an "occurrence" which is in progress at the time this policy becomes effective, even if such loss
           or damage occurs after this policy becomes effective; or
        c) Occurring after the expiration of this policy, except loss or damage arising from an "occurrence" in progress
           at the time this policy expires.


       This provision in no way alters any Policy Limit of Liability or Sub-limit of Liability.


All other terms and conditions remain unchanged.




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                                               ORDINANCE OR LAW COVERAGE
  Named Insured                                                                                                             Endorsement Number
  Brittany Condominium Association, Inc
  Policy Symbol                Policy Number                        Policy Period                                           Effective Date of Endorsement
  FS                           D42295164 002                               05/31/2021 to 05/31/2022
  Issued By (Name of Insurance Company)
  Westchester Surplus Lines Insurance Company
     Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.


                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:
                                            COMMERCIAL PROPERTY COVERAGE PART
                                           COMMERCIAL INLAND MARINE COVERAGE PART

A. Each Coverage — Coverage A, Coverage B and Coverage C — is provided under this endorsement only if the limit is
   stated for that Coverage(s) in the Declarations or in the Sub-limit Provision Endorsement attached to this Policy. If
   ISO form CP oo 10 (BUILDING AND PERSONAL PROPERTY COVERAGE FORM) or ISO form CP oo 17
   (CONDOMINIUM ASSOCIATION COVERAGE FORM) is attached to this Policy, then the Increased Cost Of
   Construction Additional Coverage contained in form CP oo 10 or CP oo 17 is deleted in its entirety.
B. Application Of Coverage(s)
   The Coverage(s) provided by this endorsement applies only if both B.i. and B.2. are satisfied and are then subject to
   the qualifications set forth in B.3.
   1. The ordinance or law:
       a. Regulates the demolition, construction or repair of buildings, or establishes zoning or land use requirements at
          the described premises; and
       b. Is in force at the time of loss.
   But coverage under this endorsement applies only in response to the minimum requirements of the ordinance or law.
   Losses and costs incurred in complying with recommended actions or standards that exceed actual requirements are
   not covered under this endorsement.
     2.a. The building sustains direct physical damage that is covered under this policy and as a result of such damage,
          you are required to comply with the ordinance or law; or
       b. The building sustains both direct physical damage that is covered under this policy and direct physical damage
          that is not covered under this policy, and as a result of the building damage in its entirety, you are required to
          comply with the ordinance or law.
       c. But if the building sustains direct physical damage that is not covered under this policy, and such damage is the
          subject of the ordinance or law, then there is no coverage under this endorsement even if the building has also
          sustained covered direct physical damage.
   3. In the situation described in B.2.b. above, we will not pay the full amount of loss otherwise payable under the
       terms of Coverages A, B, and/or C of this endorsement. Instead, we will pay a proportion of such loss, meaning the
       proportion that the covered direct physical damage bears to the total direct physical damage.
       (Section H. of this endorsement provides an example of this procedure.)
       However, if the covered direct physical damage, alone, would have resulted in a requirement to comply with the
       ordinance or law, then we will pay the full amount of loss otherwise payable under the terms of Coverages A, B
       and/or C of this endorsement.
C. We will not pay under Coverage A, B or C of this endorsement for:
   1. Enforcement of or compliance with any ordinance or law which requires the demolition, repair, replacement,
       reconstruction, remodeling or remediation of property due to contamination by "pollutants" or due to the presence,
       growth, proliferation, spread or any activity of "fungus", wet or dry rot or bacteria; or

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   2. The costs associated with the enforcement of or compliance with any ordinance or law which requires any insured
      or others to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or
      assess the effects of "pollutants", "fungus", wet or dry rot or bacteria.

D. Coverage
   1. Coverage A — Coverage For Loss To The Undamaged Portion Of The Building
      With respect to the building that has sustained covered direct physical damage, we will pay under Coverage A for
      the loss in value of the undamaged portion of the building as a consequence of a requirement to comply with an
      ordinance or law that requires demolition of undamaged parts of the same building.
      Coverage A is included within the Limit Of Insurance shown in the Declarations as applicable to the covered
      building. Coverage A does not increase the Limit of Insurance.
   2. Coverage B — Demolition Cost Coverage
      With respect to the building that has sustained covered direct physical damage, we will pay the cost to demolish
      and clear the site of undamaged parts of the same building as a consequence of a requirement to comply with an
      ordinance or law that requires demolition of such undamaged property.
      The Coinsurance Additional Condition does not apply to Demolition Cost Coverage.
   3. Coverage C — Increased Cost Of Construction Coverage
      a. With respect to the building that has sustained covered direct physical damage, we will pay the increased cost
          to:
        (1) Repair or reconstruct damaged portions of that building; and/or
        (2) Reconstruct or remodel undamaged portions of that building, whether or not demolition is required;
              when the increased cost is a consequence of a requirement to comply with the minimum standards of the
              ordinance or law.
          However:
        (i) This coverage applies only if the restored or remodeled property is intended for similar occupancy as the
              current property, unless such occupancy is not permitted by zoning or land use ordinance or law.
        (2) We will not pay for the increased cost of construction if the building is not repaired, reconstructed or
              remodeled.
          The Coinsurance Additional Condition does not apply to Increased Cost of Construction Coverage.
      b. When a building is damaged or destroyed and Coverage C applies to that building in accordance with 3.a.
          above, coverage for the increased cost of construction also applies to repair or reconstruction of the following,
          subject to the same conditions stated in 3.a.:
          (1) The cost of excavations, grading, bacialing and filling;
          (2) Foundation of the building;
          (3) Pilings; and
          (4) Underground pipes, flues and drains.
          The items listed in b.(i) through b.(4) above are deleted from Property Not Covered, but only with respect to
          the coverage described in this provision, 3.b.
E. Loss Payment
   1. All following loss payment provisions, E.2. through E.5., are subject to the apportionment procedures set forth in
      Section B.3. of this endorsement.
   2. When there is a loss in value of an undamaged portion of a building to which Coverage A applies, the loss payment
      for that building, including damaged and undamaged portions, will be determined as follows:
      a. If the Replacement Cost Coverage Option applies and the property is being repaired or replaced, on the same or
          another premises, we will not pay more than the lesser of:
          (1) The amount you would actually spend to repair, rebuild or reconstruct the building, but not for more than
                 the amount it would cost to restore the building on the same premises and to the same height, floor area,
                 style and comparable quality of the original property insured; or

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          (2) The Limit Of Insurance shown in the Declarations as applicable to the covered building.
       b. If the Replacement Cost Coverage Option applies and the property is not repaired or replaced, or if the
          Replacement Cost Coverage Option does not apply, we will not pay more than the lesser of:

         (1) The actual cash value of the building at the time of loss; or
         (2) The Limit Of Insurance shown in the Declarations as applicable to the covered building.
   3. Unless Paragraph E.5. applies, loss payment under Coverage B — Demolition Cost Coverage will be determined as
       follows:
       We will not pay more than the lesser of the following:
       a. The amount you actually spend to demolish and clear the site of the described premises; or
       b. The applicable Limit Of Insurance shown for Coverage B in the Declarations or Sub-Limit Provision
           Endorsement.
   4. Unless Paragraph E.5. applies, loss payment under Coverage C — Increased Cost Of Construction Coverage will be
       determined as follows:
       a. We will not pay under Coverage C:
         (i) Until the property is actually repaired or replaced, at the same or another premises; and
         (2) Unless the repair or replacement is made as soon as reasonably possible after the loss or damage, not to
                exceed two years. We may extend this period in writing during the two years.
       b. If the building is repaired or replaced at the same premises, or if you elect to rebuild at another premises, the
           most we will pay under Coverage C is the lesser of:
         (i) The increased cost of construction at the same premises; or
         (2) The applicable Limit Of Insurance shown for Coverage C in the Declarations or Sub-Limit Provision
                Endorsement.
       c. If the ordinance or law requires relocation to another premises, the most we will pay under Coverage C is the
           lesser of:
         (i) The increased cost of construction at the new premises; or
         (2) The applicable Limit Of Insurance shown for Coverage C in the Declarations or Sub-Limit Provision
                Endorsement.
   5. If a Combined Limit Of Insurance is shown for Coverages B and C in the Declarations or Sub-Limit Provision
       Endorsement, Paragraphs E.3. and E.4. of this endorsement do not apply with respect to the building that is
       subject to the Combined Limit, and the following loss payment provisions apply instead:
       The most we will pay, for the total of all covered losses for Demolition Cost and Increased Cost of Construction, is
       the Combined Limit Of Insurance shown for Coverages B and C in the Declarations or Sub-Limit Provision
       Endorsement. Subject to this Combined Limit of Insurance, the following loss payment provisions apply:
       a. For Demolition Cost, we will not pay more than the amount you actually spend to demolish and clear the site of
           the described premises.
       b. With respect to the Increased Cost of Construction:
           (i) We will not pay for the increased cost of construction:
                 (a) Until the property is actually repaired or replaced, at the same or another premises; and
                 (b) Unless the repair or replacement is made as soon as reasonably possible after the loss or damage, not
                      to exceed two years. We may extend this period in writing during the two years.
           (2) If the building is repaired or replaced at the same premises, or if you elect to rebuild at another premises,
               the most we will pay for the increased cost of construction is the increased cost of construction at the same
               premises.
           (3) If the ordinance or law requires relocation to another premises, the most we will pay for the increased cost
               of construction is the increased cost of construction at the new premises.
F. The most we will pay under this coverage extension is the limit stated in the Declarations or in the Sub-limit Provision
   Endorsement attached to this Policy. This coverage is provided within, not in addition to, the Limit of Insurance stated
   in the Declarations.
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G. Under this endorsement we will not pay for loss due to any ordinance or law that:
   1. You were required to comply with before the loss, even if the building was undamaged; and
   2. You failed to comply with.
H. Example of proportionate loss payment for Ordinance Or Law Coverage Losses (procedure as set forth in Section B.3.
   of this endorsement).

   Assume:
   O Wind is a Covered Cause of Loss; Flood is an
       excluded Cause of Loss
   O The building has a value of $200,000
   D Total direct physical damage to building:
       $100,000
   O The ordinance or law in this jurisdiction is
       enforced when building damage equals or
       exceeds 50% of the building's value
   O Portion of direct physical damage that is
       covered (caused by wind): $30,000
   D Portion of direct physical damage that is not
       covered (caused by flood): $70,000
   D Loss under Ordinance Or Law Coverage C of
       this endorsement: $60,000
   Step 1: Determine the proportion that the covered
             direct physical damage bears to the total
             direct physical damage.
             $30,000 0 $100,000 = .30
   Step 2: Apply that proportion to the Ordinance or
             Law loss.
             $60,000 x .30 = $18,000
   In this example, the most we will pay under this endorsement for the Coverage C loss is $18,000, subject to the
   applicable Limit of Insurance and any other applicable provisions.
   Note: The same procedure applies to losses under Coverages A and B of this endorsement.
I. The following definition is added:
   "Fungus" means any type or form of fungus, including mold or mildew, and any mycotoxins, spores, scents or by-
   products produced or released by fungi.




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                                             EQUIPMENT BREAKDOWN COVERAGE
Named Insured                                                                                                                   Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number                  Policy Period                                                         Effective Date of Endorsement
FS                         D42295164 002                  05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company


                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                               COMMERCIAL PROPERTY COVERAGE PART

A. ADDITIONAL COVERED CAUSE OF LOSS
   The following is added to the Covered Causes of Loss:
   Equipment Breakdown, meaning a "breakdown" to "covered equipment".

B. PROPERTY NOT COVERED
    With regard to the coverage provided by this Endorsement only, A.2.b. in the Building and Personal Property
    Coverage Form is replaced with:
        b. Animals.

C. EQUIPMENT BREAKDOWN ADDITIONAL COVERAGES
   The following Additional Coverages apply to loss or damage caused by or resulting from a "breakdown" to "covered
   equipment".
   1. Business Income and Extra Expense
       If Business Income and/ or Extra Expense coverage is provided in the Coverage Form, it is extended to cover
       loss or expense resulting from a "breakdown" to "covered equipment".
   2. Expediting Expenses
       With respect to your damaged Covered Property, we will pay for reasonable extra costs you incur to:
       a. Make temporary repairs; and
       b. Expedite permanent repairs or replacement.
       Expediting expenses include overtime wages and the extra cost of express or other rapid means of transportation.
       The most we will pay for expediting expenses is $25,000 or the Coverage Limit shown in the Schedule, whichever
       is greater.
   3. Pollutant Clean Up and Removal
       We will pay for the additional costs you incur to repair or replace Covered Property which has been damaged,
       contaminated or polluted by a "hazardous substance". This includes the additional expenses you incur to clean up
       or dispose of such property.
       Additional expenses means expenses you incur that you would not have been incurred if no "hazardous
       substance" had been involved.
       The most we will pay for loss or damage under this Additional Coverage including any:
       a. Spoilage of "perishable goods";
       b. Actual loss of Business Income you sustain; and
       c. Necessary Extra Expense you incur;
       is $25,000 or the Coverage Limit shown in the Schedule, whichever is greater.
       The coverage provided by this Additional Coverage does not include loss to "perishable goods" due to
       contamination from the release of a refrigerant.
   4. Spoilage
       a. We will pay for loss of "perishable goods" due to spoilage.
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       b. We will also pay for loss of "perishable goods" due to contamination from the release of a refrigerant,
            including but not limited to ammonia.
       c. We will pay any necessary expenses you incur to reduce the amount of loss under this Additional Coverage
            to the extent that they do not exceed the amount of loss that otherwise would have been payable under this
            Additional Coverage.
       d. If you are unable to replace the "perishable goods" before its anticipated sale, the amount of our payment will
            be determined on the basis of the sales price of the "perishable goods" at the time of the "breakdown", less
            any discounts and expenses you otherwise would have had. Otherwise, our payment will be determined in
            accordance with the Loss Payment condition.
       The most we will pay for loss or damage under this Additional Coverage is $25,000 or the Coverage Limit shown
       in the Schedule, whichever is greater.
   5. Electronic Data
       a. We will pay for your cost to research, replace and restore data, including programs and operating systems,
            that are lost or corrupted due to a "breakdown" to "covered equipment".
       b. We will also pay for loss or damage to "media" caused by a "breakdown".
       The most we will pay for loss or damage under this Additional Coverage is $25,000 or the Coverage Limit shown
       in the Schedule, whichever is greater.
   6. Demolition and Increased Cost of Construction
       If a "breakdown" to "covered equipment" damages a building that is Covered Property that is insured at
       replacement cost, and the loss is increased by the enforcement of any laws or ordinances that are in force at the
       time of the "breakdown" and which regulate the demolition, construction, repair or use of the building or structure,
       we will pay the increased cost to:
       a. Repair or reconstruct damaged portions of that Building property;
       b. Reconstruct or remodel undamaged portions of that Building property, whether or not demolition is required;
            and/or
       c. Demolish and clear the site of undamaged parts;
       when the increased cost is a consequence of enforcement of building, zoning or land use ordinance or law that:
       a. Requires the demolition of parts of the same property not damaged by such "breakdown";
       b. Regulates the construction or repair of buildings, or establishes zoning, or land use requirements at the
            described premises; and
       c. Is in force at the time of loss.
       However, this coverage applies only if the restored or remodeled property is intended for similar occupancy as the
       current property, unless such occupancy is not permitted by zoning or land use ordinance or law.
       We will not pay more than the amount you actually spend to repair, rebuild or reconstruct the building or to
       demolish and clear the site of the described premises.
       We will not pay for any of the following types of expenses that you incur arising out of the enforcement of building,
       zoning or land use ordinance or law:
       a. Fines;
       b. Your liability to a third party;
       c. Any increased costs you incur to clean up or dispose of Covered Property that has been contaminated by a
            "hazardous substance"; or
       d. Any increased cost of construction until the building is actually repaired, reconstructed or remodeled.
       The most we will pay for loss or damage under this Additional Coverage is $25,000 or the Coverage Limit shown
       in the Schedule, whichever is greater.
   7. Service Interruption
       You may extend coverage provided under this endorsement for Business Income, Extra Expense and Spoilage to
       apply to loss or damage caused by or resulting from a "breakdown" to equipment that is owned by a utility,
       landlord, or other supplier with whom you have a contract to provide you with any of the following services:
       electrical power, communications, waste disposal, air conditioning, refrigeration, heating, gas, air, water or steam.
       Coverage for Service Interruption will begin 72 hours after the time the "breakdown" causes the interruption of the
       utility service, unless a different time is shown for Service Interruption-Waiting Period in the Equipment
       Breakdown Schedule.

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C. EQUIPMENT BREAKDOWN EXCLUSIONS
    1. All Exclusions and Limitations apply except:
       a. In the Causes of Loss-- Special Form:
            (1) Exclusions B.2.a., B.2.d.(6) and B.2.e.; and
            (2) Limitations C.1.a. and C.1.b.
       b. In the Causes of Loss-- Broad Form: Exclusions B.2.a., B.2.b. and B.2.c.
       c. In the Causes of Loss-- Basic Form: Exclusions B.2.a., B.2.d. and B.2.e.
    2. The Exclusions and Limitations are modified as follows:
       a. The following is added to Exclusion B.1 .g.(1) of the applicable Causes of Loss form:
            However, if electrical "covered equipment" requires drying out because of the above, we will pay for the direct
            expenses of such drying out subject to the applicable Limit of Insurance and Deductible.
       b. If the Causes of Loss-- Basic Form or Causes of Loss-- Broad Form applies, the following is added to
            Exclusion B.2.:
            Depletion, deterioration, corrosion, erosion, wear and tear, or other gradually developing conditions. But if
            loss or damage from a "breakdown" results, we will pay for that resulting loss or damage.
       c. If the Causes of Loss-- Special Form applies, as respects this endorsement only, the last paragraph of
            Exclusion B.2.d. is deleted and replaced with the following:
            But if an excluded cause of loss that is listed in 2.d.(1) through (7) results in a "breakdown", we will pay for the
            loss or damage caused by that "breakdown".
       d. We will not pay under this endorsement loss or damage caused by or resulting from:
            (1) Your failure to use all reasonable means to protect the "perishable goods" from damage following a
                "breakdown";
            (2) Any of the following tests:
                (a) A hydrostatic, pneumatic or gas pressure test of any boiler or pressure vessel; or
                (b) An insulation breakdown test of any type of electrical equipment.
       e. With respect to the Service Interruption and Spoilage Additional Coverages, we will also not pay for loss or
            damage caused by or resulting from: fire; lightning; windstorm or hail; explosion (except for steam or
            centrifugal explosion); smoke; aircraft or vehicles; riot or civil commotion; vandalism; sprinkler leakage; falling
            objects; weight of snow, ice or sleet; freezing; or collapse.

D. SPECIAL DEDUCTIBLE
    As respects Equipment Breakdown Coverage, when a Special Deductible is shown in the Schedule, Paragraph D.
    DEDUCTIBLE is deleted and replaced with the following:
    1. Property Damage, Business Income and Extra Expense Coverages
        The Property Damage Coverages Deductibles apply to all loss or damage covered by this endorsement, with the
        exception of those coverages subject to the Business Income and Extra Expenses Coverages Deductibles. If
        deductibles vary by type of "covered equipment" and more than one type of equipment is involved in any one
        "breakdown", only the highest deductible will apply.
    2. Application of Special Deductibles
        a. Dollar Deductibles
            We will not pay for loss or damage resulting from any one "breakdown" until the amount of loss or damage
            exceeds the applicable dollar deductible shown in the Schedule. We will then pay the amount of loss or
            damage in excess of the applicable dollar deductible, up to the applicable Limit of Insurance.
        b. Time Deductible
            If a time deductible is shown in the Schedule, we will not be liable for any loss occurring during the specified
            number of hours or days immediately following the "breakdown". If a time deductible is expressed in days,
            each day shall mean twenty-four consecutive hours.
        c. Multiple of Average Daily Value (ADV)
            If a deductible is expressed as a number times ADV, that amount will be calculated as follows:
            The ADV (Average Daily Value) will be the Business Income (as defined in any Business Income coverage
            form that is part of this policy) that would have been earned had no "breakdown" occurred during the period of
            interruption of business divided by the number of working days in that period. But, no reduction shall be
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             made for the Business Income not being earned, or in the number of working days, because of the
             "breakdown", or any other scheduled or unscheduled shutdowns during the period of interruption. The ADV
             applies to all locations included in the valuation of the loss.
             The number indicated in the Schedule shall be multiplied by the ADV as determined above. The result shall
             be used as the applicable deductible.

E. CONDITIONS
    The following conditions apply in addition to the Common Policy Conditions and the Commercial Property Conditions.
    1. New Generation
        If "covered equipment" is covered on a replacement cost basis and such equipment requires replacement due to
        a "breakdown", we will pay your additional cost to replace it with equipment that is better for the environment,
        safer or more efficient than the equipment being replaced.
        However, we will not pay more than 125% of what the cost would have been to repair or replace such equipment
        with like kind and quality.
    2. Jurisdictional Inspections
        a. We agree to provide pressure vessel certificate-of-operation engineering services where:
             (1) The certificate-of-operation is required by state, city or provincial law; and
             (2) The state, city or provincial law permits inspections by insurance company employees.
        b. If we receive notification of a pressure vessel certificate-of-operation inspection due date less than 30 (thirty)
             days prior to the expiration of the certificate-of-operation, we will not be responsible for:
                 (1) Any fine or other penalty that may be assessed; or
                 (2) Any liability that may arise due to the fact that the inspection was not performed prior to the
                      certificate-of-operation due date.
        c. Certificate-of-operation engineering services will not be provided for any location, other than in the United
             States of America, Puerto Rico or Canada.
    3. Suspension
        a. Whenever any "covered equipment] is found to be in, or exposed to a dangerous condition, any of our
             representatives may immediately suspend the coverage provided by this endorsement.
        b. We will deliver or mail a written notice of suspension to your last known address or the address where the
             "covered equipment" is located.
        c. Once suspended in this way, your coverage can be reinstated only by written notice from us.
        d. If we suspend your coverage, you will get a pro rata refund of premium for that "covered equipment". But the
             suspension will be effective even if we have not yet made or offered a refund.
    4. Payment Limits
        The most we will pay for loss or damage under this endorsement is the applicable Limit of Insurance shown in the
        Commercial Property Declarations or Equipment Breakdown Coverage Schedule. Coverage provided under this
        endorsement does not provide an additional amount of insurance.

F. DEFINITIONS
    The following are added to the Definitions.
    1. "Breakdown"
       a. "Breakdown" means direct physical loss or damage caused by or resulting from:
           (1) Mechanical breakdown, including rupture or bursting caused by centrifugal force;
           (2) Artificially generated electric current, including electric arcing, that disturbs electrical devices, appliances or
               wires;
           (3) Explosion of steam boilers, steam pipes, steam engines or steam turbines owned or leased by you, or
               operated under your control;
           (4) Loss or damage to steam boilers, steam pipes, steam engines or steam turbines caused by or resulting
               from any condition or event inside such equipment; or
           (5) Loss or damage to hot water boilers or other water heating equipment caused by or resulting from any
               condition or event inside such boilers or equipment.
       b. "Breakdown" does not mean:
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           (1)  Cracking of any part on an internal combustion gas turbine exposed to the products of combustion;
           (2)  Damage to any structure or foundation supporting the "covered equipment" or any of its parts;
           (3)  Damage to any vacuum tube, gas tube, or brush;
           (4)  Defects, erasures, errors, limitations or viruses in "computer equipment", data, "media" and/or programs
                including the inability to recognize and process any date or time or provide instructions to "covered
                equipment". However, if a "breakdown" ensues, we will pay the ensuing loss or damage not otherwise
                excluded;
            (5) Leakage at any valve, fitting, shaft seal, gland packing, joint or connection;
            (6) Malfunction including but not limited to adjustment, alignment, calibration, cleaning or modification; or
            (7) The functioning of any safety or protective device.
       c. If an initial "breakdown" causes other "breakdowns", all will be considered one "breakdown". All "breakdowns"
            that manifest themselves at the same time and are the result of the same cause will also be considered one
            "breakdown".
   2. "Computer equipment" means Covered Property that is electronic computer or other data processing equipment,
       including "media" and peripherals used in conjunction with such equipment, other than computers used primarily
       to control or operate "covered equipment".
   3. "Covered Equipment"
       a. "Covered equipment" means any Covered Property that is:
            (1) Equipment designed and built to operate under internal pressure or vacuum other than weight of
                contents. For any boiler or fired vessel, the furnace of the "covered equipment" and the gas passages
                from there to the atmosphere will be considered as outside the "covered equipment";
            (2) Communication equipment and "computer equipment";
            (3) Fiber optic cable; or
            (4) Any other electrical or mechanical equipment that is used in the generation, transmission or utilization of
                energy.
       b. "Covered equipment" does not mean any:
            (1) Structure, foundation, cabinet, compartment or air supported structure or building containing the "covered
                equipment" or part of the "covered equipment" including penstock, draft tube or well casing;
            (2) Insulating or refractory material;
            (3) Pressure vessels and piping that are buried below ground and require excavation of materials to inspect,
                remove, repair or replace, or piping forming a part of a sprinkler system;
            (4) Water piping other than boiler feedwater piping, boiler condensate return piping or water piping forming a
                part of a refrigerating or air conditioning system;
            (5) Vehicles, unless such vehicle is stationary, permanently installed at the described premises and receives
                electrical power from an external power supplier;
            (6) Dragline, power shovel, excavation or construction equipment; or
            (7) Equipment or any part of equipment manufactured by you for sale.
   4. "Hazardous substances" means any substance other than ammonia that has been declared to be hazardous to
       health by a governmental agency.
   5. "Media" means all forms of electronic, magnetic and optical tapes and discs for use in any electronic computer or
       electronic data processing equipment.
   6. "Perishable Goods" means personal property maintained under controlled conditions for its preservation, and that
       is susceptible to loss or damage if the controlled conditions change.


All other terms and conditions remain unchanged.




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Westchester
A Chubb Company

                                             EQUIPMENT BREAKDOWN SCHEDULE
Named Insured                                                                                                                        Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol                Policy Number                    Policy Period                                                          Effective Date of Endorsement
FS                           D42295164 002                    05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company

      Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                               COMMERCIAL PROPERTY COVERAGE PART

Equipment Breakdown Coverage is subject to the Coverage Limits shown in the Declarations for "Real Property" and
"Personal Property", except as specifically shown below.

Equipment Breakdown Coverage applies to all locations covered on the policy, unless otherwise specified.

          Additional Coverages                                                                           Coverage Limits

        Business Income and Extra Expense                                                 Follows Commercial Property Coverage


        Expediting Expense                                                                $ 100,000

        Pollutant Clean Up and Removal                                                    $ 25,000

        Spoilage                                                                          $ 25,000

        Electronic Data                                                                   $ 25,000

        Demolition and Increased Cost of Construction                                     $ 25,000

        Service Interruption                                                              Included with Business Income, Extra Expense and/or
                                                                                          Spoilage

                                                                     Special Deductibles

The Property Deductibles shown in the Declarations or elsewhere in this Policy apply unless a special Deductible is shown
below.

          Combined, All Coverages

          Property Damage Coverages

          Business Income and Extra Expense Coverages                                        hours




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                                                     Other Conditions




All Other Terms And Conditions Remain Unchanged.



                                                                   Authorized Representative




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 Westchester
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                WIND-DRIVEN RAIN ADDITIONAL COVERAGE AND DEDUCTIBLE
                                    ENDORSEMENT
Named Insured                                                                                                            Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol                Policy Number                        Policy Period                                          Effective Date of Endorsement
FS                           D42295164 002                               05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company
   Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:
                                 BUILDING AND PERSONAL PROPERTY COVERAGE FORM
                                    CONDOMINIUM ASSOCIATION COVERAGE FORM

Schedule:
Wind-Driven Rain Included in "All Other Wind" Deductible:                                                                                    Yes X No

Wind-Driven Rain Included in Windstorm Deductible:                                                                                           Yes X No

Wind-Driven Rain Included in Named Storm (Windstorm) Deductible:                                                                             Yes X No

Wind-Driven Rain Included in Hurricane Deductible:                                                                                    X Yes                    No


 A. In Section A. 4. Additional Coverages, and only with respect to the premises described in the
     Declarations, the following is added:
       Wind-Driven Rain
       1. We will pay for direct physical loss or damage to the interior portion of any Building and Your Business
          Personal Property or Personal Property Of Others in such Building caused by or resulting from "Wind-
          driven rain".
       2. This Additional Coverage does not apply in the event the Building first sustains damage by a covered
          cause of loss to its roof or walls through which rain, snow, sand or dust enters.
       3. The most we will pay under this Additional Coverage is the Limit of Insurance stated in the Declarations
          or in the Sub-limit Provision Endorsement attached to this policy. This limit is included within, and not in
          addition to, any other applicable Limit of Insurance stated in the Declarations.
 B. In Section D. Deductible, the following is added:
       Deductible
         1. If any of the following are indicated "Yes" in the schedule above, the following conditions shall apply:
                  a. Wind-Driven Rain Included In "All Other Wind" Deductible: loss or damage caused by
                     or resulting from "Wind-driven Rain" is subject to the "All Other Wind" Deductible shown in the
                     Declarations. This deductible shall not apply if any of the deductibles set forth in paragraphs b.,
                     c., and d., below, apply;
                  b. Wind-Driven Rain Included in Windstorm: loss or damage caused by or resulting from
                     "Wind-driven Rain" is subject to the percentage deductible shown on the applicable Windstorm
                     Percentage Deductible endorsement attached to this policy. This deductible shall not apply if any
                     of the deductibles set forth in paragraphs c., and d., below, apply;


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 Westchester
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              c. Wind-Driven Rain Included In Named Storm (Windstorm) Deductible: loss or damage
                   caused by or resulting from "Wind-driven Rain" which results from an Occurrence of Named
                   Storm or Named Windstorm shall be subject to the percentage deductible for Named Windstorm
                   or Named Storm shown on the applicable Windstorm Percentage Deductible or Named
                   Windstorm Calendar Year Deductible endorsement attached to this policy. This deductible shall
                   not apply if the deductible set forth in paragraph d., below, applies; or
              d. Wind-Driven Rain Included In Hurricane Deductible: loss or damage caused by or
                   resulting from "Wind-driven Rain" which results from an Occurrence of Hurricane shall be
                   subject to the percentage deductible for Hawaii Hurricane or Hurricane shown on the applicable
                   Windstorm Percentage Deductible or Hurricane Calendar Year Deductible endorsement attached
                   to this policy.
         2.   In the event that none of the above applies, the deductible(s) applied to covered loss or damage
              caused by or resulting from an Occurrence of Wind-driven Rain shall be the applicable policy
              deductible(s) set forth in the Policy Declarations or other endorsement to this Policy.


 C. In Section H. Definitions, the following is added:
     Definitions
     "Wind-driven Rain" means rain, snow, sand or dust that, as a direct result of being driven by wind, presses on,
     seeps or flows through the roofs, doors, windows or other openings of the Building.


 All other terms, conditions and limitations of this Policy shall remain unchanged




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 Westchester
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                        LOSS CONTROL INSPECTION COMPLIANCE CONDITION
Named Insured                                                                                                            Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol                Policy Number                        Policy Period                                          Effective Date of Endorsement
FS                           D42295164 002                               05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company
   Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.



                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                             COMMERCIAL PROPERTY COVERAGE PART

                                       COMMERCIAL INLAND MARINE COVERAGE PART


 It is agreed and understood that the following Condition is added:

 LOSS CONTROL INSPECTION COMPLIANCE

 The Insured shall complete all recommended changes required by the Company within the timeframe required by
 the Company, arising out of inspections or surveys conducted by the Company.




 All other terms and conditions remain unchanged.




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                                        ELECTRONIC DATA AMENDMENT ENDORSEMENT

Named Insured                                                                                    Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number          Policy Period                                  Effective Date of Endorsement
FS                         D42295164 002          05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company


                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                             BOILER AND MACHINERY COVERAGE PART
                                           COMMERCIAL INLAND MARINE COVERAGE PART
                                             COMMERCIAL PROPERTY COVERAGE PART
                                               CRIME AND FIDELITY COVERAGE PART

The following terms and provisions are added to the Policy; supersede any term, provision or endorsement to the contrary
in this Policy; and apply notwithstanding any such term, provision or endorsement in this Policy or in any underlying,
contributing or followed policy:

     1. This Policy excludes loss, damage, destruction, distortion, erasure, corruption, alteration, diminishment in value,
         or loss of use or usefulness of:

          a. "Electronic Data" by any cause whatsoever (including but not limited to "Computer Virus");

          b. "Electronic Data Processing Equipment" caused by or resulting from the loss, damage, destruction, distortion,
             erasure, corruption, alteration, diminishment in value, or loss of use or usefulness of "Electronic Data";
             regardless of any other cause or event that contributes concurrently or in any sequence to the loss, damage,
             destruction, distortion, erasure, corruption, alteration, diminishment in value, or loss of use or usefulness of
             "Electronic Data", "Electronic Data Processing Equipment", or "Electronic Media"; and/or

          c. "Electronic Media" caused by or resulting from the loss, damage, destruction, distortion, erasure, corruption,
             alteration, diminishment in value, or loss of use or usefulness of "Electronic Data"; regardless of any other
             cause or event that contributes concurrently or in any sequence to the loss, damage, destruction, distortion,
             erasure, corruption, alteration, diminishment in value, or loss of use or usefulness of "Electronic Data",
             "Electronic Data Processing Equipment", or "Electronic Media".

          This exclusion does not apply to loss or damage to "Electronic Data", "Electronic Data Processing Equipment",
          and "Electronic Media" caused by or resulting from a "Named Peril", if and to the extent such Named Peril is
          already covered by this or by any underlying policy.

     2. This Policy excludes loss, damage, cost or expense resulting from or arising out of any failure, malfunction,
         deficiency, deletion, fault, Computer Virus or corruption of computer code that results from or arises out of any
         authorized or unauthorized access by any means and for any purpose, whether intentional or inadvertent, in, of or
         to any "Electronic Data", "Electronic Data Processing Equipment", or "Electronic Media" and similar data, media,
         devices, and equipment in the ownership, possession, or control of a third party.

Definitions

     1. "Electronic Data" means information, facts or "Computer Programs" stored as or on, created or used on, or
         transmitted to or from computer software (including systems and applications software), on hardware, computer
         memory, hard or floppy disks, zip drives, CD-ROMs, tapes, drives, cells, data processing devices or any other
         repositories of computer software which are used with electronically controlled equipment.


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    2. "Computer Programs" means a set of related electronic instructions which direct the operations and functions of a
       computer or device connected to it, which enable the computer or device to send, receive, process, store,
       retrieve, erase, or destroy data, and "Electronic Data" which is integrated in and operates or controls the building's
       elevator, lighting, plumbing, electricity, heating, ventilation, air conditioning, security system, safety system, and
       fire protection system, but does not include prepackaged software held in storage.

    3. "Electronic Data Processing Equipment" means "Computers", computer servers and similar equipment and
       component parts thereof, the purpose of which is to process Electronic Data.

   4. "Electronic Media" means any physical device the purpose of which is to hold, store, contain or transfer
      "Electronic Data", and includes but is not limited to disks, drives, films, tapes, records, drums, or cells.

    5. "Computers" includes but is not limited to mainframes, servers, workstations and portable computing devices,
       personal information managers, wide and local area network hardware, electronic and electromechanical
       equipment, data processing equipment, electronic controls for machinery, electronically programmed memory
       chips, and electronically controlled communication equipment.

    6. "Computer Virus" means instructions, code, files, applications or any software program that has the ability or is
       suspected to have the ability to damage, destroy, erase, corrupt, alter, impede, or prevent access to "Electronic
       Data", "Electronic Media" or "Computers", or to disrupt or interfere with the operations of "Computers", or to
       disrupt or interfere with the operation of any software or the reliability of any "Electronic Data", including but not
       limited to malicious codes, malware, Trojan Horses, worms and time or logic bombs.

    7. "Named Peril" means the perils of Fire; Lightning; Explosion; Windstorm or Hail; Smoke; Aircraft or Vehicles; Riot
       and Civil Commotion; Willful or malicious physical loss or damage by a means other than "Computer Virus" and/or
       an authorized or unauthorized access in, of or to any "Electronic Data", "Electronic Data Processing Equipment"
       and/or "Electronic Media"; Leakage from fire extinguishing equipment; Sinkhole Collapse; Volcanic Action;
       Building glass breakage; Falling Objects, Weight of snow, ice or sleet, Water Damage; Sonic Boom; Theft; Flood,
       Earthquake or Earth Movement.

All other terms and conditions remain unchanged.




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                                            TERRORISM EXCLUSION ENDORSEMENT

Named Insured                                                                                   Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number          Policy Period                                 Effective Date of Endorsement
FS                         D42295164 002          05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company


                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                             BOILER AND MACHINERY COVERAGE PART
                                                BUSINESS AUTO COVERAGE FORM
                                                    GARAGE COVERAGE FORM
                                                MOTOR CARRIER COVERAGE FORM
                                                  TRUCKERS COVERAGE FORM
                                        BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
                                          COMMERCIAL INLAND MARINE COVERAGE PART
                                             COMMERCIAL PROPERTY COVERAGE FORM
                                             COMMERCIAL PROPERTY COVERAGE PART
                                                  STANDARD PROPERTY POLICY

The following exclusion is added to this policy and applies to all coverages, additional coverages, and coverage
extensions, notwithstanding any provision to the contrary in this policy or any other endorsement hereto:

     A. This insurance does not cover loss, damage, injury, expense, cost, or legal obligation directly or indirectly caused
         by or resulting from any of the following, regardless of any other cause or event, whether or not insured under this
         policy, contributing concurrently or in any other sequence thereto:

          1. "Act of Terrorism"; or

          2. Actions taken by or on behalf of any government or any branch or division thereof (including, without
             limitation, the uniformed armed forces, militia, police, state security, and anti-terrorism agencies) in
             responding to, preventing, combating, defending or retaliating against any "Act of Terrorism; or

          3. dispersal, application, or release of any actual or alleged pathogen, poison, biologic or chemical product,
             material, waste or substance as a result of an Act of Terrorism, and it reasonably appears that one purpose of
             the Act of Terrorism was to release such product, material, waste or substance.

          This exclusion applies whether or not the "Act of Terrorism" was committed in concert with or on behalf of any
          organization or government.

          The terms and limitations of this exclusion do not serve to create coverage for any loss which would otherwise be
          excluded under this Policy, such as, but not limited to, losses excluded by the "Nuclear Exclusion" or the "War
          Exclusion" or similar provision.

     B. As used in this endorsement:

          1. "Act of Terrorism" means any act against persons, organizations or property of any nature that involves the
              following or preparation for the following:

                    a. Use or threat of force or violence; or

                    b. Commission or threat of a dangerous act; or

                    c. Commission or threat of an act that interferes with or disrupts an electronic, communication,
                       information, or mechanical system; and

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       2. Appears to be intended, in whole or in part, to:

               a. Intimidate or coerce a government or the civilian population; or

               b. Disrupt any segment of a nation's economy; or

               c. Influence the policy of a government by intimidation or coercion; or

               d. Affect the conduct of a government by mass destruction, assassination, kidnapping or hostage-taking;
                  or

               e. Further political, ideological, religious, social or economic objectives or to express (or express
                  opposition to) a philosophy or ideology; or

               f.   Respond to governmental action or policy.

           "Act of Terrorism" shall also include any incident determined to be such by an official, department or agency
           that has been specifically authorized by federal statute to make such a determination.

   C. Exception Covering Certain Fire Losses

       If an Act of Terrorism results in a fire and the direct physical loss or damage to property insured hereunder
       located in any State of the United States, the District of Columbia, the Commonwealth of Puerto Rico, the
       Commonwealth of the Northern Mariana Islands, American Samoa, Guam, each of the United States Virgin
       Islands and any territory or possession of the United States, that, either pursuant to the Standard Fire Policy or
       otherwise, prohibits exclusions for acts of terrorism that result in fire, this Company will pay for the loss or
       damage caused by that fire. Such coverage for fire applies only to direct loss or damage to property insured
       hereunder and may be limited, in accordance with the Standard Fire Policy, to the lesser of the actual cash value
       of the property at the time of the loss or the amount which it would cost to repair or replace the property, without
       allowance for any increased cost of repair or replacement by reason of any ordinance or law, and without any
       compensation for business interruption, extra expense to continue business activities, or any other coverage for
       loss or damage other than direct physical loss or damage to the property insured hereunder.



       All other terms and conditions remain unchanged.




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                                                                                     COMMERCIAL PROPERTY
                                                                                             CP 01 40 07 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
 This endorsement modifies insurance provided under the following:

    COMMERCIAL PROPERTY COVERAGE PART
    STANDARD PROPERTY POLICY

 A. The exclusion set forth in Paragraph B. applies to     D. The following provisions in this Coverage Part or
    all coverage under all forms and endorsements             Policy are hereby amended to remove reference
    that comprise this Coverage Part or Policy, includ-       to bacteria:
    ing but not limited to forms or endorsements that         1. Exclusion of "Fungus", Wet Rot, Dry Rot And
    cover property damage to buildings or personal                Bacteria; and
    property and forms or endorsements that cover
    business income, extra expense or action of civil         2. Additional Coverage — Limited Coverage for
    authority.                                                    "Fungus", Wet Rot, Dry Rot And Bacteria, in-
                                                                  cluding any endorsement increasing the scope
 B. We will not pay for loss or damage caused by or               or amount of coverage.
    resulting from any virus, bacterium or other micro-
    organism that induces or is capable of inducing        E. The terms of the exclusion in Paragraph B., or the
    physical distress, illness or disease.                    inapplicability of this exclusion to a particular loss,
                                                              do not serve to create coverage for any loss that
    However, this exclusion does not apply to loss or         would otherwise be excluded under this Coverage
    damage caused by or resulting from "fungus", wet          Part or Policy.
    rot or dry rot. Such loss or damage is addressed in
    a separate exclusion in this Coverage Part or Pol-
    icy.
 C. With respect to any loss or damage subject to the
    exclusion in Paragraph B., such exclusion super-
    sedes any exclusion relating to "pollutants".




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POLICY NUMBER:D42295164 002                                                                  COMMERCIAL PROPERTY
                                                                                                     CP 04 08 10 12

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                              HIGHER LIMITS
                                                       SCHEDULE

Premises Number:           All                             Building Number:    All
Applicable Coverage Form:      Condominium Association Coverage Form
Description Of Coverage: Outdoor Property (Annual Aggregate Applies)



Revised Amount Of Insurance:         $   150,000 (Per Item Additional Premium: $ Included
                                         Limit for Plants,
                                         Trees and Shrubs:
                                         $1,000)
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

With respect to each Coverage identified in the
Schedule, the amount of insurance provided in this
policy is replaced by the higher amount (Revised
Amount Of Insurance) shown in the Schedule for such
Coverage. All limitations and provisions which relate to
the amount of insurance stated in the policy for such
Coverage continue to apply with respect to the revised
amount.




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                                                                                     COMMERCIAL PROPERTY
                                                                                             CP 10 65 06 07

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      FLOOD COVERAGE ENDORSEMENT
 This endorsement modifies insurance provided under the following:

    COMMERCIAL PROPERTY COVERAGE PART
    STANDARD PROPERTY POLICY


 A. When this endorsement is attached to the Stan-              2. To the extent that a part of the Water Exclusion
    dard Property Policy, the terms Coverage Part and              might conflict with coverage provided under
    Coverage Form in this endorsement are replaced                 this endorsement, that part of the Water Exclu-
    by the term Policy.                                            sion does not apply.
 B. This endorsement applies to the Covered Property            3. To the extent that a tsunami causes the over-
    and Coverages for which a Flood Limit of Insur-                flow of tidal waters, the exclusion of earth-
    ance is shown in the Flood Coverage Schedule or                quake, in the Earth Movement Exclusion, does
    in the Declarations.                                           not apply.
 C. Additional Covered Cause Of Loss                            4. The Ordinance Or Law Exclusion in this Cov-
    The following is added to the Covered Causes Of                erage Part continues to apply with respect to
    Loss:                                                          any loss under this Coverage Part including
                                                                   any loss under this endorsement, unless Ordi-
    Flood, meaning a general and temporary condition               nance Or Law Coverage is added by endorse-
    of partial or complete inundation of normally dry              ment.
    land areas due to:
                                                                5. The following exclusions and limitations are
    1. The overflow of inland or tidal waters;                     added and apply to coverage under this en-
    2. The unusual or rapid accumulation or runoff of              dorsement:
       surface waters from any source; or                          a. We will not pay for any loss or damage
    3. Mudslides or mudflows which are caused by                      caused by or resulting from any Flood that
        flooding as defined in C.2. above. For the pur-               begins before or within 72 hours after the
        pose of this Covered Cause Of Loss, a mud-                    inception date of this endorsement. If you
        slide or mudflow involves a river of liquid and               request and we provide an increase in the
        flowing mud on the surface of normally dry land               stated Limit of Insurance for Flood, the in-
        areas as when earth is carried by a current of                crease will not apply to loss or damage
        water and deposited along the path of the cur-                from any Flood that begins before or within
        rent.                                                         72 hours after your request was made.
    All flooding in a continuous or protracted event will              If the Flood is due to the overflow of inland
    constitute a single flood.                                         or tidal waters, then the Flood is considered
 D. Exclusions, Limitations And Related                                to begin when the water first overflows its
    Provisions                                                         banks.
                                                                    b. We will not pay for loss or damage caused
    1. The Exclusions and Limitation(s) sections of
                                                                       by or resulting from destabilization of land
       the Causes Of Loss Form (and the Exclusions
       section of the Mortgageholders Errors And                       arising from the accumulation of water in
       Omissions Coverage Form and the Standard                        subsurface land areas.
       Property Policy) apply to coverage provided
       under this endorsement except as provided in
       D.2. and D.3. below.




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       c. Under this Coverage Part, as set forth un-               f. We will not pay for loss or damage caused
          der Property Not Covered in the Coverage                    by sewer back-up or overflow unless such
          Form to which this endorsement is at-                       back-up or overflow results from Flood and
          tached, land is not covered property, nor is                occurs within 72 hours after the flood re-
          the cost of excavations, grading, backfilling               cedes.
          or filling. Therefore, coverage under this        E. Additional Coverages And Coverage
          endorsement does not include the cost of             Extensions
          restoring or remediating land due to the col-
          lapse or sinking of land caused by or result-        1. With respect to Flood Coverage, the Debris
          ing from Flood. However, coverage under                 Removal Additional Coverage (and any addi-
          this endorsement includes damage to the                 tional limit for Debris Removal under a Limit Of
          covered portions of the building and to cov-            Insurance clause or an endorsement) is not
          ered personal property, caused by collapse              applicable and is replaced by the following:
          or sinking of land along the shore of a body            DEBRIS REMOVAL
          of water as the result of erosion or under-              a. We will pay your expense to remove debris
          mining caused by waves or currents of wa-
                                                                      of Covered Property and other debris that is
          ter which exceed the cyclical levels and                    on the described premises, when such de-
          cause Flood.                                                bris is caused by or results from Flood.
       d. We do not cover loss or damage by Flood                     However, we will not pay to remove depos-
          to personal property in the open except to                  its of mud or earth from the grounds of the
          the extent that such coverage, if any, is                   described premises.
          specified in the Flood Coverage Schedule                 b. We will also pay the expense to remove
          or in the Declarations.
                                                                      debris of Covered Property that has floated
       e. Property Not Covered, in the Coverage                       or been hurled off the described premises
          Form to which this endorsement is at-                       by Flood.
          tached, is amended and supplemented as                   c. This coverage for Debris Removal, as set
          follows with respect to Flood Coverage:                     forth in E.1.a. and E.1.b. above, does not
         (1) Property Not Covered includes any                        increase the applicable Limit of Insurance
             building or other property that is not eli-              for Flood. Therefore, the most we will pay
             gible for flood insurance pursuant to the                for the total of debris removal and loss or
             provisions of the Coastal Barrier Re-                    damage to Covered Property is the Limit of
             sources Act, 16 U.S.C. 3501 et seq. and                  Insurance for Flood that applies to the Cov-
             the Coastal Barrier Improvement Act of                   ered Property at the affected described
             1990, Pub. L. 101-591, 16 U.S.C. 3501                    premises covered under this endorsement.
             et seq.                                           2. With respect to Flood Coverage, the Coverage
         (2) Property Not Covered includes boat                   Extension for Newly Acquired or Constructed
             houses and open structures, and any                  Property is amended by adding the following:
             property in or on the foregoing, if the
                                                                   a. With respect to Flood Coverage, this Cov-
             structure is located on or over a body of                erage Extension does not apply to any
             water.                                                   building or structure that is not fully en-
         (3) bulkheads, pilings, piers, wharves,
             If                                                       closed by walls and roof.
             docks, or retaining walls that are not
                                                                   b. With respect to a building or structure cov-
             part of a building, have been removed                    ered under this Coverage Extension, the
             from Property Not Covered and added                      amounts of coverage stated in the Cover-
             as Covered Property by separate en-
                                                                      age Extension do not apply to Flood Cover-
             dorsement, this Flood Coverage En-
                                                                      age. Instead, the most we will pay for all
             dorsement does not apply to such prop-
                                                                      loss or damage to property covered under
             erty.
                                                                      this Coverage Extension is 10% of the total
         (4) The following are removed from Prop-                     of all Limits of Insurance for Flood Cover-
             erty Not Covered and are therefore Cov-                  age as provided under this endorsement.
             ered Property:                                           Such coverage does not increase the Limit
               (a) Foundations below the lowest base-                 of Insurance for Flood.
                   ment floor or the subsurface of the
                   ground; and
               (b) Underground pipes, flues and drains.




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    3. With respect to any applicable Additional Cov-               If the Limit of Insurance and the Annual Aggre-
       erages and Coverage Extensions in the Cov-                   gate amount are the same, or if there is no
       erage Form to which this endorsement is at-                  amount stated as an Annual Aggregate, then
       tached, other than those addressed in E.1. and               the Limit of Insurance is the most we will pay
       E.2. above, amounts payable under such other                 for the total of all loss or damage that is caused
       provisions, as set forth therein, do not increase            by Flood in a 12-month period (starting with the
       the Limit of Insurance for Flood.                            beginning of the present annual policy period),
 F. Coinsurance                                                     even if there is more than one occurrence of
                                                                    Flood during that period of time. Thus, if the
    1. The Coinsurance Condition, if any, in the                    first Flood does not exhaust the applicable
       applicable Coverage Form applies to the cov-                 Limit of Insurance, then the balance of that
       erage provided under this endorsement, unless                Limit is available for a subsequent Flood(s).
       the No-Coinsurance Option, in the Flood Cov-
       erage Schedule or in the Declarations, is speci-             If a single occurrence of Flood begins during
       fied as being applicable.                                    one annual policy period and ends during the
                                                                    following annual policy period, any Limit of In-
    2. Various Coverage Extensions, in the Coverage                 surance or Annual Aggregate applicable to the
       Form to which this endorsement is attached,                  following annual policy period will not apply to
       require coinsurance. If the No-Coinsurance                   that Flood.
       Option applies, then the coinsurance require-
       ment for such Coverage Extensions is elimi-              3. Ensuing Loss
       nated.                                                      In the event of covered ensuing loss, for ex-
 G. Limit Of Insurance                                             ample, loss caused by Fire, Explosion and/or
                                                                   Sprinkler Leakage which results from the
    1. General Information                                         Flood, the most we will pay, for the total of all
       Flood Coverage may be written at a Limit of In-             loss or damage caused by flood, fire, explosion
       surance that is equal to or less than the Limit of          and sprinkler leakage, is the Limit of Insurance
       Insurance which applies to other Covered                    applicable to Fire. We will not pay the sum of
       Causes of Loss (e.g., Fire) under this Com-                 the Fire and Flood Limits.
       mercial Property Coverage Part.                       EXAMPLES — ENSUING LOSS
       The Limit of Insurance for Flood is shown in          Two examples follow, using these facts: The Com-
       the Flood Coverage Schedule or in the Decla-          mercial Property Coverage Part, in these examples,
       rations. If such Limit is not shown, then the         includes the Causes of Loss — Basic Form (which
       Limit applicable to Fire also applies to Flood.       covers fire) and this Flood Coverage Endorsement. A
    2. Application Of Limit And Aggregate                    building is damaged by Flood and by Fire which is
                                                             caused by the Flood. The value of the damaged build-
       The Limit of Insurance for Flood is the most we
                                                             ing is $1,000,000. The Limit of Insurance applicable to
       will pay in a single occurrence of Flood for loss
                                                             the building, for the Basic Causes of Loss, is
       or damage caused by the Flood. If there is
                                                             $800,000. The Limit of Insurance for Flood is
       more than one Flood in a 12-month period
       (starting with the beginning of the present an-       $400,000. The Flood Deductible amount is $5,000.
       nual policy period), the most we will pay for the     EXAMPLE #1
       total of all loss or damage sustained during that     The damage due to Flood is $500,000. The damage
       period of time and caused by Flood is the             due to Fire is $500,000.
       amount that is identified as the Annual Aggre-
       gate for Flood as shown in the Flood Coverage         Payment for Flood damage is $400,000 ($500,000
       Schedule or the Declarations.                         damage minus $5,000 Flood deductible = $495,000;
                                                             Limit is $400,000).
                                                             Payment for Fire damage is $400,000 ($500,000
                                                             damage capped at the difference between the Basic
                                                             Limit and the Flood Limit).
                                                             Total Loss Payment is $800,000.




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 EXAMPLE #2                                                          However, this Provision 1.1. does not apply un-
 The damage due to Flood is $800,000. The damage                     der the following circumstances:
 due to Fire is $100,000.                                           a. At the time of loss, the property is eligible to
 Payment for Flood damage is $400,000 ($800,000                         be written under an NFIP policy but such
 damage minus $5,000 Flood deductible = $795,000;                       policy is not in effect due solely to ineligibil-
 Limit is $400,000).                                                    ity of the property at the time this Flood
                                                                         Coverage Endorsement was written; or
 Payment for Fire damage is $100,000 (amount of
 damage).                                                           b. An NFIP policy is not in effect because we
                                                                        have agreed to write this Flood Coverage
 Total Loss Payment is $500,000.                                        Endorsement without underlying NFIP cov-
 Note: These Examples are given only to illustrate the                  erage. There is such an agreement only if
 situation of flood and ensuing loss. Therefore, the loss               the Flood Coverage Schedule or the Decla-
 payment stated for flood damage does not address                       rations indicate that the Underlying Insur-
 the situation where another policy also covers the                     ance Waiver applies.
 flood damage.                                                   2. If there is other insurance covering the loss,
 H. Deductible                                                      other than that described in 1.1. above, we will
     1. The Deductible for coverage provided under                  pay our share of the loss. Our share is the pro-
         this endorsement is the Deductible applicable              portion that the applicable Limit of Insurance
                                                                    under this endorsement bears to the total of
         to Flood as shown in the Flood Coverage
                                                                    the applicable Limits of Insurance under all
         Schedule or in the Declarations.
                                                                    other such insurance. But we will not pay more
     2. We will not pay that part of the loss that is               than the applicable Limit of Insurance stated in
         attributable to any Deductible(s) in the National          the Flood Coverage Schedule or the Declara-
         Flood Insurance Program policy.                            tions of this Coverage Part.
    3. If Flood results in another Covered Cause of
       Loss and if both Covered Causes of Loss
       cause loss or damage, then only the higher
       deductible applies (e.g., the Flood deductible
       or the Fire deductible).
  I. Other Insurance
     The Other Insurance Commercial Property Con-
     dition is replaced by the following with respect to
     the coverage provided under this endorsement:
     1. If the loss is also covered under a National
         Flood Insurance Program (NFIP) policy, or if
         the property is eligible to be written under an
         NFIP policy but there is no such policy in ef-
         fect, then we will pay only for the amount of
         loss in excess of the maximum limit that can be
         insured under that policy. This provision ap-
         plies whether or not the maximum NFIP limit
         was obtained or maintained, and whether or
         not you can collect on the NFIP policy. We will
         not, under any circumstances, pay more than
         the applicable Limit of Insurance for Flood as
         stated in the Flood Coverage Schedule or the
         Declarations of this Coverage Part.




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                                   SERVICE OF SUIT ENDORSEMENT - FLORIDA
Named Insured                                                                                                                        Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol               Policy Number                     Policy Period                                                          Effective Date of Endorsement
FS                          D42295164 002                     05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company

      Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



Information about service of suits upon the company is given below. Service of process of suits against the company may
be made upon the following person, or another person the company may designate:


                          Chief Financial Officer of the State of Florida
                          Department of Financial Services
                          200 E. Gaines Street
                          Tallahassee, FL 32399

The person named above is authorized and directed to accept service of process on the company's behalf in any action,
suit or proceeding instituted against the company. If the insured requests, the company will give the insured a written
promise that a general appearance will be entered on the company's behalf if a suit is brought.

If the insured requests, the company will submit to the jurisdiction of any court of competent jurisdiction. The company will
accept the final decision of that court or any Appellate Court in the event of an appeal. However, nothing in this
endorsement constitutes a waiver of the company's right to: remove an action to a United States District Court, seek a
transfer of a case to another court, or to enforce policy provisions governing choice of law or venue selection, as may be
permitted by the laws of the United States, or of any state in the United States.

Florida law requires that the Chief Financial Officer of the State of Florida be designated as the company's agent for
service of process. In Florida the company designates the Chief Financial Officer as the company's true and lawful
attorney upon whom service of process on the company's behalf may be made. The company also authorizes the Chief
Financial Officer to mail process received on the company's behalf to the company person named below.

                          Mr. Paul Bech, Esq., Associate General Counsel
                          Chubb
                          436 Walnut Street
                          Philadelphia, PA 19106-3703

   NOTHING HEREIN CONTAINED SHALL BE HELD TO VARY, ALTER, WAIVE OR EXTEND ANY OF THE TERMS,
  CONDITIONS, OR LIMITATIONS OF THE POLICY TO WHICH THIS ENDORSEMENT IS ATTACHED OTHER THAN
                                        AS ABOVE STATED.




                                                                                                                     Authorized Representative




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                                                       Westchester Surplus Lines Insurance Company
                                                                             Insurance Company
                                                       Brittany Condominium Association, Inc
                                                                             Policyholder
                                                       D42295164 002
                                                                               Policy Number
                                                       AMWINS BROKERAGE OF FLORIDA INC
                                                                      Broker/Producer

                                     POLICYHOLDER DISCLOSURE
                             NOTICE OF TERRORISM INSURANCE COVERAGE
 You were notified that under the Terrorism Risk Insurance Act, as amended, you have a right to purchase insurance
 coverage for losses resulting from acts of terrorism. As defined in Section 102(1) of the Act: The term "act of terrorism"
 means any act or acts that are certified by the Secretary of the Treasury---in consultation with the Secretary of Homeland
 Security, and the Attorney General of the United States---to be an act of terrorism; to be a violent act or an act that is
 dangerous to human life, property, or infrastructure; to have resulted in damage within the United States, or outside the
 United States in the case of certain air carriers or vessels or the premises of a United States mission; and to have been
 committed by an individual or individuals as part of an effort to coerce the civilian population of the United States or to
 influence the policy or affect the conduct of the United States Government by coercion.

 YOU SHOULD KNOW THAT WHERE COVERAGE IS PROVIDED BY YOUR POLICY FOR LOSSES RESULTING
 FROM CERTIFIED ACTS OF TERRORISM, SUCH LOSSES MAY BE PARTIALLY REIMBURSED BY THE UNITED
 STATES GOVERNMENT UNDER A FORMULA ESTABLISHED BY FEDERAL LAW. HOWEVER, YOUR POLICY MAY
 CONTAIN OTHER EXCLUSIONS WHICH MIGHT AFFECT YOUR COVERAGE, SUCH AS AN EXCLUSION FOR
 NUCLEAR EVENTS. UNDER THE FORMULA, THE UNITED STATES GOVERNMENT GENERALLY REIMBURSES
 80% OF COVERED TERRORISM LOSSES EXCEEDING THE STATUTORILY ESTABLISHED DEDUCTIBLE PAID BY
 THE INSURANCE COMPANY PROVIDING THE COVERAGE. THE PREMIUM THAT WOULD BE CHARGED FOR
 THIS COVERAGE IS PROVIDED BELOW AND DOES NOT INCLUDE ANY CHARGES FOR THE PORTION OF LOSS
 THAT MAY BE COVERED BY THE FEDERAL GOVERNMENT UNDER THE ACT.

 YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK INSURANCE ACT, AS AMENDED, CONTAINS A $100
 BILLION CAP THAT LIMITS U.S. GOVERNMENT REIMBURSEMENT AS WELL AS INSURERS' LIABILITY FOR
 LOSSES RESULTING FROM CERTIFIED ACTS OF TERRORISM WHEN THE AMOUNT OF SUCH LOSSES IN ANY
 ONE CALENDAR YEAR EXCEEDS $100 BILLION. IF THE AGGREGATE INSURED LOSSES FOR ALL INSURERS
 EXCEED $100 BILLION, YOUR COVERAGE MAY BE REDUCED.


 You elected NOT to purchase terrorism coverage under the Act at the price indicated. ACCORDINGLY, WE WILL NOT
 PROVIDE THIS COVERAGE AND YOU DO NOT OWE THE ADDITIONAL PREMIUM FOR THAT COVERAGE
 INDICATED BELOW.

 Terrorism coverage described by the Act under your policy was made available to you for
 additional premium in the amount of $23,800, however you elected to decline such coverage.

TRIA24a (08/20)                                                                                                    Page 1 of 1
  Case 9:22-cv-80627-WPD Document 1-2 Entered on FLSD Docket 04/22/2022 Page 92 of 163
Westchester
A Chubb Company

                              PERSONAL PROPERTY EXCLUSION ENDORSEMENT
Named Insured                                                                                   Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol                 Policy Number   Policy Period                                     Effective Date of Endorsement
FS                            D42295164 002                   05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company

                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                        This endorsement modifies insurance provided under the following:
                              BUILDING AND PERSONAL PROPERTY COVERAGE FORM
                                 CONDOMINIUM ASSOCIATION COVERAGE FORM


This Policy excludes coverage for personal property as set forth under Paragraph A. Coverage., 1. Covered Property,
b. Your Business Personal Property, and c. Personal Property Of Others, as well as set forth under
subparagraph 4. Additional Coverages and 5. Coverage Extensions.

It is understood that the coverage provided in this Policy is limited to building as set forth in A. Coverage., 1. Covered
Property, subparagraph a. Building, as well as any Coverage Extensions thereof, and any Additional Coverages
for building.




All other terms and conditions remain unchanged.




ACE0941 (03/19)                                                                                                       Page 1 of 1
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CHLJOB`




                                         Chubb Producer Compensation
                                             Practices & Policies

Chubb believes that policyholders should have access to information about Chubb's practices and policies related to the
payment of compensation to brokers and independent agents. You can obtain that information by accessing our website
at http://www.chubbproducercompensation.com or by calling the following toll-free telephone number: 1-866-512-2862.




ALL-20887 (10/06)                                                                                          Page 1 of 1
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                                   TRADE OR ECONOMIC SANCTIONS ENDORSEMENT

Named Insured                                                                                         Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number        Policy Period                                         Effective Date of Endorsement
FS                         D42295164 002        05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company


                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




This insurance does not apply to the extent that trade or economic sanctions or other laws or regulations prohibit us from providing
insurance, but not limited to, the payment of claims. All other terms and conditions of policy remain unchanged.




                                                                                                     Authorized Agent




ALL-21101 (11-06) Ptd. In U.S.A.
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CHLJIBIB




                                  Questions About Your Insurance?

Answers to questions about your insurance, coverage information, or assistance in resolving complaints can
be obtained by calling Chubb, Customer Support Service Department, at 1-800-352-4462.




ALL-5X45 (11/96) Ptd. in U.S.A.
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                                                                                                             IL P 001 01 04

     U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                 ASSETS CONTROL ("OFAC")
            ADVISORY NOTICE TO POLICYHOLDERS

 No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your policy. You
 should read your policy and review your Declarations page for complete information on the coverages you are provided.
 This Notice provides information concerning possible impact on your insurance coverage due to directives issued by
 OFAC. Please read this Notice carefully.
 The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
 declarations of "national emergency". OFAC has identified and listed numerous:
    • Foreign agents;
    • Front organizations;
    • Terrorists;
    • Terrorist organizations; and
    • Narcotics traffickers;
 as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States Treasurys web
 site — http//www.treas.gov/ofac.
 In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
 benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
 identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
 immediately subject to OFAC. When an insurance policy is considered to be such a blocked or frozen contract, no
 payments nor premium refunds may be made without authorization from OFAC. Other limitations on the premiums and
 payments also apply.




IL P 001 01 04                                 © ISO Properties, Inc., 2004                                     Page 1 of 1
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                                           HURRICANE PERCENTAGE DEDUCTIBLE
                                        (Total Insurable Values per Building or Structure)
Named Insured                                                                                    Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol              Policy Number            Policy Period                                Effective Date of Endorsement
FS                         D42295164 002            05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company


                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

                                          COMMERCIAL PROPERTY COVERAGE PART
                                        COMMERCIAL INLAND MARINE COVERAGE PART

 Schedule: Per Schedule On File With Company

 Hurricane Deductible Percentage: 5.00 %

 Hurricane Minimum Deductible $25,000 Per Occurrence

The Deductible shown above and described below applies to loss or damage caused by "hurricane", including rain damage
to the interior of any building or structure and the property inside the building or structure, regardless of whether the rain
is driven by wind or not, provided that the building or structure first sustains wind or hail damage to its roof or walls
through which the rain enters.
"Hurricane" means a storm system that has been declared to be a hurricane by the National Hurricane Center or the
National Weather Service.
Hurricane Deductible:
The percentage, shown in the schedule above, of the sum of all values listed in the most recent Schedule of Values on file
with the Company for each separately identifiable building or structure that has sustained a loss or damage and for which
a claim is being made under this policy; subject to the minimum deductible shown in the schedule.
Calculation of the Deductible:
The deductible will be calculated by applying the Deductible Percentage amount shown in the schedule above to the sum
of all values listed in the most recent Schedule of Values on file with the Company for each separately identifiable building
or structure that has sustained loss or damage and for which a claim is being made under this policy, subject to the
Minimum Deductible shown in the schedule. The deductible applies separately to:
a. The Total Insurable Values (11V) per each separate building or structure. The TIV per building or structure shall be
   calculated as the sum of all values listed in the most recent Schedule of Values on file with the Company for Buildings,
   Personal Property, Business Income, and any other values for which coverage is provided under this policy related to
   each separately identifiable structure.
b. Personal property in the open. The TIV for personal property in the open shall be the sum of all personal property in
   the open per location.
If a covered structure is not included on the Schedule of Values, the values at that structure at the time and place of loss
will be used.


Deductible Applicable to Business Income Loss:
A. If coverage is provided for Business Income, the deductible shown above the number of hours shown within the
    definition of "Period of Restoration" contained in Form CP 0030 "Business Income (and Extra Expense) Coverage
    Form" or Form CP 0032 "Business Income (without Extra Expense) Coverage Form" or as otherwise indicated in
    Form CP 1556 "Business Income Changes — Beginning Of The Period Of Restoration".

WP-323090 (03/21)                                       ©Chubb. 2016. All rights reserved.                            Page 1 of 2
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B. In the event that paragraph A. above provides that the deductible "replaces" the hours shown in the definition of
    "Period of Restoration", then the following change is made to the definition of "Period of Restoration" in all three
    coverage forms identified in A. above:
    Paragraph a.(1) is deleted and replaced with:
   (1) at the time of direct physical loss or damage for Business Income Coverage; or




All other terms and conditions remain unchanged.




WP-323090 (03/21)                               ©Chubb. 2016. All rights reserved.                          Page 2 of 2
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              CHUBB°




              Claims Directory
              Property and Inland Marine
              Claims or Loss Notices related to this policy should be reported to the following:

                 Claim Office                           Email and Fax                              Location

               Chubb North          First Notices Email:                                      P.O. Box 5122
               American             ChubbClaimsFirstNotice@Chubb.com                          Scranton, PA
               Claims                                                                         18505-0554
                                    First Notices Fax:
                                            (877)-395-0131 (Toll Free)
                                            (302)-476-7254 (Local)

                                    Phone:
                                              (800)-433-0385 - Business Hours
                                              (800)-523-9254 — After Hours




MA-608255p (04/15)                             ©Chubb. 2016. All rights reserved.                             Page 1 of 1
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                                      SIGNATURES
Named Insured                                                                                                                        Endorsement Number
Brittany Condominium Association, Inc
Policy Symbol               Policy Number                            Policy Period                                                   Effective Date of Endorsement
FS                          D42295164 002                            05/31/2021 to 05/31/2022
Issued By (Name of Insurance Company)
Westchester Surplus Lines Insurance Company
      Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.


THE ONLY SIGNATURES APPLICABLE TO THIS POLICY ARE THOSE REPRESENTING THE COMPANY NAMED ON
THE FIRST PAGE OF THE DECLARATIONS.

                              By signing and delivering the policy to you, we state that it is a valid contract.



                                        ILLINOIS UNION INSURANCE COMPANY (A stock company)
                                           525 W. Monroe Street, Suite 400, Chicago, Illinois 60661



                           WESTCHESTER SURPLUS LINES INSURANCE COMPANY (A stock company)
                            Royal Centre Two, 11575 Great Oaks Way, Suite 200, Alpharetta, GA 30022




           Abw, 6017-
                   EBECCA L. COLLINS. Secretary




                                                                                                                  Authorized Representative




                                                                                                                                          Chubb. Insured:


LD-5S23] (03/14)                                                                                                                                               Page 1 of 1
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                 IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                         IN AND FOR PALM BEACH COUNTY, FLORIDA
                                      CIVIL DIVISION

        BRITTANY CONDOMINIUM
        ASSOCIATION, INC,
             Plaintiff,
                                                                   CASE NO:
        V.

        WESTCHESTER SURPLUS LINES
        INSURANCE COMPANY,
             Defendant.
                                                 /


                                            NOTICE OF FILING

                 Plaintiffs, BRITTANY CONDOMINIUM ASSOCIATION, INC, hereby gives notice of
        filing a correspondence dated March 11, 2022.

                                       CERTIFICATE OF SERVICE

               I HEREBY CERTIFY, that a true and correct copy of the foregoing has been furnished by
        the Service of Process Unit at the State of Florida Department of Financial Services concurrently
        with the Complaint which has been filed with the Clerk of the Circuit Court, In and For Palm
        Beach County, Florida on this 11th day of March 2021.


                                                     Respectfully submitted,

                                                     KRAPF LEGAL, P.A.

                                                      /s/ Grant W. Krapf, Esq.
                                                     GRANT W. KRAPF, ESQ.
                                                     FBN: 072058
                                                     2790 Sunset Point Road
                                                     Clearwater, FL 33759
                                                     Telephone: (727) 777-7450
                                                     E-mail: grant@krapflegal.com
                                                     assist@krapflegal.com
                                                     Counsel for Plaintiffs'




                                                       1
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                                     163

                      KRAPF KI. LEGAL                    G




                                      2790 Sunset Point Road
                                       Clearwater, FL 33759
                                       Phone: 727-777-7450
                                       www.krapflegal.com

   VIA SERVICE OF PROCESS                                                       March 11, 2022

   Westchester Surplus Lines Insurance Company
   c/o Chief Financial Officer, State of Florida
   Division of Legal Services
   200 E. Gaines Street
   Tallahassee, FL 32399

          RE:     Brittany Condominium Association, Inc. v. Westchester Surplus Lines Insurance
                  Company
                  Claim Number: KY21K2908818

   To Whom It May Concern,

           Our firm represents the Plaintiffs, Brittany Condominium Association, Inc., in the
   above-referenced matter. In an effort to expedite the litigation process and bring this dispute to a
   resolution as efficiently as possible, please take the time to review the below requests and our
   standard policies regarding recurrent issues faced at the pleading and discovery phases.

                             PLAINTIFFS' DEPOSITION REQUESTS

          Pursuant to Florida Rule of Civil Procedure 1.310(b)(6), we are requesting that you
   designate one or more officers, directors, managing agents, or other persons to testify at deposition
   on Defendant's behalf regarding the following matters:

          1. The entire investigation of Plaintiffs' claim, including the names and titles of the
             individuals who participated in the investigation.

          2. Information concerning all documents maintained on the matter by name, number,
             author, date prepared, and the type of document.

          3. All payments on the matter, including payments to the insured, Defendant's engineers
             and/or contractors, or third-party claims administrators, if any.

          4. The factual support for any affirmative defenses asserted by Defendant.

          5. The factual support for Defendant's discovery responses.
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        6. The factual support for any of Defendant's denials of the allegations set forth in
           Plaintiffs' Complaint.

        7. All current controlling contracts, agreements or documentation describing relationships
           between Defendant and any third-party claims administrator or adjuster which
           undertook any assignment related to Plaintiffs' claim that depicts the arrangement,
           compensation, and responsibilities of the respective parties as it relates to the
           investigation of Plaintiffs' claim.

        8. The amount of money Defendant has paid any third-party claims administrator or
           adjuster in the previous three (3) years and the number of times Defendant has retained
           any third-party claims administrator or adjuster to adjust insurance claims in the last
           (3) years.

        9. Any and all estimates of repair or statements concerning the nature and extent of
           damage to the subject residence.

        10. The identity of and an explanation of all documents and facts upon which Defendant
            relied in making its decision to issue the policy of insurance at issue in this case.

        11. The identity of and an explanation of all documents comprising Defendant's
            underwriting file for the insured property in issue in this case.

        12. An explanation of how the events which occurred to cause Plaintiffs' damage constitute
            events excluded from the coverage provided by the policy of insurance or are not
            covered under the policy of insurance.

        13. A comprehensive and detailed description of all insurance coverage(s) and coverage
            amounts available under the policy at issue for Plaintiffs' claim.

        14. The date and circumstances which gave rise to Defendant's reasonable expectation or
           belief that litigation would ensue, result, or arise regarding Plaintiffs' claim.

        15. How any actions or omissions on behalf of Plaintiffs voided or excluded coverage.

        16. All person(s) who participated in preparing Defendant's responses and/or answers to
            Plaintiffs' discovery requests.

        17. The identity of all person(s) who participated in retaining any of the third-party claims
            administrators to evaluate Plaintiffs' claim.

        18. Defendant's underwriting manual(s)/guidelines(s) and Plaintiffs' underwriting file.
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          19. The names and addresses of the companies who performed inspections for the
              underwriting department at the time of Plaintiffs' original application and all renewals
              for insurance on the property at issues in this lawsuit.

          20. The underwriting guidelines in effect for the insured property at issue in this lawsuit at
              the time of Plaintiffs' original application for insurance.

          21. Any inspections, evaluations, reports and/or appraisals related to the insured property,
              located at Brittany B, Unit 67, Delray Beach, Florida 33446, in the underwriting file.

          Additionally, we are requesting the depositions of any field adjuster(s) and desk adjuster(s)
   who had any involvement in the subject insurance claim. Please contact our office upon receipt of
   this correspondence to schedule the requested depositions. Thank you for your anticipated
   cooperation.

           We frequently see motions responsive to our request asking the court to determine the
   sequence of depositions. We have no problem producing the Plaintiff(s) for deposition prior to the
   Insurer's corporate representative(s) being deposed so long as the corporate representative
   deposition is scheduled to occur within two (2) weeks of the Plaintiff(s) deposition. There have
   been too many occasions where our clients make themselves available and sit for a deposition
   shortly after a request is made; meanwhile, we then have to wait months before anyone is available
   to be deposed and provide binding testimony on behalf of the Insurer.

                                             PLEADINGS

           There is also an increasingly common trend of motions being filed to enlarge the time in
   which to respond to the Complaint. Generally, we have no issue with granting an extension. If you
   are in need of an extension, please provide a proposed agreed order to assist@krapflegal.com. We
   are willing to grant a twenty (20) day extension in most circumstances so long as the party
   requesting the extension does not file any discovery requests during the extension period. Please
   ensure the order contains the new due date for the responsive pleading.

                                             DISCOVERY

           Likewise, we also receive a motion to enlarge the time in which to respond to discovery in
   a large percentage of the lawsuits we are handling. Generally, we have no issue with granting an
   extension. If you are in need of an extension, please provide a proposed agreed order to
   assist@krapflegal.com. We are willing to grant a twenty (20) day extension in most circumstances
   so long as the party requesting the extension does not file any discovery requests during the
   extension period. Please ensure the Order contains the new due date for the discovery responses.
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               DEMANDS AND REQUEST FOR STATEMENT OF LOSS RECAP

           Please provide a statement of loss recap breaking down any prior payments, withheld
   depreciation and deductibles as soon as possible. In order to facilitate an early resolution, we strive
   to provide a demand as soon as we receive a Notice of Appearance and become aware of who will
   be handling each lawsuit. A statement of loss recap will help ensure that we are in agreement over
   the applicable deductible and prior payments and that this information is accounted for in our
   demand.

                                             INSPECTIONS

           The insured(s) would very much like to repair their dwelling without any further delay.
   Accordingly, please contact inspections@krapflegal.com within twenty-one (21) days of your
   receipt of this letter to schedule a joint inspection of the loss.

                         DEMAND FOR PRESERVATION OF EVDIENCE

           Demand is also made that you preserve all documents, tangible things and electronically
   stored information related to the insured(s), insured property and subject insurance loss/claim. As
   part of this demand, you should immediately suspend any routine destruction of the
   aforementioned evidence. Your preservation obligation extends beyond evidence in your care,
   custody or control, and includes documents, tangible things and electronically stored information
   of any current or former agent, attorney, employee, custodian, or contractor. You must notify any
   of the aforementioned individuals or entities and take reasonable steps to secure their compliance
   with this demand.

          Thank you for your time and prompt attention to all of the above matters. If you have any
   questions or would like to further discuss any of the above, please contact our office.


                                                  Sincerely,

                                                  KRAPF LEGAL, P.A.

                                                   /s/ Grant W. Krapf, Esq.
                                                  GRANT W. KRAPF, ESQ.
                                                  FBN: 072058
                                                  Clearwater, FL 33759
                                                  Telephone: (727) 777-7450
                                                  E-mail: grant@krapflegal.com
                                                  assist@krapflegal.com
                                                  Counsel for Plaintiffs'
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                                                 PM
                 IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                         IN AND FOR PALM BEACH COUNTY, FLORIDA
                                      CIVIL DIVISION

        BRITTANY CONDOMINIUM
        ASSOCIATION, INC,
             Plaintiff,
                                                                    CASE NO:
        V.

        WESTCHESTER SURPLUS LINES
        INSURANCE COMPANY,
             Defendant.
                                                 /

                         PLAINTIFF'S NOTICE OF SERVICE OF FIRST SET OF
                               INTERROGATORIES TO DEFENDANT

                COME NOW, the Plaintiffs, BRITTANY CONDOMINIUM ASSOCIATION, INC., by
        and through the undersigned counsel and pursuant to Rule 1.340(e) of the Florida Rules of Civil
        Procedure, hereby give notice that an original and one copy of Plaintiffs First Interrogatories to
        Defendant, numbered 1 through 24, will be served upon Defendant, WESTCHESTER SURPLUS
        LINES INSURANCE COMPANY, which is required to provide its answers in writing under oath
        within forty-five (45) days of receipt hereof.

                                       CERTIFICATE OF SERVICE

               I HEREBY CERTIFY, that a true and correct copy of the foregoing has been furnished by
        the Service of Process Unit at the State of Florida Department of Financial Services concurrently
        with the Complaint which has been filed with the Clerk of the Circuit Court, In and For Palm
        Beach County, Florida on this 11th day of March 2021.

                                                     Respectfully submitted,

                                                     KRAPF LEGAL, P.A.

                                                      /s/ Grant W. Krapf, Esq.
                                                     GRANT W. KRAPF, ESQ.
                                                     FBN: 072058
                                                     2790 Sunset Point Road
                                                     Clearwater, FL 33759
                                                     Telephone: (727) 777-7450
                                                     E-mail: grant@krapflegal.com
                                                     assist@krapflegal.com
                                                     Counsel for Plaintiffs'
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                    IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                            IN AND FOR PALM BEACH COUNTY, FLORIDA
                                         CIVIL DIVISION

        BRITTANY CONDOMINIUM
        ASSOCIATION, INC,
             Plaintiff,
                                                                     CASE NO:
        V.

        WESTCHESTER SURPLUS LINES
        INSURANCE COMPANY,
             Defendant.
                                                  /


                PLAINTIFFS' FIRST REQUEST FOR PRODUCTION TO DEFENDANT

               COME NOW the Plaintiffs, BRITTANY CONDOMINIUM ASSOCIATION, INC., by

        and through the undersigned counsel, and pursuant to Rule 1.350 of the Florida Rules of Civil

        Procedure, hereby request Defendant, WESTCHESTER SURPLUS LINES INSURANCE

        COMPANY, produce for inspection, copying or photographing at the office of KRAPF LEGAL,

        P.A., 2790 Sunset Point Road, Clearwater, FL 33759, within forty-five (45) days of receipt hereof,

        or at such other time and place as may be agreed upon between counsel, all documents and things

        in the possession, custody or control of Defendant, WESTCHESTER SURPLUS LINES

        INSURANCE COMPANY, which are responsive to the requests contained in the numbered

        paragraphs below:

               I.      DEFINITIONS AND INSTRUCTIONS

        A.     As used herein, "Defendant", "you" or "your" shall mean Defendant, WESTCHESTER

        SURPLUS LINES INSURANCE COMPANY, its affiliates, partners, agents, servants, employees,

        attorneys, expert witnesses, accountants, auditors, and all persons or entities over which Defendant

        has control or have been hired, retained or employed for any purpose by it, whether directly by it

        or through any other person or entity.
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   B.     As used herein, "Plaintiffs" shall mean Plaintiffs, BRITTANY CONDOMINIUM

   ASSOCIATION, INC., and Plaintiffs' affiliates, partners, agents, servants, employees, attorneys,

   expert witnesses, accountants, auditors, and all persons or entities over which Plaintiffs have

   control or have been hired, retained or employed for any purpose by it, whether directly by it or

   through any other person or entity.

   C.     As used herein, the term "Insured Property" shall be defined to mean Plaintiffs' property

   located at Brittany B, Unit 67, Delray Beach, Florida 33446.

   D.     As used herein, the term "Claim" shall be defined to mean Plaintiffs' insurance claim

   assigned claim number KY21K2908818.

   E.     As used herein, the term "document" or "documents" shall be defined to include any and

   all documents, memoranda (including written memoranda of telephone conversations, oral

   communications, discussions, agreements, acts or activities), letters, postcards, telegrams,

   messages (including telephone messages), facsimiles, intra-and interoffice communications,

   correspondence, handwritten and/or typewritten notes, pamphlets , diaries, records of any kind,

   sound recordings, contracts, agreements, books, letters, reports, catalogues, financial statements,

   receipts, invoices, billing statements (including credit card and telephone statements), purchase

   orders, proposals, affidavits, advertisements, solicitations, indices, data processing cards, other

   data processing materials, data, maps, directives, desk pads, calendars, scrap books, notebooks,

   drawings, diagrams, sketches, statistical records, appointment books, diaries, computer printouts,

   data processing input and output, computer input and output, e-mail, microfilms, other records

   kept by electronic, photographic or mechanical means, and writing of every kind and character,

   including preliminary drafts and other copies of the foregoing, however, produced or reproduced.



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   If multiple copies of a document exist, each copy which is any way not completely identical to a

   copy which is being produced should also be produced.

   F.     As employed herein, "all documents" shall refer to and shall include every document as

   above-defined, known to you and every such document or thing that can be located or discovered

   by reasonable diligent efforts, whether or not originally in your custody, possession or control.

   G.     When producing the requested documents and things, please produce same as they are kept

   in the usual course or business or label them to correspondence with the categories of this request

   for production.

   H.     If you claim a privilege as to any documents or thing encompassed by this request for

   production, you are requested to make the claim expressly and describe the nature of the

   documents, communications or things not produced or disclosed in a manner that without revealing

   information itself protection claimed.

   I.     The words "relating to" mean concerning, respecting, referring to, summarizing, digesting,

   embodying, reflecting, establishing, tending to establish, tending not to establish, evidencing,

   comprising, connected with, commenting on, responding to, disagreeing with, showing,

   describing, analyzing, representing, constituting, or including.

          II.     DOCUMENTS TO BE PRODUCED

   1.    A certified copy of the subject insurance policy, including any and all endorsements,
   addendums, attachments and enclosures.

   2.     Any and all applications for any and all insurance with the Defendant, including the
   subject insurance policy, including any photographs taken in the underwriting policy.

   3.     The complete underwriting file for the subject insurance policy.

   4.    Any and all checks, drafts, documents, items, notices, pamphlets, questionnaires,
   surveys, and/or instruments evidencing payment to the Plaintiffs and/or the Plaintiffs'
   representatives for the subject claim. (note this includes, but it not limited to, any
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   correspondences, letters, reports, and/or estimates enclosed or attached with payment).

   5.     Any and all recorded statements, whether by a named insured, additional insured, or
   behalf of the insured for the subject claim.

   6.    Any and all recorded statements Defendant relied upon in making a coverage
   determination for the subject claim.

   7.     Any and all recorded statements of the Plaintiffs taken over the past 3 years.

   8.     Any reports discussing any damages and/or the lack of damages to the subject property.

   9.      Any and all notes and/or reports reflecting any statements of the Plaintiffs and/or the
   Plaintiffs' representatives in reference to the subject claim.

   10. Any and all notes and/or reports reflecting any statements of the Plaintiffs and/or the
   Plaintiffs' representatives that Defendant relied upon and/or considered in making a coverage
   decision for the subject claim.

   11.    Any and all examinations under oaths taken for the subjectclaim.

   12. Any and all statements contemplated by Fla. Stat.§ 92.33, whether by Plaintiffs,
   additional insured, or on behalf of the Plaintiffs.

   13. Any and all photographs of the subject property taken prior to the subject loss
   date.

   14.    Any and all photographs of the subject property taken after the subject loss date.

   15.    Any and all photographs taken in reference to the subject claim.

   16. Any and all photographs that Defendant and/or its representatives relied upon and/or
   considered in making a coverage determination for the subject claim.

   17. Any and all photographs taken on behalf of the Defendant and/or its
   representatives for any subsequent insurance claims.

   18. Any and all reports taken on behalf of the Defendant and/or its representatives for
   any subsequent insurance claims.

   19.    Any and all video taken for the subject claim by Defendant and/or its representatives.

   20.    Any and all correspondences, emails, text messages and/or communications sent by
   the Defendant in reference to the subject claim.

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   21.    Any and all correspondences, emails, text messages and/or communications sent by
   the Defendant in reference to the subject insurance policy.


   22.    Any and all correspondences, emails, text messages and/or communications received
   by the Defendant in reference to the subject claim.

   23.    Any and all correspondences, emails, text messages and/or communications received
   by the Defendant in reference to the subject insurance policy.

   24.    Any estimates prepared by Defendant and/or on Defendant's behalf for the subject
   claim.

   25.   Any estimates prepared by Defendant and/or on Defendant's behalf for any
   subsequent insurance claims.

   26.    Any estimates Defendant received in reference to the subject claim.

   27.    Any and all communications between Defendant and any individual who inspected
   the subject property on Defendant's behalf.

   28.   Any and all reports prepared by any individual who inspected the subject property on
   Defendant's behalf.

   29.   Any and all invoices for any individual who inspected the subject property on
   Defendant's behalf.

   30.    Any requests for a sworn proof of loss for the subject claim.

   31.    Any requests for an examination under oath for the subject claim.

   32. Any requests for compliance with any post loss obligation under the subject policy in
   reference to the subject claim.

   33. Any documents communicating a coverage decision to the Plaintiffs for the subject
   claim.

   34.    Any receipts and/or invoices for repairs in reference to the subject claim.

   35. Documents relating to the initial inspection and/or appraisal for the original inception
   of the subject insurance policy, including any reports such as a "four point" inspection.

   36. Any reservation of rights letter(s) sent by the Defendant and/or on Defendant's behalf
   in reference to the subject claim.

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   37. Any documentation evidencing the credentials and/or licensing information for any
   individual who inspected the subject property in reference to the subject claim.


   38. Any documentation evidencing the credentials and/or licensing information for any
   individual on behalf of the Defendant who communicated with the Plaintiffs and/or to an
   individual on the Plaintiffs' behalf for the subject claim.

   39. Any estimate that Defendant and/or a representative of Defendant has prepared for the
   subject property for the past 5 years.

   40.    Any estimate that Defendant and/or a representative of Defendant has prepared for the
   subject property for the past 3 years.

   41.     Any and all communications and/or contracts Defendant received on behalf of the
   Plaintiffs for the subject claim.

   42.    Any estimates, contracts and/or proposals Defendant received from Plaintiffs and/or
   on Plaintiffs' behalf for the subject claim.

   43.    Any requests for appraisal submitted by anyone for the subject claim.

   44.   If Defendant claims the claimed damages were pre-existing, any documents that
   support this assertion.

   45.     If Defendant claims the claimed damages were long term, any documents that support
   this assertion.

   46.    If Defendant claims the claimed damages were due to wear and tear, any documents
   that support this assertion.

   47.     Any documents reflecting Defendant invoking its option to repair under the
   policy.

   48.    Any documents that support the affirmative defenses asserted by Defendant.

   49.    Any and all documents relating to any alleged material misrepresentation(s) regarding
   the subject claim.

   50.    Any and all documents relating to any alleged failure to cooperate of the Plaintiffs
   regarding the subject claim.

   51.   Any and all documents the Defendant relied upon and/or considered in making a
   coverage decision for the subject claim.

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   52.    Any reports from any person retained by the Defendant to evaluate the waste line at
   the subject property for the subject claim.

   53.    Any documents in reference to any prior insurance claim(s) that Defendant is relying
   upon in adjusting the subject insurance claim.

   54.     Any documents in reference to any prior insurance claim(s) made bythe Plaintiffs for
   the last 10 years.

   55.     Any documents in reference to any prior insurance claim(s) made bythe Plaintiffs for
   the last 5 years.

   56.    Any evidence of the subject insurance policy being provided to Plaintiffs fromthe
   time of the reporting of the subject insurance claim until the time of the filing of this action.

   57.   Any evidence of the subject property showing that permits are not necessary in order
   to complete the repairs.

   58.  Any documentation showing Defendant accepted and retained the deductible
   payment made by Plaintiffs.

   59.     Defendant's privilege log, pursuant to Florida Rule of Civil Procedure 1.280(b)(5), which
   identifies with particularity any and all documents withheld in response to the preceding
   paragraphs as privileged, confidential or otherwise protected from discovery.

                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY, that a true and correct copy of the foregoing has been furnished by
   the Service of Process Unit at the State of Florida Department of Financial Services concurrently
   with the Complaint which has been filed with the Clerk of the Circuit Court, In and For Palm
   Beach County, Florida on this 11th day of March 2021.


                                                KRAPF LEGAL, P.A.

                                                 /s/ Grant W. Krapf, Esq.
                                                GRANT W. KRAPF, ESQ.
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                                                Counsel for Plaintiffs'


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                     IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                             IN AND FOR PALM BEACH COUNTY, FLORIDA

                                                              ADMINISTRATIVE ORDER 3.107
                                                                (Correcting scriveners error)

        IN RE: ADOPTION AND IMPLEMENTATION OF
                CIVIL DIFFERENTIATED CASE MANAGEMENT PLAN
                FOR CASES FILED ON OR AFTER APRIL 30, 2021


                 The Florida Supreme Court has directed that in order to maximize the resolution of cases,
        every circuit must implement a differentiated case management plan for handling civil cases. Fla.
        Admin. Order AOSC20-23, Amendment 10 (Fla. March 9, 2021) (available at
        https ://www.floridasuprem ecourt. or gicontent/downl oad/724015/fi e/AO S C 20-23 -Am endment-
        10.pdt). This plan must go into effect on April 30, 2021, and must require the presiding judge for
        each civil case filed on or after that date to actively manage civil cases in a specified manner.
               NOW, TBEREFORE, pursuant to the authority conferred by Florida Rule of General
        Practice and Judicial Administration 2.215, it is ORDERED as follows:
        1.    Effective April 30, 2021, there is established within the Fifteenth Judicial Circuit a Civil
              Differentiated Case Management Plan applicable to all newly filed circuit and county civil
              cases, excluding cases subject to summary procedure and small claims case types unless the
              civil rules have been invoked. This Plan, which is attached hereto, requires judges to hold a
              case management hearing in each civil case within 30 days from the service deadline.'
              Following that hearing, the judge is required to assign the case to a defined track and issue a
              corresponding case management order. Subject to the presiding judge's approval, a hearing
              is not necessary in cases where parties file an agreed case management plan prior to the initial
              case management hearing or if the judge determines that a case management order can be
              entered without a hearing.

        2.    All Agreed Case Management Plans submitted by the parties pursuant to the Plan shall be
              docketed by the Clerk of the Circuit Court with a DCMAP docket designator. Orders
              Accepting Agreed Case Management Plans shall be docketed by the Clerk of the Circuit
              Court with a DCMAO docket designator. Orders Implementing Case Management Plan
              absent party agreement shall be docketed by the Clerk of the Circuit Court with a DCMOI
              docket designator.




         Per Florida Rule of Civil Procedure 1.070(j), the deadline for effectuating service of initial process is
        120 days from the date the complaint is filed. Therefore, unless the time for service has been extended by
        court order, case management hearings will occur within 150 days from the date the case was filed.
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   3.   The applicable Standing Order as attached to the Plan should be served with each summons
        issued in a civil case as defined in the Plan. The Clerk of Circuit Court is directed to reject
        summonses that do not have the Standing Order attached. The Clerk of Circuit Court shall
        pend back the summons and notify the filer that the summons is not being accepted for filing
        until the Standing Order is attached.

   4.   The Clerk of Circuit Court will docket returns of service with a SVRT designator and returns
        of non-service with a NSRTN designator. The Clerk may pend back a Notice of Filing
        attaching a return or non-return of service and direct the party to refile. The Clerk of Court
        may also pend back a filing if multiple returns of service are submitted in one filing.

        DONE and SIGNED in Chambers at West Palm Beach, Palm Beach County, Florida, this
         29th day of April, 2021, nunc pro tune April 28, 2021.




                                                Krista Marx, Chief Judge
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                           Fifteenth Judicial Circuit
                  Civil Differentiated Case Management Plan
                                     2021
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      I.         Purpose
       The Fifteenth Circuit Differentiated Case Management Plan ("Plan") is being implemented
   upon order of the Florida Supreme Court. Fla. Admin. Order AOSC20-23, Amendment 10 (Fla.
   March 9, 2021). The Plan seeks to implement differentiated case flow management procedures
   for the purpose of ensuring that newly filed civil cases are resolved as close to the model time
   frames set forth in Florida Rule of General Practice and Judicial Administration 2.250(a)(1)(B) as
   possible.

      IL         Scope
      This Plan applies to all civil cases filed in both the county and circuit court in Palm Beach
  County on or after April 30, 2021. For purposes of this Plan, the term "civil case" means any civil
  case where, as identified in Florida Rule of Civil Procedure 1.010, the Florida Rules of Civil
  Procedure apply. It also includes actions in which the Court has ordered that the action proceed
  under one or more of the Florida Rules of Civil Procedure pursuant to Florida Small Claims Rule
  7.020(c). It does not include cases that are subject to the:

             •   Rules of Small Claims
             •   Rules of Family Law
             •   Rules of Probate
         It also does not include cases that require or permit summary procedure. Summary
  procedure cases include

             •   Actions to recover possession of real property under chapter 82, Florida Statutes
                 (residential evictions)
             •   Landlord actions to remove tenants under section 83.59, Florida Statutes (unlawful
                 detainer)
             •   Certain actions to enforce liens on real and personal property under chapter 85, Florida
                 Statutes (See, § 85.011, Fla. Stat.)
             •   Certain condominium actions under chapter 718, Florida Statutes (See, § 718.116(8)(e),
                 Florida Statutes)
             •   Actions to remove mobile home owners or mobile homes under section 723.061,
                 Florida Statutes; and
             •   Certain regulatory actions, such as Department of Health disciplinary actions and
                 licensure denials under sections 483.825(1)(/) and 490.009(1)(p), Florida Statutes.

      III.       Civil Case Tracks — Definition & Guidelines

                 a. Complex Case Track

                   i. Overview and Manner of Assignment: The complex case track involves those
                      cases with extraordinary complexity as to require or benefit from early
                      intervention and individual judicial management. Complex cases are defined by
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                   Florida Rule of Civil Procedure 1.201. Cases may only be assigned to the
                   complex case track in one of two ways:

                           1.   Motion or stipulation by the parties with court approval. Fla. R. Civ.
                                P. 1.201(a)
                           or

                           2.   Designation by the Court on its own Motion following a case
                                review. Fla. R. Civ. P. 1.201.

                   Types of Cases: Examples of case types that may be appropriate for the complex
                   case track are:

                            • Class Actions
                            • Environmental/Toxic Torts
                            • Mass torts
                            • Antitrust/Trade Regulation
                            • Medical Malpractice
                            • Nursing Home Negligence
                            • Securities Litigation
                            • Tobacco

                 Case Management Process: Cases that are designated as complex will be set for
                 a case management conference by the assigned judge within 60 days from the
                 complex track designation and will follow the procedures set forth in Rule 1.201
                 thereafter.

             b. General Case Track

  The general case track encompasses the large majority of civil cases. General cases require a
  moderate level of judicial case management to reach timely resolution unless unusual pretrial
  delays arise. Most circuit civil cases with a demand for jury trial will fall into the general case
  track. General cases may include:

             •   Contracts and Indebtedness
             •   Auto Negligence
             •   Premises Liability

             c. Streamlined Case Track

  Streamlined cases are those cases normally requiring little judicial intervention with relatively
  simple procedural and legal issues that can be resolved promptly by early referral to mediation/
  ADR or expedited hearing. Streamlined cases may include:
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                • County Court Civil Cases
                • Contested Commercial Foreclosures
                • Circuit Non-jury Cases
                • First Party Insurance Claims

                d. Expedited Case Track
   Expedited cases are those requiring the least amount ofjudicial intervention. Expedited cases may
   include:
                •   Contested Residential Foreclosures
                •   Ejec-tments
                •   Uncontested Cases
                •   PIP Cases

               e. Model Time Frames
   Per the guidelines set forth in Florida Rule of General Practice and Judicial Administration
   2.250(a)(1)(B) and Florida Rule of Civil Procedure 1.201(b)(3) as well the Circuit's historical data,
   case management plans should be based on the following model time frames from filing to
   disposition:
               • Complex: 24 months
               • General: 18 months
               • Streamlined: 12 Months
               • Expedited: 8 Months

      IV.      Case Management Procedures

                Standing Order for Case Management Procedures: In all civil cases, the Clerk will
                provide plaintiffs seeking a summons with the applicable Standing Order for Case
                Management and Request for Agreed Case Management Plan. Plaintiffs should serve
                this order on all parties along with a copy of the Complaint. If the parties are unable
                to agree on an Agreed Case Management Plan as outlined in the Standing Order by
                the applicable deadline, the case will proceed as outlined below. Matters that arise out
                of the parties' attempts to agree on an Agreed Case Management Plan will not be
                heard at the Court's Uniform Motion Calendar.

                Assignment to Complex Track: If, on motion of the parties or the Court, the case is
                assigned to the complex track, the case will be set for a case management hearing
                within 60 days from designation and will follow the procedures set forth in Rule 1.201
                thereafter.

        iii.    Initial Review for Service: In all other civil cases, case managers will review
                pleadings and case events 90 days after filing for identification of proper service of all
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             named defendants. In cases where summons(es) have been issued but there has not
             been proper service or a responsive pleading filed by defendant(s), case managers will
             prepare Order(s) to Serve.

       iv. Dismissal for Lack of Service/Scheduling of Case Management Hearing or
             Issuance of an Order Implementing a Case Management Plan: Case managers will
             review pleadings and case events 120 days after filing for identification of proper
             service and the filing of an Agreed Case Management Plan.

               a. For cases where there is no proper service or a responsive pleading filed by
                  defendant(s) at 120 days and there was previously an Order to Serve issued,
                  case managers will prepare an Order of Dismissal for Lack of Service.

               b. For cases where there has been proper service on at least one defendant but the
                  parties have not submitted an Agreed Case Management Plan, case managers
                  will notify the assigned judge that the parties have not complied with the
                  applicable Standing Order. The Court will then either schedule a case
                  management hearing or issue an Order Implementing Case Management Plan
                  without agreement of the parties within 150 days from the date of filing the
                  complaint. Each order setting a matter for case management hearing will
                  require the parties to submit a Case Management Report to the presiding judge
                  no later than 10 days prior to the scheduled case management hearing. Each
                  order implementing a case management plan without a hearing must include the
                  information outline in subsection v., below.

        v.   Case Management Hearing: At the scheduled case management hearing, the Court
             will determine whether the case should be assigned to the general, streamlined, or
             expedited track and will enter a corresponding case management order. The case
             management order must, at minimum, specify:

                           o Deadlines for
                                 • Service of complaints
                                 • Service under extensions
                                 • Adding new parties
                                 • Amending pleadings
                                 • The completion of fact and expert discovery
                                 • The resolution of objections to pleadings
                                 • The filing of pretrial motions
                                 • Completion of mediation
                           o A projected date of trial
                           o Whether the parties are seeking a jury trial or non-jury trial
                           o Estimated amount of time required for trial
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             Additionally, each order must indicate that the deadlines established will be strictly
             enforced by the Court and that a firm trial date will be ordered by the presiding judge
             when the case is at issue pursuant to Florida Rule of Civil Procedure 1.440.

       vi.   Opting Out of Case Management Hearing: Parties may opt out of attending the
             case management hearing by submitting an Agreed Case Management Plan and
             Order Approving Agreed Case Management Plan for the Court's approval and
             signature within 130 days of the date of the filing of the complaint. Any Agreed Case
             Management Plan should specify:

                          •   The case track
                          •   Deadlines for
                                 o Service of complaints
                                 o Service under extensions
                                 o Adding new parties
                                 o Amending pleadings
                                 o The completion of fact and expert discovery
                                 o The resolution of objections to pleadings
                                 o The filing of pretrial motions
                                 o Completion of mediation
                          •   Whether the parties are seeking a jury trial or non-jury trial
                          •   The amount of time required for trial
                          •   A projected date the parties will be prepared to proceed to trial
              The Agreed Case Management Plan should be attached in PDF format to a proposed
              Order Approving Agreed Case Management Plan and submitted to the divisional
              queue through the Circuit's OLS system. If the case was already scheduled for a
              Case Management Hearing at the time the Agreed Case Management Plan is
              submitted, the proposed Order Accepting Agreed Case Management Plan should
              also cancel the Case Management Hearing and will include the date and time of
              the hearing in the title and again in the body of the order.
              If a case management hearing is set and the parties do not opt out by filing an
              Agreed Case Management Plan, attendance at the hearing by trial counsel an those
              parties who are not represented is mandatory.

      vii.   Conversion of Small Claims Cases to Civil Cases. When the parties to a small
             claims case (including Personal Injury Protection cases) file a Stipulation to Invoke
             the Rules of Civil Procedure, the case will be considered a civil case for purposes of
             the Plan. To ensure compliance with the Plan, the parties should file:

                  •   Stipulated Order to Invoke the Rules of Civil Procedure
                  •   A completed Agreed Case Management Plan
                  •   Order Approving Agreed Case Management Plan
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                IN THE COUNTY COURT FOR THE FIFTEENTH JUDICIAL CIRCUIT
                        IN AND FOR PALM BEACH COUNTY, FLORIDA


            IN RE: STANDING ORDER FOR
            CASE MANAGEMENT FOR SUBMISSION
            OF AGREED CASE MANAGEMENT PLAN FOR
            CASES FILED ON OR AFTER APRIL 30, 2021




      STANDING ORDER FOR CASE MANAGEMENT AND SUBMISSION OF AGREED
            CASE MANAGEMENT PLAN IN COUNTY CIVIL CASES IN THE
         PALM BEACH COUNTY COURT FILED ON OR AFTER APRIL 30, 2021
                                (DCMS0)

            Pursuant to Florida Rule of Civil Procedure 1.200(a), Florida Rule of General Practice and
    Judicial Administration 2.545, and Administrative Order 3.107 entered by the Chief Judge of this
    Circuit, the parties are informed of the following information and procedures applicable to civil
    lawsuits filed on or after April 30, 2021:

            1. SERVICE OF THIS ORDER. The Plaintiff is directed to serve a copy of this Order
    with each Summons issued in this case. One copy of this Order is to be filed with the Clerk of the
    Circuit Court with proof of service.

            2. CIVIL CASE MANAGEMENT SYSTEM. The Supreme Court of Florida has
    established guidelines for the prompt processing and resolution of civil cases. This Court has
    adopted a case management system to help meet those guidelines. In contested cases, the parties
    are required to participate in the case management system. The case management system requires
    early consultation and cooperation among the parties for the preparation and submission of an
    Agreed Case Management Plan and early involvement by the Court. The Agreed Case
    Management Plan requires the parties to identify a case track, confer in a good faith and attempt
    to narrow the matters in controversy, identify the issues that require direct involvement by the
    Court, and establish a schedule for addressing those issues.' The Agreed Case Management Plan
    may be accessed at the Court's website at: https://15thcircuit.com/civil-differentiated-forms-and-
    orders.
    Unless all of the Defendants have been served and have been defaulted or dropped, an Agreed
    Case Management Plan must be submitted to the assigned divisional queue via the Court's online
    scheduling system (OLS) as an attachment, in PDF format, to a proposed Order Accepting Agreed
    Case Management Plan on or before 130 days from the date of filing of the initial complaint. If

      Case Track options include Expedited, Streamlined, General, or Complex. Case Tracks have been
    established in order to comply with the case disposition standards set forth in Florida Rule of General
    Practice and Judicial Administration 2.250(a)(1)(B).
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    the parties are unable to agree on an Agreed Case Management Plan by the applicable deadline, a
    case management conference will be scheduled by the Court or the Court will review and issue an
    Order Implementing Case Management Plan without agreement of the parties. No matters that
    arise as a result of this standing order, including lack of agreement, will be set on the Court's
    Uniform Motion Calendar and will, instead, be settled by the Court either at the case management
    conference or via an Order Implementing Case Management Plan without agreement of the parties.
    If a case management conference is scheduled, attendance by trial counsel and those parties who
    are not represented by counsel is mandatory.
    If all Defendants are served and defaulted or dropped, the Plaintiff will file the appropriate
    documentation to pursue a Default Final Judgment within 130 days of the filing of the complaint
    and Final Judgment is to be entered or set for hearing within 150 days of the filing of the complaint.

             3. NON-APPLICABILITY TO SMALL CLAIMS CASES. The above outlined civil
    case management system does not apply to cases proceeding under the Florida Rules of Small
    Claims. However, when parties to a small claims case (including Personal Injury Protection cases)
    file a Stipulation to Invoke the Rules of Civil Procedure, the civil case management system will
    apply. Therefore, parties to small claims cases who invoke the Rules of Civil Procedure should
    submit an Agreed Case Management Plan and Order Approving the Agreed Case Management
    Plan as outlined above along with their Stipulation to Invoke the Rules of Civil Procedure.

            4. MEDIATION/ALTERNATIVE DISPUTE RESOLUTION fADRI. ADR provides
    parties with an out-of-court alternative to settling disagreements. Mediation is a type of ADR
    wherein an independent third party attempts to arrange a settlement at a conference between the
    parties. The Court requires the parties to participate in Mediation prior to trial unless the parties
    agree to another form of ADR.

            DONE AND ORDERED in Chambers at West Palm Beach, Florida, on this 26th day of
    April, 2021,




                                                                  Administrative County Judge
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                IN THE CIRCUIT COURT FOR THE FIFTEENTH JUDICIAL CIRCUIT
                        IN AND FOR PALM BEACH COUNTY, FLORIDA


            IN RE: STANDING ORDER FOR
            CASE MANAGEMENT FOR SUBMISSION
            OF AGREED CASE MANAGEMENT PLAN FOR
            CASES FILED ON OR AFTER APRIL 30, 2021




      STANDING ORDER FOR CASE MANAGEMENT AND SUBMISSION OF AGREED
                    CASE MANAGEMENT PLAN IN CIVIL CASES
      IN THE FIFTEENTH JUDICIAL CIRCUIT FILED ON OR AFTER APRIL 30, 2021
                                   IDCMS0)

            Pursuant to Florida Rule of Civil Procedure 1.200(a), Florida Rule of General Practice and
    Judicial Administration 2.545, and Administrative Order 3.107 entered by the Chief Judge of this
    Circuit, the parties are informed of the following information and procedures applicable to civil
    lawsuits filed in the Circuit Court on or after April 30, 2021:

            1. SERVICE OF THIS ORDER. The Plaintiff is directed to serve a copy of this Order
    with each Summons issued in this case. One copy of this Order is to be filed with the Clerk of the
    Circuit Court with proof of service.

            2. CIVIL CASE MANAGEMENT SYSTEM. The Supreme Court of Florida has
    established guidelines for the prompt processing and resolution of civil cases. This Court has
    adopted a case management system to help meet those guidelines. In contested cases, the parties
    are required to participate in the case management system. The case management system requires
    early consultation and cooperation among the parties for the preparation and submission of an
    Agreed Case Management Plan and early involvement by the Court. The Agreed Case
    Management Plan requires the parties to identify a case track, confer in good faith and attempt to
    narrow the matters in controversy, identify the issues that require direct involvement by the Court,
    and establish a schedule for addressing those issues The Agreed Case Management Plan may be
    accessed at the Court's website at: https:// 1 5thci rc uit.com/civil-differentiated-forms-and-orders.
    Unless all of the Defendants have been served and have been defaulted or dropped, an Agreed
    Case Management Plan must be submitted to the assigned divisional queue via the Court's online
    scheduling system (OLS) as an attachment, in PDF format, to a proposed Order Accepting Agreed
    Case Management Plan on or before 130 days from the date of filing of the initial complaint. If
    the parties are unable to agree on an Agreed Case Management Plan by the applicable deadline, a


    1 Case Track options include Expedited, Streamlined, General, or Complex. Case Tracks have been
    established in order to comply with the case disposition standards set forth in Florida Rule of General
    Practice and Judicial Administration 2.250(a)(1)(B).
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    case management conference will be scheduled by the Court or the Court will review and issue an
    Order Implementing Case Management Plan without agreement of the Parties. No matters that
    arise as a result of this standing order, including lack of agreement, will be set on the Court's
    Uniform Motion Calendar and will, instead, be settled by the Court either at the case management
    conference or via an Order Implementing Case Management Plan without agreement of the parties.
    If a case management conference is scheduled, attendance by trial counsel and those parties who
    are not represented by counsel is mandatory.
    If all Defendants are served and defaulted or dropped, the Plaintiff will file the appropriate
    documentation to pursue a Default Final Judgment within 130 days of the filing of the complaint
    and Final Judgment is to be entered or set for hearing within 150 days of the filing of the complaint.

                    3. MEDIATION/ALTERNATIVE DISPUTE RESOLUTION (ADR). ADR
    provides parties with an out-of-court alternative to settling disagreements. Mediation is a type of
    ADR wherein an independent third party attempts to arrange a settlement at a conference between
    the parties. The Court requires the parties to participate in Mediation prior to trial unless the parties
    agree to another form of ADR.


            DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,
    Florida, on this 26 day of April, 2021..




                                                                                            ricr.   C1F




                                                                    Administrative Circuit Judge
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        IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                IN AND FOR PALM BEACH COUNTY, FLORIDA

   Plaintiff(s),

   V.                                                      Case No.

   Defendant(s)


                                AGREED CASE MANAGEMENT PLAN
                                          (DCMAP)

   The parties hereby submit the following Agreed Case Management Plan to the Court for approval:

   Case Track Assignmentl (check one):
                             Ex tedited Track (Case resolved within 8 months)
                             (It is recommended that discovery and an alternative dispute
                             resolution/mediation be completed within 180 days after the complaint
                             is filed and a final disposition entered within 245 days after the
                             complaint is filed)

                            Streamlined Track (Case resolved within 12 months)
                            (It is recommended that discovery and an alternative dispute
                            resolution/mediation be completed within 270 days after the complaint
                            is filed and a final disposition entered within 365 days after the
                            complaint is filed)

                            General Track (Case resolved within 18 months)
                            (It is recommended that discovery and an alternative dispute
                            resolution/mediation be completed within 450 days after the
                            complaint is filed and a final disposition entered within 540 days after
                            the complaint is filed)

                            Complex Track (Case resolved within 2 years)
                            (This track cannot be selected without a hearing and order granting motion
                            to designate the case as complex per Florida Rule of Civil Procedure
                            1.201)



     Case disposition times for all Case Tracks have been established based on Florida Rule of General Practice
    and Judicial Administration 2.250(a)(1)(B) and the Circuit's historic data. Although General and Complex
    Track cases may or may not be resolved with a jury trial, it is expected that Streamlined and Expedited
    Track cases will be resolved without a jury trial.
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   Case Deadlines and Events
                         DEADLINE OR EVENT                                 AGREED DATE
     Service of Unserved Parties
     Plaintiff(s):

     Cross/Counter Plaintiffs:

     Motions to Add Parties or to Amend Pleadings
     Plaintiff(s):

     Defendant(s):
     Resolution of Objections to Pleadings and Pretrial Motions (All
     motions to dismiss, quash service, strike affirmative defenses or
     extend the time to answer or respond to a pleading must be heard by
     this date)

     Plaintiff(s):

     Defendant(s):
     Discovery Deadline for Fact Witnesses
     (All discovery must be commenced in time to be completed before
     this date)

     Plaintiff(s):

     Defendant(s):
     Discovery Deadline for Expert Witnesses (All discovery must be
     commenced in time to be completed before this date)

     Plaintiff(s):

     Defendant(s):
     Completion of Alternative Dispute Resolution (ADR)
     (Mediation is mandatory unless the parties agree to another form of
     ADR).

     Deadline:

     Type of ADR:                                                                        ,
     Other Deadlines or Events
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    Trial Information



        Is this Case At Issue pursuant to Rule 1.440? (Yes or No)


        Estimated Date the Case Will Be Prepared To Go To Trial
        [PLEASE READ FOOTNOTE BEFORE COMPLETING]2                                            Plt date:
        (If counsel and unrepresented parties do not agree on the
        estimated date on which the case will be prepared to go to trial,
        the Court may set the case for trial on its own motion)                              Deft date:


                                                                                             Agreed:
                                                                                             Yes or No               -
        Estimated Length of Trial (specO) the number of trial days):

        Identification of Jury or Non-Jury Trial




                                    (remainder of page intentionally left blank)




    2 For retroactive cases pending prior to April 30, 2021, the estimated date the case will be prepared to go to
    trial should not exceed the disposition time frame for the chosen case track. Cases that have been pending
    longer than the correspondingcase track disposition time frame must follow the following time frames:
      Case Track                          Age of Case                         Estimated Date of Trial
                  Expedited              More than 8 months                   Within 4 Months
                 Streamlined             12-18 Months                         Within 6 Months
                                         More than 18 months                  Within 4 Months
                   General               18-24 Months                         Within 6 Months
                                         More than 24 Months                  Within 4 Months
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   The above-referenced schedule of deadlines will be strictly adhered to by the parties unless a change is
   otherwise agreed to by the parties and approved by the Court. The Court will consider a request to approve
   changes to these deadlines upon a showing of good cause by either party based on matters arising from an
   emergency nature or unavailability. However, once the Agreed Case Management Plan has been approved
   by the Court, procrastination in completing discovery or the unavailability of counsel will not constitute
   good cause for a change to these deadlines. The failure to abide by these deadlines may result in sanctions
   by the Court, including the award of attorney's fees, the striking of pleadings, and/or a dismissal of the
   action.
   Date:
   Signature, address and telephone number of Counsel and Unrepresented Parties, Counsel must state
   Fl Bar number:



    PLAINTIFF'S COUNSEL                                     Or, if unrepresented, PLAINTIFF
    Address                                                 Address
    Telephone #                                             Telephone #
    E-Mail Address                                          The Plaintiff(s) is registered to receive
    Florida Bar #                                           eservice at
    DEFENDANT'S PRINTED NAME




    DEFENDANT'S COUNSEL                                     or, if unrepresented, DEFENDANT
    Address                                                 Address
    Telephone #                                             Telephone #
    E-Mail Address                                          The Defendant(s) is registered to receive
    Florida Bar #                                           eservice at


   CONFORMED COPIES TO:
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        IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                IN AND FOR PALM BEACH COUNTY, FLORIDA

   Plaintiff(s),

   V.                                                  Case No.

   Defendant(s)



                      PLAINTIFF'S NOTICE OF EMAIL DESIGNATION

     I hereby designate my e-mail address(es) below to opt into e-service in this case. By signing this
     stipulation I am authorizing the Court, the Clerk of the Fifteenth Judicial Circuit of Florida and
     all parties on this case to send copies of orders/judgments, notices or other written
     communications or pleadings to me through my designated e-mail and NOT through regular mail.
     I understand that if I designate an email address, that address will be the exclusive means of
     serving and receiving documents.


    By signing, I am opting into e-service at

    secondary email (optional)




                                                          UNREPRESENTED PLAINTIFF print name

                                                         Address

                                                         Telephone #


    This document should be filed or e-filed with the Clerk of Court separately
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         IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                 IN AND FOR PALM BEACH COUNTY, FLORIDA

    Plaintiff(s),

    V.                                                 Case No.

    Defendant(s)




                       DEFENDANT'S NOTICE OF EMAIL DESIGNATION

     I hereby designate my e-mail address(es) below to opt into e-service in this case. By signing this
     stipulation I am authorizing the Court, the Clerk of the Fifteenth Judicial Circuit of Florida and
     all parties on this case to send copies of orders/judgments, notices or other written
     communications or pleadings to me through my designated e-mail and NOT through regular mail.
     I understand that if I designate an email address, that address will be the exclusive means of
     serving and receiving documents.


    By signing, I am opting into e-service at




                                                          UNREPRESENTED PLAINTIFF print name

                                                         Address

                                                         Telephone #



    Copies can be made of this document for each defendant and should be filed ore-filed with the Clerk
    of Court separately
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        IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                IN AND FOR PALM BEACH COUNTY, FLORIDA

    Plaintiff(s),

   V.                                                  Case No.

    Defendant(s)


                     ORDER APPROVING AGREED CASE MANAGEMENT
                         PLAN AND ORDER SETTING HEARING
                                     fDCMAO)

             THIS CAUSE came before the Court upon the Agreed Case Management Plan submitted
   by the parties. Having reviewed the Agreed Case Management Plan and finding it to be satisfactory,
   it is hereby

        ORDERED that the Agreed Case Management Plan is hereby APPROVED AND ALL
   PARTIES SHALL ABIDE BY THE TERMS THEREIN. It is further

           ORDERED that the case shall be set for a hearing on                    , 202 at
    a.m./p.m. At this hearing, the parties will discuss trial readiness and the Court will issue a Trial
   Order and place the case on a Trial Docket no less than 30 days from the date of this hearing. All
   deadlines set forth in the Case Management Plan will be strictly enforced to ensure trial readiness.

            DONE AND ORDERED in Palm Beach County,                                        , Florida.
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         IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                 IN AND FOR PALM BEACH COUNTY, FLORIDA

   Plaintiff(s),

   vs.                                                  Case No.

   Defendant(s).

                                JOINT CASE MANAGEMENT REPORT

   The parties hereby submit the following Joint Case Management Report for the Court's
   consideration:

   Pleading Status

         Provide a brief summary of the facts and theor(ies) of liability and/or
         defenses:




         Is the Case at Issue? (Y/N, Refer to Florida Rule of Civil Procedure 1.440(a)):



         The following motions are currently open (name of motion and date of filing):




   Status of Outstanding Discovery

         The following discovery requests are outstanding (for each request, identify: the date
         propounded, the date of response, whether objections have been filed, the date the parties met
         and conferred about objections, whether privilege has been raised, and the date a privilege log
         was filed):




         The following discovery motions are outstanding (name of motion and date of
         filing):
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      Are additional interrogatories, request to produce, or requests to admit anticipated?

      If yes, in what form and by when:

    Fact Discovery

      The following fact witness depositions have been taken/are planned (provide name and
      date):




    Expert Discovery

      The deadline for expert disclosure was/is:

      The deadline for any planned examinations or inspections was/is:

      The following expert witness depositions have been taken/are planned (provide name and
      date):



      The deadline for the exchange of expert reports/discovery was/is:

    Dispositive Motions Anticipated and Brief Scheduled for Such Motions (list):




    Mediation Efforts

       Mediation has been held or has been scheduled (YIN and date):

       If yes, provide the name of the chosen mediator:

       If no, provide the mediation deadline:

    Trial Readiness:

       Type of trial requested (bench/jury):
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       The parties will be ready for trial by (date):




     s/Plaintiff s Counsel                              s/Defense Counsel
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                                                 PM



                     IN THE CIRCUIT COURT FOR THE FIFTEENTH JUDICIAL CIRCUIT
                             IN AND FOR PALM BEACH COUNTY, FLORIDA


                 IN RE: STANDING ORDER FOR
                 CASE MANAGEMENT FOR SUBMISSION
                 OF AGREED CASE MANAGEMENT PLAN FOR
                 CASES FILED ON OR AFTER APRIL 30, 2021




            STANDING ORDER FOR CASE MANAGEMENT AND SUBMISSION OF AGREED
                          CASE MANAGEMENT PLAN IN CIVIL CASES
            IN THE FIFTEENTH JUDICIAL CIRCUIT FILED ON OR AFTER APRIL 30, 2021
                                         IDCMS0)

                  Pursuant to Florida Rule of Civil Procedure 1.200(a), Florida Rule of General Practice and
          Judicial Administration 2.545, and Administrative Order 3.107 entered by the Chief Judge of this
          Circuit, the parties are informed of the following information and procedures applicable to civil
          lawsuits filed in the Circuit Court on or after April 30, 2021:

                  1. SERVICE OF THIS ORDER. The Plaintiff is directed to serve a copy of this Order
          with each Summons issued in this case. One copy of this Order is to be filed with the Clerk of the
          Circuit Court with proof of service.

                 2. CIVIL CASE MANAGEMENT SYSTEM. The Supreme Court of Florida has
         established guidelines for the prompt processing and resolution of civil cases. This Court has
         adopted a case management system to help meet those guidelines. In contested cases, the parties
         are required to participate in the case management system. The case management system requires
         early consultation and cooperation among the parties for the preparation and submission of an
         Agreed Case Management Plan and early involvement by the Court. The Agreed Case
         Management Plan requires the parties to identify a case track, confer in good faith and attempt to
         narrow the matters in controversy, identify the issues that require direct involvement by the Court,
         and establish a schedule for addressing those issues The Agreed Case Management Plan may be
         accessed at the Court's website at: https:// 1 5thci rc uit.com/civil-differentiated-forms-and-orders.
         Unless all of the Defendants have been served and have been defaulted or dropped, an Agreed
         Case Management Plan must be submitted to the assigned divisional queue via the Court's online
         scheduling system (OLS) as an attachment, in PDF format, to a proposed Order Accepting Agreed
         Case Management Plan on or before 130 days from the date of filing of the initial complaint. If
         the parties are unable to agree on an Agreed Case Management Plan by the applicable deadline, a


         1 Case Track options include Expedited, Streamlined, General, or Complex. Case Tracks have been
         established in order to comply with the case disposition standards set forth in Florida Rule of General
         Practice and Judicial Administration 2.250(a)(1)(B).
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    case management conference will be scheduled by the Court or the Court will review and issue an
    Order Implementing Case Management Plan without agreement of the Parties. No matters that
    arise as a result of this standing order, including lack of agreement, will be set on the Court's
    Uniform Motion Calendar and will, instead, be settled by the Court either at the case management
    conference or via an Order Implementing Case Management Plan without agreement of the parties.
    If a case management conference is scheduled, attendance by trial counsel and those parties who
    are not represented by counsel is mandatory.
    If all Defendants are served and defaulted or dropped, the Plaintiff will file the appropriate
    documentation to pursue a Default Final Judgment within 130 days of the filing of the complaint
    and Final Judgment is to be entered or set for hearing within 150 days of the filing of the complaint.

                    3. MEDIATION/ALTERNATIVE DISPUTE RESOLUTION (ADR). ADR
    provides parties with an out-of-court alternative to settling disagreements. Mediation is a type of
    ADR wherein an independent third party attempts to arrange a settlement at a conference between
    the parties. The Court requires the parties to participate in Mediation prior to trial unless the parties
    agree to another form of ADR.


            DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,
    Florida, on this 26 day of April, 2021..




                                                                                            ricr.   C1F




                                                                    Administrative Circuit Judge
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                                          11.
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                                          12.
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                                                                IN THE CIRCUIT COURT OF THE 15th
                                                               JUDICIAL CIRCUIT, IN AND FOR PALM
                                                               BEACH COUNTY, FLORIDA

                                                               CASE NO.: 2022-CA-002311

        BRITTANY CONDOMINIUM
        ASSOCIATION, INC.,

                           Plaintiff,

        v.

        WESTCHESTER SURPLUS LINES
        INSURANCE COMPANY,

                           Defendant.

                                                         /

                                      NOTICE OF APPEARANCE AND
                              NOTICE OF DESIGNATION OF EMAIL ADDRESSES

                PLEASE TAKE NOTICE that John David Dickenson, Esq. and Evan M. Holober, Esq.

        of the law firm of Cozen O’Connor hereby give notice of their appearance as counsel on behalf of

        Defendant, WESTCHESTER SURPLUS LINES INSURANCE COMPANY, in the above styled

        matter. All parties are requested to serve copies of all filings, pleadings, and correspondence to

        the undersigned counsel, who submit the following email addresses in accordance with Florida

        Rule of Judicial Administration 2.515(a):


         Primary:           John David Dickenson, Esq.       Primary:     Evan M. Holober, Esq.
                            jdickenson@cozen.com                          eholober@cozen.com
         Secondary:         kdaugharty@cozen.com             Secondary:   kdaugharty@cozen.com
                            lmurphy@cozen.com




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                                                             Brittany Condominium Association, Inc. v.
                                                                     Westchester Surplus Lines Ins. Co.
                                                                           Case No. 2022-CA-002311
                                              Notice of Appearance and Designation of Email Addresses


                                                Respectfully submitted,

                                                COZEN O’CONNOR



                                                By:    /s/ John David Dickenson
                                                         John David Dickenson
                                                         Florida Bar No. 575801
                                                         jdickenson@cozen.com
                                                         Evan M. Holober
                                                         Florida Bar No. 1012320
                                                         eholober@cozen.com
                                                         One North Clematis Street, Suite 510
                                                         West Palm Beach, Florida 33401
                                                         Telephone: (561) 515-5250
                                                         Facsimile: (561) 515-5230

                                                        Counsel for Defendant, Westchester Surplus
                                                        Lines Insurance Company


                                   CERTIFICATE OF SERVICE

           I HERBY CERTIFY that a true and correct copy of the foregoing was filed and served via

   the Court’s e-Filing Portal this 14th   day of April, 2022 on All Counsel listed on the following

   Service List.

                                                /s/ John David Dickenson
                                                John David Dickenson

   SERVICE LIST
   Counsel for Plaintiff
   Grant W. Krapf, Esq.
   KRAPF LEGAL, P.A.
   2790 Sunset Point Road
   Clearwater, FL 33759
   Telephone: (727) 777-7450
   Email: grant@krapflegal.com
          assist@krapflegal.com



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                                           13.
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                                                                  IN THE CIRCUIT COURT OF THE 15th
                                                                 JUDICIAL CIRCUIT, IN AND FOR PALM
                                                                 BEACH COUNTY, FLORIDA

                                                                 CASE NO.: 2022-CA-002311

        BRITTANY CONDOMINIUM
        ASSOCIATION, INC.,

                           Plaintiff,

        v.

        WESTCHESTER SURPLUS LINES
        INSURANCE COMPANY,

                           Defendant.

                                                         /

                 MOTION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

                Defendant, Westchester Surplus Lines Insurance Company (“Defendant”) respectfully

        moves the Court for an Extension of Time to respond to Plaintiff’s Complaint, and in support states

        as follows:

                1.         Plaintiff, Brittany Condominium Association, Inc. (“Plaintiff”), filed the Complaint

        in this matter in this Court on March 11, 2022.

                2.         Defendant was served with the Complaint on March 25, 2022.

                3.         Defendant’s response to Plaintiff’s complaint is due on April 14, 2022.

                4.         Counsel for Defendant is still investigating the Plaintiff’s allegations and requires

        additional time to determine any relevant defenses.

                5.         Accordingly, Defendant requests a brief extension of time through May 5, 2022 to

        respond to Plaintiff’s Complaint, whether by answer or motion.

                6.         On April 14, 2022, counsel for Defendant contacted counsel for Plaintiff by

        telephone to request an extension to respond to the Complaint. Defendant understands that Plaintiff

        does not oppose the relief sought in this motion.

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                                                               Brittany Condominium Association, Inc. v.
                                                                       Westchester Surplus Lines Ins. Co.
                                                                             Case No. 2022-CA-002311


           7.         This Motion is not being made for the purpose of undue delay, and no party will

   suffer any prejudice if this Motion is granted.

           WHEREFORE, Defendant moves this Court for an Order allowing it an extension to

   respond to Plaintiff’s Complaint through and including May 5, 2022, along with such other relief

   as this Court deems necessary, just and proper.


                                                  Respectfully submitted,

                                                  COZEN O’CONNOR



                                                  By:    /s/ John David Dickenson
                                                           John David Dickenson
                                                           Florida Bar No. 575801
                                                           jdickenson@cozen.com
                                                           Evan M. Holober
                                                           Florida Bar No. 1012320
                                                           eholober@cozen.com
                                                           One North Clematis Street, Suite 510
                                                           West Palm Beach, Florida 33401
                                                           Telephone: (561) 515-5250
                                                           Facsimile: (561) 515-5230
                                                           Counsel for Defendant, Westchester Surplus
                                                           Lines Insurance Company




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                                                             Brittany Condominium Association, Inc. v.
                                                                     Westchester Surplus Lines Ins. Co.
                                                                           Case No. 2022-CA-002311


                                   CERTIFICATE OF SERVICE

           I HERBY CERTIFY that a true and correct copy of the foregoing was filed and served via

   the Court’s e-Filing Portal this 14th   day of April, 2022 on All Counsel listed on the following

   Service List.

                                                /s/ John David Dickenson
                                                John David Dickenson

   SERVICE LIST
   Counsel for Plaintiff
   Grant W. Krapf, Esq.
   KRAPF LEGAL, P.A.
   2790 Sunset Point Road
   Clearwater, FL 33759
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             IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                     IN AND FOR PALM BEACH COUNTY, FLORIDA
                                  CIVIL DIVISION

   BRITTANY CONDOMINIUM
   ASSOCIATION, INC,
        Plaintiff,
                                                                 CASE NO: 2022-CA-002311
   v.

   WESTCHESTER SURPLUS LINES
   INSURANCE COMPANY,
         Defendant.
   _________________________________/

   AGREED ORDER GRANTING DEFENDANT’S MOTION FOR EXTENSION OF TIME
                 TO RESPOND TO PLAINTIFF’S COMPLAINT

           THIS CAUSE came before this Court on the Defendant’s, WESTCHESTER SURPLUS

   LINES INSURANCE COMPANY, Motion for Extension of Time to Respond to Plaintiff’s

   Complaint filed with this Court on or about April 14, 2022 (the “Motion”), and the court having

   reviewed the Motion, agreement of the parties, the Court file, and otherwise being duly advised in

   the premises, it is:

           ORDERED, ADJUDGED, and DECREED that the Motion is GRANTED. Defendant,

   WESTCHESTER SURPLUS LINES INSURANCE COMPANY, shall have until May 5, 2022, to

   serve its response to Plaintiff’s Complaint on Plaintiff’s counsel.



           DONE AND ORDERED in West Palm Beach, Palm Beach County, Florida.




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                                           BRADLEY HARPER
                                           CIRCUIT COURT JUDGE
   Conformed Copies to:
   John David Dickenson, Esq.
   Grant W. Krapf, Esq.




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